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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY


 In re:                                                              Chapter 11

 ACETO CORPORATION, et al.,                                          Case No. 19-13448 (VFP)

                    Debtors.1                                        Jointly Administered



                  JOINT PLAN OF LIQUIDATION OF ACETO CORPORATION
                             AND ITS AFFILIATED DEBTORS




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 Dated: June 17, 2019




 1
   The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are
 as follows: Aceto Corporation (0520); Tri Harbor Chemical Holdings LLC (f/k/a Aceto Agricultural Chemicals
 LLC, f/k/a Aceto Agricultural Chemicals Corporation) (3948); Tri Harbor Realty LLC (f/k/a Aceto Realty LLC)
 (7634); Kavod Pharmaceuticals LLC (f/k/a Rising Pharmaceuticals, LLC, f/k/a Rising Pharmaceuticals, Inc.) (7959);
 Kavod Health LLC (f/k/a Rising Health, LLC) (1562); Kavris Health LLC (f/k/a Acetris Health, LLC) (3236);
 KAVACK Pharmaceuticals LLC (f/k/a PACK Pharmaceuticals, LLC) (2525); Arsynco, Inc. (7392); and Acci Realty
 Corp. (4433).


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                                           INTRODUCTION

         Aceto Corporation and its affiliated debtors in the above-captioned chapter 11 cases
 jointly propose this chapter 11 plan of liquidation. The Plan is proposed jointly for
 administrative purposes, and provides for the treatment of all Claims against and Interests in the
 Debtors. The Plan constitutes a separate Plan for each Debtor, provided that as set forth in
 further detail below, and in order to give effect to the Plan’s comprehensive compromise and
 settlement structure pursuant to Bankruptcy Rule 9019 and section 1123(b) of the Bankruptcy
 Code, for purposes of distributions and recoveries to general unsecured creditors, the Plan
 provides for partial substantive consolidation of certain of the Debtors’ estates, specifically the
 Aceto Chemical Plus Debtors (which consist of Debtors Aceto, Aceto Agri, and Aceto Realty)
 and the Rising Pharma Debtors (which consist of Debtors Rising, Rising Health, Acetris, and
 PACK). Claims against the remaining Debtors, namely Arsynco and Acci Realty, are separately
 classified and these estates are not substantively consolidated with either the Aceto Chemical
 Plus Debtors or the Rising Pharma Debtors. Capitalized terms used and not otherwise defined
 herein shall have the meanings ascribed to such terms in Article I.A hereof or the Bankruptcy
 Code or Bankruptcy Rules. Holders of Claims and Interests should refer to the Disclosure
 Statement for a discussion of the Debtors’ history, business, assets, and operations, as well as a
 summary and description of the Plan and certain related matters. The Debtors are the proponents
 of the Plan within the meaning of section 1129 of the Bankruptcy Code.

                                               ARTICLE I

  DEFINED TERMS, RULES OF INTERPRETATION, AND COMPUTATION OF TIME

          A.        Defined Terms.
                    As used in this Plan, capitalized terms have the meanings set forth below.

                    1.01   “Acci Realty” means Acci Realty Corp.

               1.02 “Acci Realty Net Distributable Assets” means, with respect to Acci
 Realty, and as allocated pursuant to the Distribution Calculation, all of the Cash held by Acci
 Realty on each Distribution Date, including but not limited to any Cash in any bank accounts of
 Acci Realty as shall be increased by any Litigation and Other Recoveries allocable to Acci
 Realty.

                    1.03   “Aceto” means Aceto Corporation.

               1.04 “Aceto Agri” means Tri Harbor Chemical Holdings LLC (f/k/a Aceto
 Agricultural Chemicals LLC, f/k/a Aceto Agricultural Chemicals Corporation).

                    1.05   “Aceto Chemical Plus Debtors” mean Debtors Aceto, Aceto Agri, and
 Aceto Realty.

                1.06 “Aceto Common Stock” means shares of common stock of Aceto that
 are authorized, issued, and outstanding prior to the Effective Date.

                    1.07   “Aceto Common Stock Non-Cancellation Election Notice” means a

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 notice which, to be effective, shall be filed by the Debtors in the Chapter 11 Cases on or before
 the Effective Date stating that the Debtors elect and intend to have the Interests in Aceto,
 including the Aceto Common Stock, continue to exist and remain outstanding on and after the
 Effective Date and not automatically cancelled, released, and extinguished as of the Effective
 Date without further action by the Debtors or the Plan Administrator, and without further
 distribution to such Holders of Aceto Common Stock subject to Section 3.02(j) below. For the
 avoidance of doubt, notwithstanding anything herein to the contrary, to the extent the Aceto
 Common Stock Non-Cancellation Election Notice is filed by the Debtors on or prior to the
 Effective Date, each Holder of Interests in Aceto, including the Aceto Common Stock, as of the
 Distribution Record Date, shall be entitled to retain such Interests in Aceto, and Post-Effective
 Date Aceto shall not be immediately dissolved or otherwise liquidated for U.S. federal income
 tax purposes and shall remain in existence until such time as the Plan Administrator determines
 otherwise.

                1.08 “Aceto Interest Distribution Value” means, solely for the purposes of
 calculating distributions under the Plan, if any, the aggregate value of all Interests in Aceto
 outstanding as of February 19, 2019, which amount shall be the product of: (a) $1.03, which is
 equal to the price of Interests in Aceto at the close of trading on the Nasdaq Stock Market
 (“Nasdaq”)      on     February    19,     2019     and    as    listed    by     Nasdaq     at
 https://www.nasdaq.com/symbol/acetq/historical; and (b) 30,839,470 which is equal to the total
 approximate number of shares in Aceto outstanding as of the close of business on February 19,
 2019.

                1.09 “Aceto Net Distributable Assets” means, with respect to the Aceto
 Chemical Plus Debtors, and as allocated pursuant to the Distribution Calculation, all of the Cash
 held by the Aceto Chemical Plus Debtors’ Estates on each Distribution Date, including but not
 limited to the net Cash proceeds from the Chemical Plus Sale, the net Cash proceeds to be
 received from the wind-down and dissolution of Canegrass LLC (“Canegrass”), the Chemical
 Plus Sale Adjustment Escrow Released Amount, and any other Cash in the bank accounts of the
 Aceto Chemical Plus Debtors and as shall be increased by any Litigation and Other Recoveries
 allocable to the Aceto Chemical Plus Debtors; provided, however, that the Aceto Net
 Distributable Assets shall be reduced by the amounts used to fund (as allocated pursuant to the
 Distribution Calculation) the Professional Claims Reserve, the Administrative and Priority
 Claims Reserve, the Wind-Down Reserve, and the Settlement Distribution Subsidy; provided
 further, that any Excess Amounts included in or attributable to the Settlement Distribution
 Subsidy shall be deemed Aceto Net Distributable Assets and made available for distributions to
 holders of General Unsecured Claims against the Aceto Chemical Plus Debtor.

               1.10    “Aceto Realty” means Tri Harbor Realty LLC (f/k/a Aceto Realty LLC).

               1.11    “Acetris” means Kavris Health LLC (f/k/a Acetris Health, LLC).

               1.12 “Administrative and Priority Claims Estimate” means the amount
 reasonably estimated by the Debtors (determined by no later than the Effective Date), in
 consultation with the Creditors’ Committee, of all unpaid Allowed Administrative Claims,
 Allowed Priority Tax Claims, and Allowed Other Priority Claims other than Professional
 Claims which shall be subject to and paid from the Professional Claims Reserve.


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               1.13 “Administrative and Priority Claims Reserve” means the reserve of
 Cash funded by the Debtors on the Effective Date, in an amount equal to the Administrative and
 Priority Claims Estimate, for the benefit of Holders of unpaid Allowed Administrative Claims
 (other than Holders of Professional Claims which shall be subject to and paid from the
 Professional Claims Reserve), Allowed Priority Tax Claims and Allowed Other Priority Claims.

                1.14 “Administrative and Priority Claims Schedule” has the meaning set
 forth in Section 5.11(b) of the Plan.

                1.15 “Administrative Claim” means a Claim for costs and expenses of
 administration of the Debtors’ Estates pursuant to sections 503(b), 507(a)(2), 507(b), or
 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary costs and expenses
 incurred after the Petition Date and through the Effective Date of preserving the Estates and
 operating the businesses of the Debtors (such as wages, salaries or commissions for services and
 payments for goods and other services and leased premises); (b) Professional Claims; (c)
 Section 503(b)(9) Claims; and (d) all fees and charges assessed against the Estates under section
 1930 of chapter 123 of title 28 of the United States Code.

                1.16 “Administrative Claim Bar Date” means the deadline for filing requests
 for payment of Administrative Claims, which shall be 30 days after the Effective Date, unless
 otherwise ordered by the Bankruptcy Court, and except with respect to (a) Professional Claims,
 (b) Administrative Claims Allowed by a Final Order of the Bankruptcy Court on or before the
 Effective Date, (c) Administrative Claims that are not Disputed and arose in the ordinary course
 of business and were paid, (d) Administrative Claims arising under section 503(b)(9) of the
 Bankruptcy Code (which Claims are subject to the June 19, 2019 deadline as established by the
 Bar Date Order), or (e) Administrative Claims arising under chapter 123 of title 28 of the
 United States Code.

                1.17 “Administrative Claim Request Form” means the form to be included
 in the Plan Supplement for submitting Administrative Claim requests.

                1.18    “Administrative Claims Protocol” has the meaning set forth in Section
 5.11(b) of the Plan.

                1.19    “Affiliates” has the meaning set forth in section 101(2) of the Bankruptcy
 Code.

                1.20 “Allowed” means (a) any Claim against the Debtors that has been listed
 by the Debtors in the Schedules, as such Schedules may be amended by the Debtors from time
 to time in accordance with Bankruptcy Rule 1009 (and upon prior notice to the Creditors’
 Committee or the Oversight Committee, as applicable) as liquidated in amount and not disputed
 or contingent and for which no contrary proof of Claim has been filed, (b) any Claim included
 in a timely filed proof of Claim, as to which no objection to allowance has been, or
 subsequently is, interposed in accordance with this Plan or prior to the expiration of such other
 applicable period of limitation fixed by the Bankruptcy Code, the Bankruptcy Rules, or the
 Bankruptcy Court, or as to which any objection has been determined by a Final Order to the




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 extent such Final Order is in favor of the respective Holder, (c) any Claim expressly allowed by
 the Plan, or (d) any Claim expressly allowed by a Final Order.

                1.21   “Arsynco” means Arsynco, Inc.

                1.22 “Arsynco Carlstadt Property” means that certain real property owned
 by Arsynco and located at the Foot of 13th Street, Carlstadt, New Jersey 07072, which real
 property was formerly operated by Arsynco as a chemicals manufacturing plant until the site
 was closed in 1993.

                1.23 “Arsynco Net Distributable Assets” means, with respect to Arsynco,
 and as allocated pursuant to the Distribution Calculation, all of the Cash held by Arsynco on
 each Distribution Date, including but not limited to the net Cash proceeds and other assets
 (including collateralized letters of credit) realized from any sale with respect to the Arsynco
 Carlstadt Property, and any other Cash in the bank accounts of Arsynco as shall be increased by
 any Litigation and Other Recoveries allocable to Arsynco.

              1.24 “Bankruptcy Code” means title 11 of the United States Code, as
 amended from time to time and in effect during the pendency of these Chapter 11 Cases.

                1.25 “Bankruptcy Court” means the United States Bankruptcy Court for the
 District of New Jersey having jurisdiction over the Chapter 11 Cases (or, in the event such court
 does not have or ceases to exercise jurisdiction over the Chapter 11 Cases, such other court or
 adjunct thereof that exercises jurisdiction over the Chapter 11 Cases).

                1.26 “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
 as promulgated by the United States Supreme Court under section 2075 of title 28 of the United
 States Code, as amended from time to time, as applicable to the Chapter 11 Cases, and any local
 rules of the Bankruptcy Court.

               1.27 “Bar Date” means the deadlines set by the Bankruptcy Court pursuant to
 the Bar Date Order or other Final Order for filing proofs of Claim in the Chapter 11 Cases.

               1.28 “Bar Date Order” means the order by the Bankruptcy Court, dated May
 9, 2019 entered at Docket No. 509 in the Chapter 11 Cases, which established the Bar Date, and
 any subsequent order supplementing such order or relating thereto.

               1.29 “Business Day” means any day, excluding Saturdays, Sundays, and
 “legal holidays” (as defined in Bankruptcy Rule 9006(a)).

                1.30   “Cash” means legal tender of the United States of America.

                1.31 “Causes of Action” means any action, claim, cause of action,
 controversy, including but not limited to those identified in the Plan Supplement, third-party
 claim, demand, right, action, Lien, indemnity, contribution, guaranty, suit, obligation, liability,
 damage, judgment, account, defense, offset of any kind or character whatsoever, whether
 known, unknown, contingent or non-contingent, matured or unmatured, suspected or
 unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured,


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 assertable directly or derivatively, whether arising before, on, or after the Petition Date, in
 contract or in tort, in law, or in equity or pursuant to any other theory of law. For the avoidance
 of doubt, a “Cause of Action” includes: (a) any right of setoff, counterclaim, or recoupment and
 any claim for breach of contract or for breach of duties imposed by law or in equity; (b) the
 right to object to Claims or Interests; (c) any Claim pursuant to section 362 or chapter 5 of the
 Bankruptcy Code (including but not limited to any Claim to avoid a transfer of property or an
 obligation incurred by any of the Debtors, including pursuant to sections 502(d), 544, 545, 547,
 548, 549, 550, 551, and 553(b) of the Bankruptcy Code, or under similar or related state or
 federal statutes, common law and foreign law fraudulent transfer or similar claims); and (d) any
 claim or defense including fraud, mistake, duress, and usury, and any other defense set forth in
 section 558 of the Bankruptcy Code. For the avoidance of doubt, Causes of Action shall not
 include (a) any Causes of Action pursuant to chapter 5 of the Bankruptcy Code transferred to
 the Chemical Plus Buyer pursuant to the Chemical Plus Purchase Agreement or (b) any Causes
 of Action released under this Plan.

                1.32 “Carve Out Account” means an account held and maintained by
 Lowenstein Sandler LLP and established and funded, in connection with the closing of the
 Pharma Sale and Chemical Plus Sale and pursuant to paragraph 39 of the Final DIP Order, for
 the purpose of, inter alia, paying Allowed Professional Claims of Professionals retained by the
 Debtors and the Creditors’ Committee.

                1.33   “Certificate” means any instrument evidencing a Claim or an Interest.

               1.34 “Chapter 11 Cases” means the chapter 11 cases of the Debtors pending
 in the Bankruptcy Court and being jointly administered under Case No. 19-13448.

                 1.35 “Chemical Plus Purchase Agreement” means that certain Amended and
 Restated Asset Purchase Agreement, dated as of April 14, 2019 attached as Exhibit 1 to the
 Chemical Plus Sale Order (together with the schedules and/or exhibits thereto and all related
 documents, and as may be amended, supplemented or otherwise modified from time to time in
 accordance with paragraph 40 of the Chemical Plus Sale Order) by and among Aceto, Aceto
 Agri and Aceto Realty LLC and Aceto Holdings, L.P. (f/k/a NMC Atlas, L.P., and together with
 its subsidiaries and permitted assignees under the Purchase Agreement, the “Chemical Plus
 Buyer”).

               1.36 “Chemical Plus Sale” means the sale of substantially all of the Chemical
 Plus Business (as defined in the Chemical Plus Sale Motion) as authorized pursuant to the
 Chemical Plus Sale Order and which sale closed on April 29, 2019.

               1.37 “Chemical Plus Sale Adjustment Escrow Released Amount” means an
 amount of Cash of up to $10,000,000 to be released to Aceto from the Adjustment Escrow (as
 defined in the Chemical Plus Purchase Agreement) by Escrow Agent (as defined in the
 Chemical Plus Purchase Agreement) pursuant to and in accordance with section 2.4 of the
 Chemical Plus Purchase Agreement.

               1.38 “Chemical Plus Sale Motion” means the Debtors’ Motion for Orders (I)
 (A) Authorizing and Approving Bidding Procedures in Connection with the Sale of Substantially



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 all Assets Comprising the Debtors’ Pharma Business; (B) Authorizing and Approving Bid
 Protections; (C) Approving Procedures for the Assumption and Assignment of Certain
 Executory Contracts and Unexpired Leases; (D) Scheduling a Sale Hearing; (E) Approving the
 Form and Manner of Notice Thereof; and (F) Granting Related Relief; and (II) (A) Authorizing
 and Approving the Sale of Substantially All Assets Comprising the Debtors Pharma Business
 Free and Clear of All Claims, Liens, Rights, Interests, and Encumbrances, (B) Authorizing and
 Approving the Assumption and Assignment of Certain Executory Contracts and Unexpired
 Leases Related Thereto, and (C) Granting Related Relief filed by the Debtors in the Chapter 11
 Cases at Docket No. 109.

                1.39 “Chemical Plus Sale Order” means the Order (A) Authorizing and
 Approving the Sale of Substantially All Assets Comprising the Debtors’ Pharma Business Free
 and Clear of All Claims, Liens, Rights, Interests, and Encumbrances, (B) Authorizing and
 Approving the Assumption and Assignment of Certain Executory Contracts and Unexpired
 Leases Related Thereto, and (C) Granting Related Relief entered by the Court on April 10, 2019
 in the Chapter 11 Cases at Docket No. 372 granting the Pharma Sale Motion

                1.40 “Claim” means a “claim” against the Debtors, as defined in section
 101(5) of the Bankruptcy Code.

                1.41    “Claims and Solicitation Agent” means Prime Clerk LLC, or any
 successor thereto.

                1.42 “Claims Objection Deadline” means the later of (a) (i) as to Rejection
 Damages Claims, the first Business Day that is at least 180 days after such Rejection Damages
 Claim is timely filed pursuant to Section 6.01(b) of the Plan; (ii) as to late-filed proofs of Claim,
 the first Business Day that is at least 60 days after a Final Order is entered deeming the late-
 filed Claim timely filed; and (iii) as to all other Claims the first Business Day that is at least 180
 days after the Effective Date; or (b) such later date as may be established by the Bankruptcy
 Court by motion of the Plan Administrator, which deadline shall be automatically extended
 upon the filing of such a motion until such time as the Bankruptcy Court enters an order on such
 motion. The requirements of D.N.J. LBR 3007-1(b) are waived.

                1.43 “Class” means a category of Claims or Interests classified together under
 this Plan pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

              1.44 “Confirmation” means the entry, within the meaning of Bankruptcy
 Rules 5003 and 9012, of the Confirmation Order, on the docket of the Chapter 11 Cases.

                1.45    “Confirmation Date” means the date on which Confirmation occurs.

               1.46 “Confirmation Hearing” means the hearing to be held by the
 Bankruptcy Court regarding confirmation of the Plan, as such hearing may be adjourned or
 continued from time to time.

               1.47 “Confirmation Order” means the order of the Bankruptcy Court
 confirming this Plan under section 1129 of the Bankruptcy Code which shall be in form and
 substance acceptable to the Debtors (in consultation with the Creditors’ Committee).


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                1.48 “Creditors’ Committee” means the official committee of unsecured
 creditors appointed by the United States Trustee in the Chapter 11 Cases pursuant to section
 1102(a)(1) of the Bankruptcy Code, as may be constituted from time to time.

                1.49 “Cure Amount” means the payment of Cash or the distribution of other
 property (as the parties may agree or the Bankruptcy Court may order) as necessary to (i) cure a
 monetary default by the Debtors in accordance with the terms of an Executory Contract or
 Unexpired Lease of the Debtors and (ii) permit the Debtors to assume such Executory Contract
 or Unexpired Lease under section 365(a) of the Bankruptcy Code.

                1.50 “Cure Notice” means the notice of proposed Cure Amount provided to
 counterparties to assumed Executory Contracts or Unexpired Leases pursuant to Section 6.02(d)
 of the Plan.

               1.51 “Cure Objection Deadline” means the deadline for filing objections to a
 Cure Notice or proposed Cure Amount, which shall be on or before 14 days after the applicable
 counterparty was served with a Cure Notice.

                1.52 “D&O Insurer” means any insurance company that issued a D&O
 Policy, including Travelers Casualty & Surety Company of America, Illinois National Insurance
 Company, Wesco Insurance Company, XL Specialty Insurance Company, State National
 Insurance Company, RSUI Indemnity Company, and Continental Casualty Company.

                 1.53 “D&O Policies” means, collectively, all unexpired directors’ and
 officers’ liability insurance policies (including any tail policy) issued to any of the Debtors
 covering potential liability of directors, officers and/or employees of the Debtors, including, for
 the avoidance of doubt, those policies listed on Exhibit A to the Plan.

                 1.54 “Debtor Release” means the release given on behalf of the Debtors and
 their Estates to the Released Parties as set forth in Section 9.04 of the Plan.

               1.55 “Debtors” mean, collectively, Aceto, Aceto Agri, Aceto Realty, Acci
 Realty, Arsynco, Rising, Rising Health, PACK, and Acetris.

                1.56 “Disallowed” means, with respect to any Claim, or any portion thereof,
 that such Claim, or such portion thereof, is not Allowed.

                1.57 “Disclosure Statement” means the disclosure statement for this Plan, as
 may be amended, supplemented, or modified from time to time, including all exhibits and
 schedules thereto, which is prepared and distributed in accordance with the Bankruptcy Code,
 the Bankruptcy Rules, and any other applicable law, which shall be in form and substance
 acceptable to the Debtors (in consultation with the Creditors’ Committee).

                1.58 “Disclosure Statement Order” means the Final Order entered by the
 Bankruptcy Court approving the Disclosure Statement, which shall be in form and substance
 acceptable to the Debtors (in consultation with the Creditors’ Committee).




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              1.59 “Disputed” means any Claim, or any portion thereof, that is not yet
 Allowed or Disallowed.

                1.60   “Dissolution Date” means the date that the Liquidating Debtors, or any
 of them, dissolve.

                 1.61 “Distribution Agent” means the Plan Administrator; provided, however,
 that the Debtors, or the Plan Administrator, as applicable, may, in its discretion, retain a third
 party to act as Distribution Agent.

                1.62 “Distribution Calculation” means the allocation to the relevant Debtors’
 Estates of certain assets (including but not limited to remaining proceeds from the Sales and
 other Cash available to the Debtors’ Estates (including any net Litigation and Other
 Recoveries)) and certain liabilities and obligations (including Administrative Claims, Priority
 Claims and the Wind-Down Budget), as set forth for illustrative purposes in the Plan
 Supplement.

                1.63 “Distribution Date” means each of the Initial Distribution Date and
 Periodic Distribution Date(s), as applicable.

                1.64 “Distribution Record Date” means the record date for purposes of
 making distributions under the Plan, which date shall be the Confirmation Date; provided that
 the Distribution Record Date shall be the Effective Date with respect to Noteholders that hold
 Notes and whose distributions will be effectuated through the Notes Indenture Trustee and
 Depository Trust Company.

                1.65 “DPO Claim” means the DPO Claims (as defined in the Mutual Release
 Agreement) held by certain of the Released Sellers (as defined in the Mutual Release
 Agreement), which DPO Claims are Allowed as General Unsecured Claims in an aggregate
 amount equal to and not more than $30,000,000 (subject to the other distribution limitations set
 forth in the Mutual Release Agreement) and which Allowed Claims shall be classified in and
 receive recoveries from Class 3A (General Unsecured Claims Against the Aceto Chemical Plus
 Debtors) and Class 3B (General Unsecured Claims Against the Rising Pharma Debtors), subject
 to and in accordance with Sections 3.02 and 8.12.

                 1.66 “Effective Date” means the first Business Day on which (i) all conditions
 precedent to the effectiveness of this Plan set forth in Section 10.01 of the Plan have been
 satisfied or waived in accordance with the terms of this Plan and (ii) no stay of the Confirmation
 Order is in effect.

                1.67   “Entity” has the meaning set forth in section 101(15) of the Bankruptcy
 Code.

                1.68 “Estates” means the bankruptcy estates of each of the Debtors created
 under section 541 of the Bankruptcy Code.

               1.69 “Exculpated Parties” means, collectively, each of the following in their
 respective capacities as such: (a) the Debtors; (b) the Liquidating Debtors; (c) the Debtors’


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 current officers, directors, and managers (or any of the Debtors’ officers, directors and
 managers that served as such during or immediately prior to the Chapter 11 Cases); (d) the
 Creditors’ Committee and each of its current and former members, but solely in their capacities
 as such; and (e) with respect to each of the foregoing entities in clauses (a) through (d), such
 Entity’s and its current and former Affiliates’ subsidiaries, divisions, managed accounts or
 funds, and each of their respective current and former equity holders, fund advisors, employees,
 agents, advisory board members, financial advisors, partners, attorneys, accountants, investment
 bankers, consultants, representatives, and other professionals, in each case in their capacity as
 such; provided that Holders of Interests in Aceto shall not be Exculpated Parties solely on
 account of such Interests, provided, further, that for the avoidance of doubt, any party against
 whom the Debtors or the Plan Administrator, as the case may be, have filed a Cause of Action
 before, on, or after the Effective Date shall not be an Exculpated Party with respect to such
 Cause of Action to the extent such Cause of Action asserts claims based upon events or actions
 that occurred prior to the Petition Date.

                  1.70 “Executory Contract” means any contract to which any of the Debtors is
 a party that is subject to assumption or rejection under section 365 of the Bankruptcy Code.

                1.71 “Federal Judgment Rate” means the federal judgment rate (which is
 based on based on the average prices for U.S. Government Securities - Treasury Constant
 Maturities -1- Year) of 2.55% as in effect on the Petition Date, compounded annually.

                1.72 “Final DIP Order” means the Final Order (I) Authorizing Debtor in
 Petition Financing Pursuant to 11 U.S.C. §§ 105(a), 362 and 364(c) and (d); (II) Authorizing
 the Use of Cash Collateral Pursuant to 11 U.S.C. § 363; (III) Granting Adequate Protection
 Pursuant to 11 U.S.C. § 361 and 363; (IV) Granting Liens and Superpriority Administrative
 Claims Pursuant to 11 U.S.C. § 364; (V) Modifying the Automatic Stay; and (VI) Granting
 Related Relief entered by the Bankruptcy Court on March 15, 2019 at Docket No. 141.

               1.73 “Final Decree” means a final decree entered by the Bankruptcy Court
 closing the Chapter 11 Cases pursuant to Bankruptcy Rule 3022.

                 1.74 “Final Order” means an order, the operation or effect of which has not
 been stayed, reversed, or amended and as to which order the time to appeal, petition for
 certiorari, or move for reargument or rehearing has expired and as to which no appeal, petition
 for certiorari, or other proceedings for reargument or rehearing shall then be pending or as to
 which any right to appeal, petition for certiorari, reargue, or rehear shall have been waived in
 writing by all Entities possessing such right, or, in the event that an appeal, writ of certiorari, or
 reargument or rehearing thereof has been sought, such order shall have been affirmed by the
 highest court to which such order was appealed, or from which reargument or rehearing was
 sought or certiorari has been denied, and the time to take any further appeal, petition for
 certiorari, or move for reargument or rehearing shall have expired; provided, however, that the
 possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure or any
 analogous rule under the Bankruptcy Rules may be filed with respect to such order shall not
 cause such order not to be a Final Order.




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               1.75 “General Unsecured Claim” means any Claim that is not an
 Administrative Claim, Priority Tax Claim, Other Priority Claim, Other Secured Claim,
 Subordinated Claim, or Intercompany Claim. Without limiting the foregoing, General
 Unsecured Claims include (a) Rejection Damages Claims, (b) Reclamation Claims (if any) that
 are not Allowed Section 503(b)(9) Claims, (c) Notes Claims, and (d) the DPO Claim.

                1.76 “Governmental Bar Date” means August 19, 2019 at 5:00 p.m.
 (Prevailing Eastern Time).

              1.77     “Governmental Unit” has the meaning set forth in section 101(27) of the
 Bankruptcy Code.

                 1.78 “GUC Claims Reserve” means one or more reserves of Cash funded by
 the Distribution Agent on each Distribution Date in an amount equal to the GUC Claims
 Reserve Amount and maintained by the Distribution Agent, in each case, for the benefit of (i)
 Holders of Disputed General Unsecured Claims that subsequently become Allowed General
 Unsecured Claims, or (ii) the DPO Claim, to the extent distributions of greater than 65% are
 being made or proposed to be made to any Holders of Allowed General Unsecured Claims
 (other than the DPO Claim) in Classes 3A, 3B, 3C, or 3D prior to the satisfaction of the Other
 Creditors’ Threshold (as defined in Section 8.12 below); provided that the Distribution Agent
 may, in its discretion (after consultation with the Creditors’ Committee or Oversight Committee
 (to the extent not disbanded pursuant to Section 5.14), as applicable), establish separate GUC
 Claims Reserves or sub-accounts within such reserves with respect to Holders of Disputed
 General Unsecured Claims in each of Classes 3A, 3B, 3C and 3D and/or the DPO Claim which
 Claim is Allowed in Classes 3A and 3B.

                1.79 “GUC Claims Reserve Amount” means, as applicable, Cash equal to the
 aggregate Pro Rata Share that would be distributable to (A) Holders of Disputed General
 Unsecured Claims in accordance with Section 3.02 (i) if such Claims were Allowed Claims on
 the Effective Date in the full amount asserted, or (ii) if any such Claim has been estimated or
 otherwise Provisionally Allowed by the Bankruptcy Court, in such estimated or Provisionally
 Allowed amount, whichever is less; or (B) the DPO Claim if and to the extent that the Other
 Creditors’ Threshold (as defined in Section 8.12 below) is ultimately satisfied, in each case as
 reasonably estimated by the Debtors or the Plan Administrator and which estimate shall be
 provided on five (5) days’ notice to the Creditors’ Committee or Oversight Committee, as
 applicable.

                1.80 “Holdback Amount” means the sum of the aggregate amounts withheld
 by the Debtors as of the Effective Date as a holdback on payment of Professional Claims
 pursuant to the Interim Compensation Order.

               1.81    “Holder” means a holder of a Claim against or Interest in the Debtors.

              1.82     “Impaired” means “impaired”, as defined in section 1124 of the
 Bankruptcy Code.

               1.83 “Indemnification Obligations” means obligations of the Debtors, if any,
 to indemnify, reimburse, advance, or contribute to the losses, liabilities, or expenses of an


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 Indemnitee pursuant to the Debtors’ certificates of incorporation or functional equivalents
 thereof, as applicable, bylaws or functional equivalents thereof, as applicable, policies of
 providing employee indemnification, applicable law, or specific agreements in respect of any
 claims, demands, suits, causes of action, or proceedings against an Indemnitee based upon any
 act or omission related to an Indemnitee’s service with, for, or on behalf of the Debtors.

                1.84 “Indemnified Parties” shall have the meaning ascribed to such term in
 Section 5.09(e) of the Plan.

                1.85 “Indemnitee” means all directors, officers, or employees of the Debtors
 who are entitled to assert Indemnification Obligations.

                1.86 “Initial Distribution Date” means the date on which the Distribution
 Agent makes an initial distribution to Holders of Allowed Claims, which date shall occur as
 soon as reasonably practicable but in no event later than forty-five (45) calendar days after the
 Effective Date.

                1.87 “Insurance Contract” means all insurance policies that have been issued
 at any time to or provide coverage to any of the Debtors, and all agreements, documents or
 instruments relating thereto, including, without limitation, D&O Policies and any other
 insurance policies issued at any time providing directors and officers coverage to the Debtors.

                1.88 “Insurer” means any company or other entity that issued an Insurance
 Contract, any third party administrator, and any respective predecessors and/or affiliates
 thereof, including, without limitation, the D&O Insurers.

                1.89   “Intercompany Claim” means a Claim held by a Debtor against another
 Debtor.

                1.90 “Interest” means any equity security (as defined in section 101(16) of the
 Bankruptcy Code) in a Debtor or direct or indirect subsidiary of a Debtor, including all shares,
 common stock or units, preferred stock or units, or other instrument evidencing any fixed or
 contingent ownership interest in any Debtor or any direct or indirect subsidiary of a Debtor,
 including any option, warrant, or other right, contractual or otherwise, to acquire any such
 interest in a Debtor or direct or indirect subsidiary of a Debtor, whether or not transferable and
 whether fully vested or vesting in the future, that existed immediately before the Effective Date.

               1.91 “Interim Compensation Order” means the Administrative Fee Order
 Establishing Certain Procedures for Allowance and Payment of Interim Compensation and
 Reimbursement of Expenses of Professionals Retained by Order of this Court and
 Reimbursement of Expenses by Committee Members entered by the Bankruptcy Court on March
 22, 2019 at Docket No. 205 in the Chapter 11 Cases, as the same may be modified by a
 Bankruptcy Court order approving the retention of a specific Professional or otherwise.

                1.92   “Lien” has the meaning set forth in section 101(37) of the Bankruptcy
 Code.




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               1.93 “Liquidating Debtors” means the Debtors, or any successor thereto, by
 merger, consolidation or otherwise, on or after the Effective Date.

               1.94 “Litigation and Other Recoveries” mean net recoveries from any
 Causes of Action or other asset disposition(s) and/or receipt(s) of additional Cash at any Estates,
 as may be allocated pursuant to the Distribution Calculation.

                 1.95 “Mutual Release Agreement” means that certain Amended and Restated
 Mutual Release of Claims agreement dated as of March 31, 2019 by and among the Debtors and
 the Released Sellers (as defined in the Mutual Release Agreement), which agreement is annexed
 as Exhibit 1 to the Mutual Release Approval Order.

                1.96 “Mutual Release Approval Order” means the Order (I) Approving
 Mutual Release of Claims by and Between the Releasing Debtors and the Stalking Horse Bidder
 Released Parties Pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure and in
 Furtherance of the Section 363 Sale of the Debtors’ Pharma Business; and (II) Granting
 Related Relief entered by the Bankruptcy Court on April 10, 2019 in the Chapter 11 Cases at
 Docket No. 373.

                1.97   “Noteholders” means the Holders of Notes Claims.

             1.98 “Notes” mean the unsecured 2.00% Convertible Senior Notes due
 November 2020 and issued by Aceto.

                1.99 “Notes Claim” means any and all Claims of a Holder of Notes arising
 under, derived from or based upon the Notes or the Notes Indenture, including principal (in the
 amount of $143,750,000), plus accrued but unpaid interest as of the Petition Date in the amount
 of $862,500, plus reasonable costs and fees due and owing through the Petition Date, which
 Claims shall be Allowed as General Unsecured Claims and which Allowed Notes Claims shall
 be classified and receive recoveries in Class 3A (General Unsecured Claims Against the Aceto
 Chemical Plus Debtors).

                1.100 “Notes Indenture” means that certain Indenture, dated as of November
 16, 2015, among Aceto and Wilmington Trust, National Association, as successor indenture
 trustee, as may be amended from time to time.

                1.101 “Notes Indenture Trustee” means Wilmington Trust, National
 Association, in its capacity as the successor indenture trustee for the Notes under the Notes
 Indenture.

                1.102 “OC Indemnified Parties” has the meaning ascribed to such term in
 Section 5.14 of the Plan.

               1.103 “Other Priority Claim” means any Claim, other than an Administrative
 Claim or Priority Tax Claim, entitled to priority of payment as set forth in section 507(a) of the
 Bankruptcy Code.




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                1.104 “Other Secured Claim” means a Claim, to the extent it is unpaid as of
 the Effective Date and (i) secured by a Lien on property of a Debtor’s Estate, which Lien is
 valid, perfected and enforceable pursuant to applicable law or by a Final Order, to the extent of
 the value of the applicable creditor’s interest in such Estate’s interest such property, or (ii)
 secured by the amount of any rights of setoff of the Holder thereof under section 553 of the
 Bankruptcy Code, in each case, as determined pursuant to section 506(a) of the Bankruptcy
 Code.

                1.105 “Oversight Committee” has the meaning ascribed to such term in
 Section 5.14 of the Plan.

              1.106 “PACK” means KAVACK Pharmaceuticals LLC (f/k/a PACK
 Pharmaceuticals, LLC).

                1.107 “Periodic Distribution Date” means, as applicable, (a) the first Business
 Day occurring 90 days after the Initial Distribution Date, (b) subsequently, the first Business
 Day occurring 90 days after the immediately preceding Periodic Distribution Date, (c) with
 respect to excess Cash in the Professional Claims Reserve, not later than the first Business Day
 occurring 30 days after adjudication of all final fee applications in respect of Professional
 Claims and (d) with respect to excess Cash in the Administrative and Priority Claims Reserve,
 not later than the first Business Day occurring 20 days after the payment of all Allowed
 Administrative and Priority Claims.

                  1.108 “Petition Date” means February 19, 2019, the date on which the Debtors
 filed their petitions for relief commencing the Chapter 11 Cases.

                1.109 “Pharma Purchase Agreement” means that certain Amended and
 Restated Asset Purchase Agreement, dated as of March 31, 2019 attached as Exhibit 1 to the
 Pharma Sale Order (together with the schedules and/or exhibits thereto and all related
 documents, and as may be amended, supplemented or otherwise modified from time to time in
 accordance with paragraph 45 of the Pharma Sale Order) by and among Rising, PACK, Rising
 Health, and Acetris, as Sellers, Aceto, as Parent, and Shore Suven Pharma, Inc. and/or its
 permitted designees (each, the “Pharma Buyer”).

              1.110 “Pharma Sale” means the sale of substantially all of the Rising Pharma
 Debtors’ Pharma Business (as defined in the Pharma Sale Motion) as authorized pursuant to the
 Pharma Sale Order and which sale closed on April 19, 2019.

               1.111 “Pharma Sale Motion” means the Debtors’ Motion for Orders (I) (A)
 Authorizing and Approving Bidding Procedures in Connection with the Sale of Substantially all
 Assets Comprising the Debtors’ Pharma Business; (B) Authorizing and Approving Bid
 Protections; (C) Approving Procedures for the Assumption and Assignment of Certain
 Executory Contracts and Unexpired Leases; (D) Scheduling a Sale Hearing; (E) Approving the
 Form and Manner of Notice Thereof; and (F) Granting Related Relief; and (II) (A) Authorizing
 and Approving the Sale of Substantially All Assets Comprising the Debtors Pharma Business
 Free and Clear of All Claims, Liens, Rights, Interests, and Encumbrances, (B) Authorizing and
 Approving the Assumption and Assignment of Certain Executory Contracts and Unexpired



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 Leases Related Thereto, and (C) Granting Related Relief filed by the Debtors in the Chapter 11
 Cases at Docket No. 109.

                1.112 “Pharma Sale Order” means the Order (A) Authorizing and Approving
 the Sale of Substantially All Assets Comprising the Debtors’ Pharma Business Free and Clear
 of All Claims, Liens, Rights, Interests, and Encumbrances, (B) Authorizing and Approving the
 Assumption and Assignment of Certain Executory Contracts and Unexpired Leases Related
 Thereto, and (C) Granting Related Relief entered by the Bankruptcy Court on April 10, 2019 in
 the Chapter 11 Cases at Docket No. 372 granting the Pharma Sale Motion.

               1.113 “Plan” means this joint plan of liquidation for the Debtors, including all
 appendices, exhibits, schedules, and supplements hereto, as it may be altered, amended,
 supplemented, or modified from time to time in accordance with the Bankruptcy Code, the
 Bankruptcy Rules, and the terms hereof, which shall be in form and substance acceptable to the
 Debtors (in consultation with the Creditors’ Committee).

                1.114 “Plan Administrator” means the Entity acceptable to the Debtors, in
 consultation with the Creditors’ Committee, and identified in the Plan Supplement and
 approved by the Bankruptcy Court pursuant to the Confirmation Order to administer the Plan in
 accordance with the terms of the Plan and the Plan Administrator Agreement and to take such
 other actions as may be authorized under the Plan Administrator Agreement, and any successor
 thereto.

                 1.115 “Plan Administrator Agreement” means the agreement by and among
 the Debtors, the Liquidating Debtors and the Plan Administrator, in form and substance
 reasonably acceptable to the Creditors’ Committee, which acceptance shall not be unreasonably
 withheld, specifying the rights, duties and responsibilities of the Plan Administrator under the
 Plan and providing that the Plan Administrator may retain Plan Administrator Professionals.
 The Plan Administrator Agreement shall be consistent with the Plan (to the extent applicable)
 and filed with the Plan Supplement.

                1.116 “Plan Administrator Professionals” means the agents, financial
 advisors, attorneys, consultants, independent contractors, representatives and other
 professionals of the Plan Administrator and the Liquidating Debtors, in their capacities as such.

               1.117 “Plan Settlement” has the meaning set forth in Section 5.04 of the Plan.

               1.118 “Plan Supplement” means the supplement or supplements to the Plan
 containing certain documents relevant to the implementation of the Plan, to be filed with the
 Bankruptcy Court on or before the Plan Supplement Filing Date, as may be amended from time
 to time, which Plan Supplement shall include: (a) the Distribution Calculation, (b) Executory
 Contracts assumed pursuant to the Plan, (c) the Wind-Down Budget, (d) a listing of certain
 Causes of Action, (e) Administrative Claim Request Form, and (f) the Plan Administrator
 Agreement, in each case, which shall be in form and substance acceptable to the Debtors (and
 reasonably acceptable to the Creditors’ Committee, whose acceptance shall not be unreasonably
 withheld).




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                1.119 “Plan Supplement Filing Date” means the date or dates on which the
 Plan Supplement shall be filed with the Bankruptcy Court. The Plan Supplement Filing Date
 shall be at least seven (7) days prior to the Voting Deadline or such later date as may be
 approved by the Bankruptcy Court.

                1.120 “Plan Termination Date” shall have the meaning ascribed to such term
 in Section 5.10(c) of the Plan.

                1.121 “Post-Effective Date Aceto” means, in the event that the Aceto Common
 Stock Non-Cancellation Election Notice is filed by the Debtors on or prior to the Effective
 Date, Aceto, or any successor thereto, by merger, consolidation or otherwise, on or after the
 Effective Date.

                 1.122 “Priority Tax Claim” means any Claim of a Governmental Unit entitled
 to priority of payment under section 507(a)(8) of the Bankruptcy Code.

                1.123 “Pro Rata Share” means the proportion that an Allowed Claim or
 Allowed Interest in a particular Class bears to the aggregate amount of Allowed Claims or
 Allowed Interests in that Class, or the proportion that Allowed Claims or Allowed Interests in a
 particular Class bear to the aggregate amount of Allowed Claims or Allowed Interests in a
 particular Class and other Classes entitled to share in the same recovery as such Allowed
 Claims or Allowed Interests under the Plan.

               1.124 “Professional” means any Entity retained by order of the Bankruptcy
 Court in connection with these Chapter 11 Cases pursuant to sections 327, 328, 330, 331,
 503(b), or 1103 of the Bankruptcy Code, including any Entity retained pursuant to an order of
 the Bankruptcy Court authorizing the retention of “ordinary-course professionals”.

                1.125 “Professional Claim” means an Administrative Claim of a Professional
 for compensation for services rendered or reimbursement of costs, expenses, or other charges
 and disbursements incurred relating to services rendered or expenses incurred after the Petition
 Date and prior to and including the Effective Date.

                1.126 “Professional Claim Estimate” means the sum of (a) the Holdback
 Amount, (b) the billed but unpaid fees and expenses of Professionals as of the Effective Date,
 and (c) the unbilled fees and expenses of Professionals reasonably estimated pursuant to Section
 2.02(b) of the Plan attributable to fees and expenses to be incurred through the Effective Date;
 provided, however, that if a Professional does not provide an estimate pursuant to Section
 2.02(b) of the Plan, the Debtors may reasonably estimate the unbilled fees and expenses of such
 Professional incurred as of the Effective Date, and the sum of clauses (a), (b), and (c) above and
 the total amount so estimated shall comprise the Professional Claim Estimate.

                1.127 “Professional Claims Reserve” means the account to be established on
 the Effective Date and maintained by Lowenstein Sandler LLP into which Cash equal to the
 Professional Claim Estimate shall be deposited by the Debtors on the Effective Date to fund
 Allowed Professional Claims of Professionals employed by the Debtors and the Creditors’
 Committee, provided that any Cash remaining in the Carve Out Account as of the Effective
 Date shall be funded into the Professionals Claims Reserve on the Effective Date and thereby


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 reduce the amount of Cash required to be funded into the Professional Claims Reserve by the
 Debtors.

                1.128 “Provisionally Allowed” means a Disputed Claim or Interest (a) that has
 been deemed temporarily allowed for voting purposes pursuant to Bankruptcy Rule 3018, or (b)
 the maximum amount of which has been estimated pursuant to Bankruptcy Code section 502(c)
 and the procedures set forth in Section 7.05 of the Plan; provided, however, that, if a Claim or
 Interest has been subject to multiple such estimation or temporary allowance proceedings, the
 Provisionally Allowed amount shall refer to the lowest amount established in any such
 proceedings, unless the Bankruptcy Court orders otherwise.

                1.129 “Reclamation Claim” means any Claim for the reclamation of goods
 delivered to the Debtors and asserted under section 546(c) of the Bankruptcy Code.

               1.130 “Rejection Damages Claim” means any Claim on account of the
 rejection of an Executory Contract or Unexpired Lease pursuant to section 365 of the
 Bankruptcy Code.

                 1.131 “Released Parties” means, collectively, each of the following solely in
 their respective capacities as such: (a) the Debtors’ current officers, directors, and managers (or
 any of the Debtors’ officers, directors and managers that served as such during or immediately
 prior to the Chapter 11 Cases); (b) the Debtors’ Professionals; (c) the Creditors’ Committee’s
 Professionals; (d) current and former members of the Creditors’ Committee, but solely in their
 capacities as such and not in any other capacity; (e) the Notes Indenture Trustee; and (f) with
 respect to each of the foregoing entities in clauses (a) through (e), such Entity and its current
 and former Affiliates, and such Entities’ and their current and former Affiliates’ current and
 former directors, managers, officers, equity holders (regardless of whether such interests are
 held directly or indirectly), predecessors, participants, successors, assigns, Affiliates,
 subsidiaries, divisions, managed accounts or funds, and each of their respective current and
 former equity holders, officers, directors, managers, principals, shareholders, members,
 managing members, management companies, fund advisors, employees, agents, advisory board
 members, financial advisors, partners, attorneys, accountants, investment bankers, consultants,
 representatives, and other professionals, in each case solely in their capacity as such. For the
 avoidance of doubt, and notwithstanding anything herein to the contrary, in no event shall
 holders of Interests in Aceto be considered “Released Parties” on account of such Interests.

                 1.132 “Releasing Parties” means, collectively, each of the following in their
 respective capacities as such: (a) the Released Parties identified in subsections (a)–(d) of the
 definition of “Released Parties”; (b) all Holders of Claims that vote to accept the Plan; (c) all
 Holders of Claims entitled to vote on the Plan who abstain from voting on the Plan and abstain
 from electing on their ballot to opt-out of the Third Party Release; (d) all Holders of Claims that
 vote to reject the Plan but do not elect on their ballot to opt-out of the Third Party Release; and
 (e) with respect to each of the foregoing entities in clauses (a) through (d), such Entity and its
 current and former Affiliates, and such Entities’ and their current and former Affiliates’ current
 and former directors, managers, officers, equity holders (regardless of whether such interests are
 held directly or indirectly), predecessors, participants, successors, assigns, Affiliates, managed
 accounts or funds, and each of their respective current and former equity holders, officers,


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 directors, managers, principals, shareholders, members, managing members, management
 companies, fund advisors, employees, agents, advisory board members, financial advisors,
 partners, attorneys, accountants, investment bankers, consultants, representatives, and other
 professionals, in each case in their capacity as such; provided, however, that holders of Interests
 in Aceto shall not be considered “Releasing Parties” solely on account of such Interests.

                1.133 “Reserved Claims” has the meaning set forth in Section 5.11(b) of the
 Plan.

              1.134 “Rising” means Kavod Pharmaceuticals                    LLC     (f/k/a   Rising
 Pharmaceuticals, LLC, f/k/a Rising Pharmaceuticals, Inc.).

                1.135 “Rising Health” means Kavod Health LLC (f/k/a Rising Health, LLC).

                1.136 “Rising Pharma Debtors” mean Rising, Rising Health, Acetris, and
 PACK.

                1.137 “Rising Net Distributable Assets” means, with respect to the Rising
 Pharma Debtors, and as allocated pursuant to the Distribution Calculation, all of the Cash held
 by the Rising Pharma Debtors’ Estates on each Distribution Date, including but not limited to
 the net Cash proceeds from the Pharma Sale, and any other Cash in the bank accounts of the
 Rising Pharma Debtors, and as may be increased by the Settlement Distribution Subsidy and
 any Litigation and Other Recoveries allocable to the Rising Pharma Debtors; provided,
 however, that the Rising Net Distributable Assets shall be reduced by the amounts used to fund
 (as allocated pursuant to the Distribution Calculation) the Professional Claims Reserve, the
 Administrative and Priority Claims Reserve, and the Wind-Down Reserve; provided further,
 that any Excess Amounts included in or attributable to the Settlement Distribution Subsidy shall
 ultimately not be Rising Net Distributable Assets.

                1.138 “Sale Motions” mean the Pharma Sale Motion and the Chemical Plus
 Sale Motion.

                1.139 “Sale Orders” mean the Chemical Plus Sale Order and the Pharma Sale
 Order.

                1.140 “Sales” mean the Chemical Plus Sale and the Pharma Sale.

                 1.141 “Schedule of Assumed Executory Contracts” means the schedule of
 certain Executory Contracts to be assumed by the Debtors pursuant to the Plan, along with the
 proposed Cure Amount, if any, with respect to each such Executory Contract, in the form filed
 as part of the Plan Supplement, as the same may be amended, modified, or supplemented from
 time to time in consultation with the Creditors’ Committee.

                1.142 “Scheduled” means, with respect to any Claim, the status, priority, and
 amount, if any, of such Claim as set forth in the Schedules.

                 1.143 “Schedules” means the schedules of assets and liabilities, statements of
 financial affairs, lists of Holders of Claims and Interests and all amendments or supplements


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 thereto filed by the Debtors with the Bankruptcy Court to the extent such filing is not waived
 pursuant to an order of the Bankruptcy Court.

               1.144 “Section 503(b)(9) Claim” means any Claim asserted under section
 503(b)(9) of the Bankruptcy Code equal to the value of any goods received by the Debtors
 within 20 days before the Petition Date in which the goods have been sold to the Debtors in the
 Debtors’ ordinary course of business.

                1.145 “Section 510(b) Claim” means any Claim arising from rescission of a
 purchase or sale of an equity security of the Debtors or an Affiliate of the Debtors, for damages
 arising from the purchase or sale of such an equity security, or for reimbursement or
 contribution allowed under section 502 of the Bankruptcy Code on account of such a Claim.

                1.146 “Section 510(c) Claim” means any Claim subordinated under section
 510(c) of the Bankruptcy Code.

                1.147 “Securities Claims” means any claims and Causes of Action arising from
 the Securities Litigation.

                 1.148 “Securities Litigation” means the litigation filed in the United States
 District Court for the Eastern District of New York and captioned as In re Aceto Corporation
 Securities Litigation, No. 2:18-cv-02425.

                1.149 “Servicers” means any indenture trustee, agent, servicer, or other
 authorized representative of Holders of Claims or Interests recognized by the Debtors, including
 without limitation, the Notes Indenture Trustee with respect to the Notes Claims.

                1.150 “Settlement Distribution Subsidy” means a cash contribution of up to
 $10 million to be funded (or otherwise reserved) from the Aceto Chemical Plus Debtors to the
 Rising Pharma Debtors to increase the Rising Net Distributable Assets; provided that if, when
 added together with any Allowed Class 4B Subordinated Claims against the Rising Pharma
 Debtors, the amount of the fully resolved, liquidated and Allowed Class 3B General Unsecured
 Claims against the Rising Pharma Debtors (other than the DPO Claim) is less than the Rising
 Net Distributable Assets, then the excess (the “Excess Amounts”) shall be returned to the Aceto
 Chemical Plus Debtors’ Estates and increase the available Aceto Net Distributable Assets.

               1.151 “Specified Individuals” means each of the former directors, officers,
 and/or managers of the Debtors prior to the Petition Date that did not serve in such capacity
 immediately prior to and after the Petition Date.

               1.152 “Subordinated Claim” means any (i) Claim that is subject to
 subordination under section 510 of the Bankruptcy Code (including a Section 510(b) Claim and
 Section 510(c) Claim), or (ii) Claim for a fine, penalty, forfeiture, multiple, exemplary or
 punitive damages, or otherwise not predicated upon compensatory damages, and that would be
 subordinated in a chapter 7 case pursuant to section 726(a)(4) of the Bankruptcy Code or
 otherwise.




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                1.153 “Tax Information” means any information relating to the tax obligations
 of the Debtors or the Liquidating Debtors as determined to be needed by the Debtors or the Plan
 Administrator or Distribution Agent, as applicable, including, without limitation, a Form W-8, a
 Form W-9, and information or certifications from brokers for Holders of Interests in Aceto
 holding in street name regarding the identity of such Holders and the number of Interests held
 by such Holders as of the Confirmation Date.

                 1.154 “Third Party Release” means the release given by each of the Releasing
 Parties to the Released Parties as set forth in Section 9.05 of the Plan.

                 1.155 “Unclaimed Distribution” means any distribution under the Plan on
 account of an Allowed Claim to a Holder that has not: (a) accepted a particular distribution or,
 in the case of distributions made by check, negotiated and/or cashed such check; (b) given
 notice to the Liquidating Debtors of an intent to accept a particular distribution; (c) responded to
 the Debtors’, the Liquidating Debtors’ or the Plan Administrator’s (or the Plan Administrator’s
 designee’s), as applicable, request for information necessary to facilitate a particular
 distribution; or (d) taken any other action necessary to facilitate such distribution.

               1.156 “Unexpired Lease” means a lease of nonresidential real property to
 which any of the Debtors is a party that is subject to assumption or rejection under section 365
 of the Bankruptcy Code.

               1.157 “Unimpaired” means, with respect to a Class of Claims or Interests, a
 Class of Claims or Interests that is not Impaired.

             1.158 “Voting Deadline” means the date and time established by order of the
 Bankruptcy Court as the deadline for ballots to be received by the Claims and Solicitation
 Agent.

                1.159 “Wind-Down Budget” means a budget to be prepared by the Debtors and
 reasonably acceptable to the Creditors’ Committee, which shall be filed with the Bankruptcy
 Court as part of the Plan Supplement, and which may be amended from time to time after entry
 of the Confirmation Order, subject to the consent of the Plan Administrator and, to the extent
 not disbanded pursuant to Section 5.14, the Oversight Committee, which consent shall not be
 unreasonably withheld, and which shall reasonably estimate the funds necessary to administer
 the Plan and wind down the Debtors’ affairs, including the costs of holding and liquidating the
 Estates’ remaining property, reconciling, objecting to and resolving Claims and Interests,
 making the distributions required by the Plan, prosecuting Causes of Action, paying taxes,
 paying premiums and expenses for any Insurance Contracts, filing tax returns, paying
 professionals’ fees and expenses, paying the fees and expenses of the Plan Administrator and
 the Oversight Committee, funding payroll and other employee costs, providing for the purchase
 of errors and omissions insurance and/or other forms of indemnification for the Plan
 Administrator, paying any statutory fees required to be paid pursuant to section 1930 of title 28
 of the United States Code until each of the Chapter 11 Cases (to the extent not closed on the
 Effective Date) are closed by entry of the Final Decree, dissolving the Liquidating Debtors and
 for all such items and other costs of administering the Plan and the Estates (other than the




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 Administrative and Priority Claims Reserve, the GUC Claims Reserve, and the Professional
 Claims Reserve).

                 1.160 “Wind-Down Reserve” means the reserve of Cash funded by the Debtors
 in the amount set forth in the Wind-Down Budget and to be maintained by the Plan
 Administrator on behalf of the Liquidating Debtors, plus any other amounts transferred to the
 Wind-Down Reserve from funds available in the Administrative and Priority Claims Reserve
 and the GUC Claims Reserve. Upon completion of dissolution of the Liquidating Debtors and
 final resolution of all pending Claims, Causes of Action, litigation and tax matters with respect
 to any of the Debtors, any remaining Cash in the Wind-Down Reserve shall be released to the
 respective Aceto Chemical Plus Debtors’ and/or Rising Pharma Debtors’ Estates for final
 distributions (subject to the Distribution Calculation).

         B.      Rules of Interpretation. For purposes of this Plan, unless otherwise provided
 herein, (a) whenever from the context it is appropriate, each term, whether stated in the singular
 or the plural, shall include both the singular and the plural; (b) each pronoun stated in the
 masculine, feminine, or neuter shall include the masculine, feminine, and neuter; (c) any
 reference in the Plan to an existing document or schedule filed or to be filed means such
 document or schedule, as it may have been or may be amended, modified, or supplemented; (d)
 any reference to an Entity as a Holder of a Claim or Interest includes that Entity’s successors and
 assigns; (e) all references in this Plan to Sections, Articles, and Exhibits are references to
 Sections, Articles, and Exhibits of or to this Plan; (f) the words “herein,” “hereunder,” “hereto,”
 and the like refer to this Plan in its entirety rather than to a particular portion of this Plan; (g)
 captions and headings to Articles and Sections are inserted for convenience of reference only and
 are not intended to be a part of or to affect the interpretation of this Plan; (h) the rules of
 construction set forth in section 102 of the Bankruptcy Code shall apply; (i) to the extent the
 Disclosure Statement is inconsistent with the terms of this Plan, this Plan shall control; (j) to the
 extent this Plan is inconsistent with the Confirmation Order, the Confirmation Order shall
 control; (k) references to “shares,” “shareholders,” “directors,” and/or “officers” shall also
 include “membership units,” “members,” “managers,” or other functional equivalents, as
 applicable, as such terms are defined under the applicable state limited liability company or
 alternative comparable laws, as applicable; and (l) any immaterial effectuating provision may be
 interpreted by the Liquidating Debtors in a manner that is consistent with the overall purpose and
 intent of the Plan without further order of the Bankruptcy Court.

         C.     Computation of Time. In computing any period of time prescribed or allowed by
 this Plan, unless otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a) shall
 apply.

         D.     Reference to Monetary Figures. All references in the Plan to monetary figures
 shall refer to the legal tender of the United States of America, unless otherwise expressly
 provided.

         E.      Exhibits. All Exhibits are incorporated into and are part of this Plan as if set forth
 in full herein and such Exhibits shall be filed with the Bankruptcy Court on or before the Plan
 Supplement Filing Date. After the Plan Supplement Filing Date, copies of Exhibits may be
 obtained upon email request to the Claims and Solicitation Agent at acetoinfo@primeclerk.com,


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 or by downloading such Exhibits               from     the   Debtors’   informational    website    at
 https://cases.primeclerk.com/Aceto.

                                            ARTICLE II

                ADMINISTRATIVE CLAIMS AND PRIORITY TAX CLAIMS

          Section 2.01.       Administrative Claims. Except to the extent that the Debtors or the
 Plan Administrator, and a Holder of an Allowed Administrative Claim agree to a less favorable
 treatment, a Holder of an Allowed Administrative Claim (other than a Professional Claim, which
 shall be subject to Section 2.02 of this Plan) shall receive, in full satisfaction, settlement, and
 release of, and in exchange for, such Administrative Claim, Cash equal to the unpaid portion of
 such Allowed Administrative Claim either (a) on the later of (i) the Initial Distribution Date or
 (ii) the first Periodic Distribution Date occurring after the later of (1) 30 days after the date when
 the Administrative Claim becomes an Allowed Administrative Claim; or (2) 30 days after the
 date when the Administrative Claim becomes payable pursuant to any agreement between the
 Debtors or the Plan Administrator and the Holder of the Administrative Claim; or (b) if the
 Allowed Administrative Claim is based on liabilities incurred by the Debtors in the ordinary
 course of their business after the Petition Date, in the ordinary course of business in accordance
 with the terms and conditions of the particular transaction giving rise to such Allowed
 Administrative Claim, without any further action by the Holder of such Allowed Administrative
 Claim; provided, however, that other than the Holder of (w) a Professional Claim, (x) an
 Administrative Claim Allowed by a Final Order of the Bankruptcy Court on or before the
 Effective Date, (y) an Administrative Claim that is not Disputed and arose in the ordinary course
 of business and was paid, or (z) an Administrative Claim arising under chapter 123 of title 28 of
 the United States Code, the Holder of any Administrative Claim shall have filed a proof of Claim
 form no later than the Administrative Claim Bar Date and such Claim shall have become an
 Allowed Claim. Except as otherwise provided herein and as set forth in Section 2.02 of this Plan,
 all requests for payment of an Administrative Claim must be filed, in substantially the form of
 the Administrative Claim Request Form contained in the Plan Supplement, with the Claims and
 Solicitation Agent and served on counsel for the Debtors and the Plan Administrator no later
 than the Administrative Claim Bar Date. Any request for payment of an Administrative Claim
 pursuant to this Section 2.01 that is not timely filed and served shall be Disallowed automatically
 without the need for any objection from the Debtors or the Plan Administrator. The Plan
 Administrator may settle any Administrative Claim without further Bankruptcy Court approval.
 In the event that the Debtors or the Plan Administrator object to an Administrative Claim and
 there is no settlement, the Bankruptcy Court shall determine the Allowed amount of such
 Administrative Claim. For the avoidance of doubt, any payments made by the Distribution Agent
 on account of Allowed Administrative Claims (other than Professional Claims) shall be paid
 from the Administrative and Priority Claims Reserve.

        Section 2.02.       Professional Claims.

        (a)     Final Fee Applications. All final requests for payment of Professional Claims
 must be filed no later than thirty (30) days after the Effective Date. After notice and a hearing in
 accordance with the procedures established by the Bankruptcy Code, the Bankruptcy Rules and



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 prior orders of the Bankruptcy Court, the Allowed amounts of such Professional Claims shall be
 determined by the Bankruptcy Court.

        (b)     Payment of Interim Amounts and Fee Estimates. Following the Effective Date, the
 Liquidating Debtors shall continue to comply with the Interim Compensation Order with respect
 to amounts owing to Professionals for the period from the Petition Date through the Effective
 Date. No later than two days prior to the Effective Date, each Professional shall estimate fees
 and expenses due for periods that have not or will not have been billed as of the Effective Date
 and shall deliver such estimate to the Debtors and such estimate shall be included in the
 Professional Claim Estimate.

         (c)    Professional Claims Reserve. On the Effective Date, the Debtors shall fund the
 Professional Claims Reserve with Cash equal to the aggregate Professional Claim Estimate for
 all Professionals of the Debtors and Creditors’ Committee; provided that any Cash remaining in
 the Carve Out Account as of the Effective Date shall be funded into the Professionals Claims
 Reserve on the Effective Date and thereby reduce the amount of Cash required to be funded into
 the Professional Claims Reserve by the Debtors. The Professional Claims Reserve shall be held
 and maintained in trust by Lowenstein Sandler LLP for all Professionals with respect to whom
 fees have not yet been Allowed or paid pursuant to the Interim Compensation Order. The funds
 in the Professional Claims Reserve shall not be considered property of the Debtors, the
 Liquidating Debtors, the Plan Administrator, or the Estates, as applicable. Following any
 payments from the Professional Claims Reserve as set forth in Section 2.02(b) above, the
 remaining amount of Professional Claims owing to the Professionals shall be paid to such
 Professionals from the Professional Claims Reserve when such Claims are finally Allowed by
 the Bankruptcy Court.

         (d)     Post-Effective Date Retention. Upon the Effective Date, any requirement that
 Professionals comply with sections 327 through 331 of the Bankruptcy Code in seeking retention
 or compensation for services rendered after the Effective Date shall terminate, and the Plan
 Administrator shall be permitted to employ and pay Professionals in the exercise of its business
 judgment (including the fees and expenses incurred by professionals in preparing, reviewing,
 prosecuting, defending, or addressing any issues with respect to final fee applications), subject to
 the terms of the Plan Administrator Agreement (and with respect to Professionals not specifically
 listed as retained by the Plan Administrator following the Effective Date, subject to consultation
 with the Oversight Committee (to the extent not disbanded pursuant to Section 5.14)).

         Section 2.03.      Priority Tax Claims. On the later of (a) the Initial Distribution Date
 or (b) the first Periodic Distribution Date occurring after the later of (i) 30 days after the date
 when a Priority Tax Claim becomes an Allowed Priority Tax Claim or (ii) 30 days after the date
 when a Priority Tax Claim becomes payable pursuant to any agreement between the Debtors (or
 the Plan Administrator) and the Holder of such Priority Tax Claim, except to the extent that the
 Debtors (or Plan Administrator) and a Holder of an Allowed Priority Tax Claim agree to a less
 favorable treatment, each Holder of an Allowed Priority Tax Claim due and payable on or before
 the Effective Date shall receive, in full and final satisfaction, settlement, and release of and in
 exchange for each and every Allowed Priority Tax Claim, Cash in an amount equal to the
 amount of such Allowed Priority Tax Claim. To the extent any Allowed Priority Tax Claim is
 not due and owing on the Effective Date, such Claim shall be paid in full in Cash in accordance


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 with the terms of any agreement between the Debtors and the Holder of such Claim, or as may
 be due and payable under applicable non-bankruptcy law or in the ordinary course of business.
 For the avoidance of doubt, any payments made by the Plan Administrator on account of
 Allowed Priority Tax Claims shall be paid from the Administrative and Priority Claims Reserve.

                                           ARTICLE III

   CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND INTERESTS

        Section 3.01.      Classification of Claims and Interests.

         (a)    Pursuant to the Plan Settlement, the Plan, though proposed jointly, constitutes a
 separate plan for the Aceto Chemical Plus Debtors, the Rising Pharma Debtors, the Arsynco
 Debtor, and the Acci Realty Debtors for voting purposes and, except as set forth in Section 5.01
 of the Plan with respect to the substantive consolidation of the Aceto Chemical Plus Debtors and
 Rising Pharma Debtors, does not otherwise constitute a substantive consolidation of the Debtors’
 Estates. Therefore, all Claims against and Interests in each of the Debtors are placed in the
 Classes set forth below with respect to such Debtor(s). Classes that are not applicable as to a
 particular Debtor shall be eliminated as set forth more fully in Section 4.03 of the Plan. In
 accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims and Priority
 Tax Claims of the kinds specified in sections 507(a)(2) and 507(a)(8) of the Bankruptcy Code
 have not been classified and their treatment is set forth in Article II above.

        A Claim or Interest is placed in a particular Class for all purposes, including voting,
 Confirmation, and distribution under the Plan and under sections 1122 and 1123(a)(1) of the
 Bankruptcy Code; provided, however, that a Claim or Interest is placed in a particular Class for
 the purpose of voting on the Plan and, to the extent applicable, receiving distributions pursuant to
 the Plan only to the extent that such Claim or Interest is an Allowed Claim or Allowed Interest in
 that Class and such Allowed Claim or Allowed Interest has not been satisfied, released, or
 otherwise settled prior to the Effective Date.

        Claims and Interests are divided into the numbered Classes set forth below:


   CLASS          CLAIM OR INTEREST                    STATUS             VOTING RIGHTS
     1            Other Priority Claims                Unimpaired         Presumed to Accept
     2            Other Secured Claims                 Unimpaired         Presumed to Accept
     3A           General Unsecured Claims             Impaired           Entitled to Vote
                  against Aceto Chemical Plus
                  Debtors (including DPO
                  Claim and Notes Claims)
      3B          General Unsecured Claims             Impaired           Entitled to Vote
                  against Rising Pharma
                  Debtors (including DPO
                  Claim)
      3C          General Unsecured Claims             Impaired           Entitled to Vote
                  against Arsynco


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      3D          General Unsecured Claims                Impaired         Entitled to Vote
                  against Acci Realty
      4A          Subordinated Claims Against             Impaired         Deemed to Reject
                  Aceto Chemical Plus Debtors
      4B          Subordinated Claims Against             Impaired         Deemed to Reject
                  Rising Pharma Debtors
      5           Intercompany Claims                     Impaired         Deemed to Reject
      6A          Interests in Aceto                      Impaired         Deemed to Reject
      6B          Interests in all Debtors Other          Impaired         Deemed to Reject
                  than Aceto

        Section 3.02.       Treatment and Voting of Claims and Interests.

        (a)     Class 1 – Other Priority Claims

                (i)     Classification. Class 1 consists of all Other Priority Claims.

                 (ii)   Treatment. Except as otherwise provided in and subject to Section 8.05 of
 this Plan, and except to the extent that a Holder of an Allowed Other Priority Claim agrees to a
 less favorable treatment, in full and final satisfaction, settlement, and release of and in exchange
 for each and every Allowed Other Priority Claim, each such Holder of an Allowed Other Priority
 Claim shall be paid in full in Cash on the later of (A) the Initial Distribution Date or (B) the first
 Periodic Distribution Date occurring after the later of (1) 30 days after the date when an Other
 Priority Claim becomes an Allowed Other Priority Claim or (2) 30 days after the date when an
 Other Priority Claim becomes payable pursuant to any agreement between the Debtors (or the
 Plan Administrator) and the Holder of such Other Priority Claim.

               (iii) Voting. Class 1 is Unimpaired, and Holders of Allowed Other Priority
 Claims are conclusively presumed to have accepted the Plan.

        (b)     Class 2 – Other Secured Claims

                (i)     Classification. Class 2 consists of all Other Secured Claims.

                  (ii)    Treatment. Except as otherwise provided in and subject to Section 8.05 of
 this Plan, and except to the extent that a Holder of an Allowed Other Secured Claim agrees to a
 less favorable treatment, in full and final satisfaction, settlement, and release of and in exchange
 for each and every Allowed Other Secured Claim, each such Holder of an Allowed Other
 Secured Claim shall, at the option of the Plan Administrator, (i) be paid in full in Cash in an
 amount equal to such Allowed Other Secured Claim, (ii) receive the net proceeds of the sale or
 disposition of the collateral securing such Allowed Other Secured Claim to the extent of the
 value of the interest of the Holder of such Allowed Other Secured Claim in such collateral, or
 (iii) receive the collateral securing such Allowed Other Secured Claim, in each case of (i), (ii), or
 (iii) on the later of (A) the Initial Distribution Date or (B) the first Periodic Distribution Date
 occurring after the later of (1) 30 days after the date such Other Secured Claim becomes an
 Allowed Other Secured Claim, or (2) 30 days after the date when such Other Secured Claim
 becomes payable pursuant to any agreement between the Debtors (or the Plan Administrator) and


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 the Holder of such Other Secured Claim; provided, however, that nothing in this Section 3.02 or
 elsewhere in this Plan shall preclude the Debtors or the Plan Administrator, as applicable, from
 challenging the validity of any alleged Lien on any asset of the Debtors or the value of the
 property that secures any alleged Lien.

               (iii) Voting. Class 2 is Unimpaired, and Holders of Allowed Other Secured
 Claims are conclusively presumed to have accepted the Plan.

        (c)     Class 3A – General Unsecured Claims Against Aceto Chemical Plus Debtors

              (i)     Classification. Class 3A consists of all General Unsecured Claims against
 the Aceto Chemical Plus Debtors.

                (ii)  Allowance. The Notes Claims shall be Allowed in Class 3A in the
 aggregate amount of $144,612,500 (consisting of principal in the aggregate amount of
 $143,750,000, plus accrued and unpaid interest as of the Petition Date in the aggregate amount of
 $862,500), and the DPO Claim shall be Allowed in Class 3A in the amount of $30,000,000,
 provided that the DPO Claim shall have its recovery capped and/or subordinated as set forth in
 Section 8.12 below and consistent with the Mutual Release Agreement.

                 (iii) Treatment. Except to the extent that a Holder of an Allowed General
 Unsecured Claim against the Aceto Chemical Plus Debtors agrees to a less favorable treatment
 and subject to Section 8.12 with respect to the DPO Claim, in full and final satisfaction,
 settlement, and release of and in exchange for each and every Allowed General Unsecured Claim
 against the Aceto Chemical Plus Debtors, on the Initial Distribution Date and each applicable
 Periodic Distribution Date thereafter, each Holder of an Allowed General Unsecured Claim
 against the Aceto Chemical Plus Debtors shall receive its Pro Rata Share of the Aceto Net
 Distributable Assets (a) up to the full principal amount of such Allowed Claim, and (b) solely if
 and to the extent sufficient Aceto Net Distributable Assets are available once the principal
 amount of all Allowed General Unsecured Claims against the Aceto Chemical Plus Debtors is
 paid in full, post-petition interest from the Petition Date through the Initial Distribution Date, on
 account of such Claims, at the lower of the (i) Federal Judgment Rate and (ii) the contract non-
 default interest rate (if applicable).

                (iv)  Voting. Class 3A is Impaired, and Holders of General Unsecured Claims
 against the Aceto Chemical Plus Debtors are entitled to vote to accept or reject the Plan.

        (d)     Class 3B – General Unsecured Claims Against Rising Pharma Debtors

                (i)  Classification. Class 3B consists of all General Unsecured Claims against
 the Rising Pharma Debtors.

                  (ii)   Allowance. The DPO Claim shall be Allowed in Class 3B in the amount
 of $30,000,000, provided that the DPO Claim shall have its recovery capped and/or subordinated
 as set forth in Section 8.12 below and consistent with the Mutual Release Agreement.

              (iii) Treatment. Except to the extent that a Holder of an Allowed General
 Unsecured Claim against the Rising Pharma Debtors agrees to a less favorable treatment and


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 subject to Section 8.12 with respect to the DPO Claim, in full and final satisfaction, settlement,
 and release of and in exchange for each and every Allowed General Unsecured Claim against the
 Rising Pharma Debtors, on the Initial Distribution Date and each applicable Periodic Distribution
 Date thereafter, each Holder of an Allowed General Unsecured Claim against the Rising Pharma
 Debtors shall receive its Pro Rata Share of the Rising Net Distributable Assets (a) up to the full
 principal amount of such Allowed Claim, and (b) solely if and to the extent sufficient Rising Net
 Distributable Assets are available once the principal amount of all Allowed General Unsecured
 Claims against the Rising Pharma Debtors is paid in full, post-petition interest from the Petition
 Date through the Initial Distribution Date on account of such Claims, at the lower of the (i)
 Federal Judgment Rate and (ii) the contract non-default interest rate (if applicable).

                (iv)   Voting. Class 3B is Impaired, and Holders of General Unsecured Claims
 against the Rising Pharma Debtors are entitled to vote to accept or reject the Plan.

        (e)     Class 3C – General Unsecured Claims Against Arsynco

                (i)    Classification. Class 3C consists of all General Unsecured Claims against
 Arsynco.

                 (ii)   Treatment. Except to the extent that a Holder of an Allowed General
 Unsecured Claim against Arsynco agrees to a less favorable treatment, in full and final
 satisfaction, settlement, and release of and in exchange for each and every Allowed General
 Unsecured Claim against Arsynco, on the Initial Distribution Date and each applicable Periodic
 Distribution Date thereafter, each Holder of an Allowed General Unsecured Claim against
 Arsynco shall receive its Pro Rata Share of the Arsynco Net Distributable Assets (a) up to the
 full principal amount of such Allowed Claim, and (b) solely if and to the extent sufficient
 Arsynco Net Distributable Assets are available once the principal amount of all Allowed General
 Unsecured Claims against Arsynco is paid in full, post-petition interest from the Petition Date
 through the Initial Distribution Date on account of such Claims, at the lower of the (i) Federal
 Judgment Rate and (ii) the contract non-default interest rate (if applicable).

               (iii) Voting. Class 3C is Impaired, and Holders of General Unsecured Claims
 against Arsynco are entitled to vote to accept or reject the Plan.

        (f)     Class 3D – General Unsecured Claims Against Acci Realty

                (i)    Classification. Class 3D consists of all General Unsecured Claims against
 Acci Realty.

                 (ii)   Treatment. Except to the extent that a Holder of an Allowed General
 Unsecured Claim against Acci Realty agrees to a less favorable treatment, in full and final
 satisfaction, settlement, and release of and in exchange for each and every Allowed General
 Unsecured Claim against Acci Realty, on the Initial Distribution Date and each applicable
 Periodic Distribution Date thereafter, each Holder of an Allowed General Unsecured Claim
 against Acci Realty shall receive its Pro Rata Share of the Acci Realty Net Distributable Assets
 (a) up to the full principal amount of such Allowed Claim, and (b) solely if and to the extent
 sufficient Acci Realty Net Distributable Assets are available once the principal amount of all
 Allowed General Unsecured Claims against Acci Realty is paid in full, post-petition interest


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 from the Petition Date through the Initial Distribution Date on account of such Claims, at the
 lower of the (i) Federal Judgment Rate and (ii) the contract non-default interest rate (if
 applicable).

               (iii) Voting. Class 3D is Impaired, and Holders of General Unsecured Claims
 against Acci Realty are entitled to vote to accept or reject the Plan.

        (g)     Class 4A – Subordinated Claims Against Aceto Chemical Plus Debtors

              (i)    Classification. Class 4A consists of all Subordinated Claims against the
 Aceto Chemical Plus Debtors.

              (ii)   Allowance. Notwithstanding anything to the contrary herein, a
 Subordinated Claim against the Aceto Chemical Plus Debtors, if any such Claim exists, may
 only become Allowed by Final Order.

                 (iii) Treatment. On the Effective Date, each Holder of an Allowed
 Subordinated Claim (if any) against the Aceto Chemical Plus Debtors shall not receive any
 distribution or other property on account of such Claim; provided, however, that if after payment
 in full of all Allowed Class 3A General Unsecured Claims against the Aceto Chemical Plus
 Debtors (including payment of post-petition interest, if any, as set forth herein in Section 3.02)
 and after reserving for sufficient amounts for the payment of all potential Allowed Claims in
 Class 3A and all other wind-down costs and expenses, the Plan Administrator determines that
 additional Aceto Net Distributable Assets are available for distribution, then subject in all
 respects to Section 5.11(e) the Plan Administrator shall make such distributions to Holders of
 Allowed Subordinated Claims ratably with Holders of Allowed Interests in Aceto in the manner
 set forth immediately below.

        With respect to distributions, if any, to be shared ratably between Holders of Allowed
 Subordinated Claims against the Aceto Chemical Plus Debtors and Holders of Allowed Interests
 in Aceto, each holder of an Allowed Subordinated Claim against the Aceto Chemical Plus
 Debtors shall be entitled to its Pro Rata Share (up to the principal amount of its Allowed Claim)
 of the remaining Aceto Net Distributable Assets to be distributed on a pari passu basis with
 Holders of Allowed Interests in Aceto, and for purposes of determining the proportional amount
 of Allowed Subordinated Claims against the Aceto Chemical Plus Debtors relative to the
 Allowed Interests, the Plan Administrator shall use the Aceto Interest Distribution Value.

              (iv)    Voting. Class 4A is Impaired, and Holders of Subordinated Claims against
 the Aceto Chemical Plus Debtors are deemed to have rejected the Plan.

        (h)     Class 4B – Subordinated Claims Against Rising Pharma Debtors

              (i)    Classification. Class 4B consists of all Subordinated Claims against the
 Rising Pharma Debtors.

              (ii)   Allowance. Notwithstanding anything to the contrary herein, a
 Subordinated Claim against the Rising Pharma Debtors, if any such Claim exists, may only
 become Allowed by Final Order.


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                 (iii) Treatment. On the Effective Date, each Holder of an Allowed
 Subordinated Claim (if any) against the Rising Debtors shall not receive any distribution or other
 property on account of such Claim; provided, however, that if after payment in full of all
 Allowed Class 3B General Unsecured Claims against the Rising Debtors (including payment of
 post-petition interest, if any, as set forth herein in Section 3.02) and after reserving for sufficient
 amounts for the payment of all potential Allowed Claims in Class 3B and all other wind-down
 costs and expenses, the Plan Administrator determines that additional Rising Net Distributable
 Assets are available for distribution, then subject in all respects to Section 5.11(e) the Plan
 Administrator shall make such distributions and each Holder of an Allowed Subordinated Claim
 against the Rising Pharma Debtors shall receive its Pro Rata Share of any available remaining
 Rising Net Distributable Assets up to the full principal amount of such Allowed Claim.

                (iv) Voting. Class 4B is Impaired, and Holders of Subordinated Claims against
 the Rising Pharma Debtors are deemed to have rejected the Plan.

        (i)     Class 5 – Intercompany Claims

                (i)     Classification. Class 5 consists of all Intercompany Claims.

                 (ii)  Treatment. On the Effective Date, all Intercompany Claims shall be
 eliminated and extinguished and the Holders of Intercompany Claims shall not receive or retain
 any property under the Plan on account of such Claims, and such Claims will be deemed waived
 and released except as set forth with respect to the Intercompany Claim of the Rising Pharma
 Debtors against the Aceto Chemical Plus Debtors which will be settled through the Settlement
 Distribution Subsidy, provided, however, that nothing herein shall eliminate the Debtors’ rights
 to distributions from any of their non-Debtor Affiliates on account of the Debtors’ equity
 interests in any non-Debtor Affiliate.

               (iii) Voting. Class 5 is Impaired, and Holders of Allowed Intercompany Claims
 are deemed to have rejected the Plan.

        (j)     Class 6A – Interests in Aceto

                (i)     Classification. Class 6A consists of all Interests in Aceto.

                (ii)   Treatment. On the Effective Date, Interests in Aceto, including the Aceto
 Common Stock, shall be deemed automatically cancelled, released, and extinguished without
 further action by the Debtors or the Plan Administrator, and without further distribution;
 provided that one share of common stock in Aceto will be issued and transferred to the Plan
 Administrator for purposes of administering the wind-down of Aceto as may be required,
 including pursuant to the Chemical Plus Purchase Agreement; provided further that in the event
 that the Aceto Common Stock Non-Cancellation Election Notice is filed by the Debtors on or
 prior to the Effective Date, each Holder of Interests in Aceto, including the Aceto Common
 Stock, as of the Distribution Record Date, shall be entitled to retain such Interests in Aceto
 without further recovery or distribution on account of such interests and one share of common
 stock in Aceto will not be issued or transferred to the Plan Administrator as of the Effective
 Date; and provided further that if after payment in full of all Allowed Class 3A General
 Unsecured Claims against the Aceto Chemical Plus Debtors (including payment of post-petition


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 interest, if any, as set forth herein in Section 3.02) and/or reserving for sufficient amounts for the
 payment of all potential Allowed Claims in Class 3A and all other wind-down costs and
 expenses, the Plan Administrator determines that additional Aceto Net Distributable Assets are
 available for distribution, then subject in all respects to Section 5.11(e) (and whether or not the
 Aceto Common Stock Non-Cancellation Election Notice was filed by the Debtors on or prior to
 the Effective Date) the Plan Administrator shall make such distributions to Holders of Interests
 in Aceto as of the Distribution Record Date ratably with Holders of Allowed Subordinated
 Claims against the Aceto Chemical Plus Debtors in the manner set forth immediately below.

        With respect to distributions, if any, to be shared ratably between Holders of Interests in
 Aceto and Holders of Allowed Subordinated Claims against the Aceto Chemical Plus Debtors,
 each Holder of an Interest in Aceto shall be entitled to its Pro Rata Share of the remaining Aceto
 Net Distributable Assets to be distributed on a pari passu basis with Holders of Allowed
 Subordinated Claims against the Aceto Chemical Plus Debtors and, for purposes of determining
 the proportional amount of Allowed Subordinated Claims against the Aceto Chemical Plus
 Debtors relative to the Interests in Aceto, the Plan Administrator shall use the Aceto Interest
 Distribution Value.

               (iii) Voting. Class 6A is Impaired, and Holders of Allowed Interests in Aceto
 are deemed to have rejected the Plan.

          (k)   Class 6B – Interests in Debtors Other Than Aceto

                (i)     Classification. Class 6B consists of all Interests in all Debtors other than
 Aceto.

                 (ii)   Treatment. On the Effective Date, Allowed Interests in Debtors other than
 Aceto shall not receive any distribution on account of such Interests, provided that such Interests
 shall be maintained by the Plan Administrator on and after the Effective Date as may be required
 pursuant to the Pharma Purchase Agreement and/or Chemical Plus Purchase Agreement and/or
 as necessary to administer the wind-down of each Debtor other than Aceto, including, inter alia,
 for purposes of transferring any particular Estates’ assets to other Estates to the extent any
 particular Estate (or set of consolidated Estates) has additional Cash remaining after paying out
 all other required Plan distributions.

               (iii) Voting. Class 6B is Impaired, and Holders of Allowed Interests in Debtors
 other than Aceto are deemed to have rejected the Plan.

                                            ARTICLE IV

                                          ACCEPTANCE

         Section 4.01.       Classes Entitled to Vote. Classes 3A, 3B, 3C, and 3D are Impaired
 and are entitled to vote to accept or reject this Plan. By operation of law, Classes 1 and 2 are
 Unimpaired and are conclusively presumed to have accepted this Plan and, therefore, are not
 entitled to vote. By operation of law, Classes 4A, 4B, 5, 6A and 6B are deemed to have rejected
 this Plan and are not entitled to vote.



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         Section 4.02.     Acceptance by Impaired Classes. An Impaired Class of Claims shall
 have accepted this Plan if (a) the Holders of at least two-thirds (2/3) in amount of the Allowed
 Claims actually voting in such Class have voted to accept this Plan and (b) the Holders of more
 than one-half (1/2) in number of the Allowed Claims actually voting in such Class have voted to
 accept the Plan.

         Section 4.03.       Elimination of Classes. To the extent applicable, any Class that does
 not contain any Allowed Claims or any Claims temporarily allowed for voting purposes under
 Bankruptcy Rule 3018 as of the date of commencement of the Confirmation Hearing for all
 Debtors or with respect to any particular Debtor shall be deemed to have been deleted from this
 Plan for all Debtors or for such particular Debtor, as applicable, for purposes of (a) voting to
 accept or reject this Plan and (b) determining whether it has accepted or rejected this Plan under
 section 1129(a)(8) of the Bankruptcy Code.

         Section 4.04.       Deemed Acceptance if No Votes Cast. If no Holders of Claims
 eligible to vote in a particular Class vote to accept or reject the Plan, this Plan shall be deemed
 accepted by the Holders of such Claims in such Class.

         Section 4.05.      Cramdown. To the extent necessary, the Debtors shall request
 Confirmation of this Plan under section 1129(b) of the Bankruptcy Code. The Debtors reserve
 the right to modify, amend, or withdraw this Plan, with respect to all Debtors or any individual
 Debtor, to the extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy
 Code requires modification.

                                           ARTICLE V

                      MEANS OF IMPLEMENTATION OF THE PLAN

         Section 5.01.      Partial Substantive Consolidation. Pursuant to the Plan Settlement,
 this Plan contemplates and is predicated upon the deemed substantive consolidation of the
 Estates and Chapter 11 Cases of, respectively, (i) each of the Aceto Chemical Plus Debtors, and
 (ii) each of the Rising Pharma Debtors.

         On the Effective Date, each Claim filed or to be filed against (or Allowed against) (i) any
 of Aceto, Aceto Agri or Aceto Realty shall be deemed filed against Aceto and shall be deemed a
 single Claim against and a single obligation of Aceto for distribution purposes only and the
 claims register shall be updated accordingly, and (ii) any of Rising, Rising Health, Acetris and
 PACK shall be deemed filed against Rising and shall be deemed a single Claim against and a
 single obligation of Rising for distribution purposes only and the claims register shall be updated
 accordingly. This limited substantive consolidation effected pursuant to this Plan shall not (i)
 otherwise affect the rights of any Holder of any Claim, or (ii) affect the treatment of Claims
 against Arsynco and Acci Realty, which Claims are separately classified in Section 3.02. For the
 avoidance of doubt, the Estates of Arsynco and Acci Realty are not substantively consolidated
 with the Estates of either the Aceto Chemical Plus Debtors or the Rising Pharma Debtors.

        Entry of the Confirmation Order shall constitute approval, pursuant to sections 105(a)
 and 1123(A)(5) of the Bankruptcy Code and Bankruptcy Rule 9019, effective as of the Effective



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 Date, of the substantive consolidation of the Estates of, respectively, (i) each of the Aceto
 Chemical Plus Debtors and (ii) each of the Rising Pharma Debtors, for the purposes of
 confirming and consummating the Plan, including but not limited to voting, confirmation and
 Plan distributions. Accordingly, (I) (a) the assets and liabilities of each of the Aceto Chemical
 Plus Debtors will be deemed the assets and liabilities of a single, consolidated entity, Aceto, (b)
 each and every non-contingent, liquidated, non-disputed Claim listed on the Schedules and/or
 filed in the Chapter 11 Cases against any of the Aceto Chemical Plus Debtors shall be considered
 filed against the consolidated Aceto Chemical Plus Debtors and shall be considered one Claim
 against and obligation of the consolidated Aceto Chemical Plus Debtors on and after the
 Effective Date, (c) all joint obligations of two or more of the Aceto Chemical Plus Debtors and
 all multiple Claims against such entities on account of such joint obligations shall be considered
 a single Claim against the Aceto Chemical Plus Debtors, (d) all guarantee by any of the Aceto
 Chemical Plus Debtors of the obligations of any other Aceto Chemical Plus Debtors arising prior
 to the Effective Date shall be deemed eliminated under the Plan so that any Claim against any of
 the Aceto Chemical Plus Debtors and any guaranty thereof by any other Aceto Chemical Plus
 Debtors and any joint and several liability of any of the Aceto Chemical Plus Debtors shall be
 deemed to be one obligation of the deemed consolidated Aceto Chemical Plus Debtors, and (e)
 all Intercompany Claims between and among the Aceto Chemical Plus Debtors shall be
 cancelled and extinguished; and (II) (a) the assets and liabilities of each of the Rising Pharma
 Debtors will be deemed the assets and liabilities of a single, consolidated entity, Rising, (b) each
 and every non-contingent, liquidated, non-disputed Claim listed on the Schedules and/or filed in
 the Chapter 11 Cases against any of the Rising Pharma Debtors shall be considered filed against
 the consolidated Rising Pharma Debtors and shall be considered one Claim against and
 obligation of the consolidated Rising Pharma Debtors on and after the Effective Date, (c) all joint
 obligations of two or more of the Rising Pharma Debtors and all multiple Claims against such
 entities on account of such joint obligations shall be considered a single Claim against the Rising
 Pharma Debtors, (d) all guarantee by any of the Rising Pharma Debtors of the obligations of any
 other Rising Pharma Debtors arising prior to the Effective Date shall be deemed eliminated
 under the Plan so that any Claim against any of the Rising Pharma Debtors and any guaranty
 thereof by any other Rising Pharma Debtors and any joint and several liability of any of the
 Rising Pharma Debtors shall be deemed to be one obligation of the deemed consolidated Rising
 Pharma Debtors, and (e) all Intercompany Claims between and among the Rising Pharma
 Debtors shall be cancelled and extinguished.

         Such deemed consolidation shall not, however, (other than for purposes related to
 funding Distributions under the Plan) affect (a) the legal and organizational structure of the
 Aceto Chemical Plus Debtors and/or Rising Pharma Debtors (including as required to be
 maintained following the Effective Date pursuant to the Chemical Plus Purchase Agreement
 and/or Pharma Purchase Agreement, respectively), (b) executory contracts or unexpired leases
 that were entered into during the Chapter 11 Cases or that have been or will be assumed,
 assumed and assigned, or rejected, (c) any agreements entered into by the Liquidating Debtors on
 or after the Effective Date, (d) the Debtors or Liquidating Debtors or Plan Administrator’s ability
 to commence and prosecute any Causes of Action against any Entity as if there was no
 substantive consolidation.




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        Section 5.02.       Post-Effective Date Governance and Dissolution of Debtors.

         Immediately following the occurrence of the Effective Date, (a) the respective boards of
 directors and/or manager of each of the Debtors shall be terminated and the members of the
 boards of directors of the Debtors shall be deemed to have resigned, (b) the Plan Administrator
 shall be appointed as the sole director and/or manager of each of the Liquidating Debtors (to the
 extent such Debtors are not being dissolved as of or in connection with the Effective Date) and
 (c) the Debtors shall continue to exist as the Liquidating Debtors after the Effective Date in
 accordance with the laws of the respective states of incorporation of each of the Debtors and
 pursuant to their respective certificates of incorporation, by-laws, articles of formation, operating
 agreements, and other organizational documents in effect prior to the Effective Date, except if
 and to the extent such organizational documents are amended under the Plan, including for the
 limited purposes of liquidating all of the assets of the Estates, making distributions in accordance
 with the Plan, reducing the size of boards of directors or the number of managers, and
 performing such obligations under the Chemical Plus Purchase Agreement, Pharma Purchase
 Agreement and Sale Orders as are required to be performed, until such time as the Plan
 Administrator reasonably concludes (upon consultation with the Oversight Committee, to the
 extent not disbanded pursuant to Section 5.14) such performance is complete or no longer
 required, and such other activities as are ancillary, necessary or convenient to the foregoing and
 the implementation of this Plan.

         On the Effective Date, and without further order of the Bankruptcy Court, the Debtors or
 the Plan Administrator, on behalf of the Liquidating Debtors, may execute and file documents
 and take all other actions as they deem appropriate relating to the foregoing corporate actions
 under applicable state laws and, in such event, all applicable regulatory or governmental
 agencies shall take all steps necessary to allow and effect any necessary corporate changes of the
 Debtors as provided herein, without the payment of any fee, tax or charge and without the need
 for the filing of reports or certificates.

         Moreover, on and after the Effective Date, Aceto Realty, Acci Realty, PACK, and Rising
 Health (i) shall be deemed to have withdrawn their business operations from any state in which
 they were previously conducting, or are registered or licensed to conduct, their business
 operations, and shall not be required to file any document, pay any sum or take any other action
 in order to effectuate such withdrawal, and (ii) shall not be liable in any manner to any taxing or
 other authority for franchise, business, license or similar taxes accruing on or after the Effective
 Date.

         As soon as practicable after the conclusion of all litigation relating to the Debtors, the
 Plan Administrator shall, at the expense of the Debtors’ Estates, (i) provide for the retention and
 storage of the books, records and files (including any necessary tax records) that shall have been
 held or maintained by the Debtors, subject to Section 5.17; (ii) file a certificate stating that the
 assets of the Debtors’ Estates have been exhausted and final distributions of Cash have been
 made under the Plan; (iii) file the necessary paperwork in the relevant states of incorporation of
 each of the Liquidating Debtors to effectuate the dissolution of the Liquidating Debtors in
 accordance with the laws of such jurisdiction; and (iv) upon completion of all duties pursuant to
 the Plan, resign as the sole officer and manager, as applicable, of the Liquidating Debtors;
 provided that, for the avoidance of doubt, to the extent the Aceto Common Stock Non-


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 Cancellation Election Notice is filed by the Debtors on or prior to the Effective Date, the Plan
 Administrator shall not immediately take the foregoing actions described in clauses (i) – (iv)
 with respect to Post-Effective Date Aceto and Post-Effective Date Aceto shall remain in
 existence until such time as the Plan Administrator determines otherwise. Upon the filing of
 certificate(s) described in clause (ii) of the preceding sentence, the relevant Debtors and/or
 Liquidating Debtors (which, for the avoidance of doubt, to the extent the Aceto Common Stock
 Non-Cancellation Election Notice is filed by the Debtors on or prior to the Effective Date, shall
 not include Aceto immediately after the Effective Date) shall be deemed dissolved for all
 purposes without the necessity for any other or further actions to be taken by or on behalf of the
 Liquidating Debtors or payments to be made in connection therewith.

        Section 5.03.       Causes of Action.

         On the Effective Date, all Causes of Action belonging to the Debtors shall remain vested
 in the Liquidating Debtors. For the avoidance of doubt, all derivative Causes of Action that have
 been, or may be, brought on behalf of the Debtors, including any pending or future derivative
 Causes of Action against the Specified Individuals (to the extent not released under this Plan),
 will be vested in the Liquidating Debtors on the Effective Date. The Plan Administrator shall
 have the authority to determine, for each pending derivative action on behalf of the Debtors,
 whether to dismiss such action or to be deemed the plaintiff in such matter with respect to the
 pending derivative action on behalf of the Debtors. Any recovery from Causes of Action that
 vest in the Liquidating Debtors on the Effective Date shall become available for pro rata
 distribution and to increase the Aceto Net Distributable Assets and/or the Rising Net
 Distributable Assets as set forth in the Distribution Calculation. Notwithstanding anything to the
 contrary herein, the Plan Administrator shall control the Causes of Action, including the
 investigation, prosecution and disposition of same, in accordance with the terms of the Plan
 Administrator Agreement.

         Section 5.04.       Plan Settlement and General Settlement of Claims and Interests.
 Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, the Plan
 incorporates the compromise and settlement (the “Plan Settlement”) of numerous debtor-creditor
 issues designed to achieve an economic resolution of Claims against the Debtors and an efficient
 resolution of these Chapter 11 Cases, including, among other things, the settlement of a number
 of potential issues such as allocation of Assets and expenses among the Estates as set forth in the
 Distribution Calculation, the nature, amount and allowability of the Intercompany Claim of
 Rising against Aceto, the funding of the Wind-Down Reserve, the Wind-Down Budget, partial
 substantive consolidation of the Debtors’ Estates, and the allowance of the Notes Claims. The
 Confirmation Order will serve to, among other things, approve the Plan Settlement under section
 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and will contain findings that the
 compromises and settlements under the Plan Settlement are in the best interests of the Debtors,
 their Estates, their creditors, and other parties-in-interest, and are fair, equitable, and well within
 the range of reasonableness and otherwise satisfy the requirements of Bankruptcy Rule 9019.
 Each provision of the Plan Settlement shall be deemed non-severable from each other and from
 the remaining terms of the Plan. Commencing on the Effective Date, the Plan Administrator
 shall implement the allocation of the Debtors’ Assets to the respective Debtors’ Estates in
 accordance with the Distribution Calculation.



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         Accordingly, on the Effective Date, and in consideration for the classification,
 distributions, releases, and other benefits provided under the Plan and the Plan Settlement, the
 provisions of the Plan shall constitute a good-faith compromise and settlement of all Claims,
 Interests or Causes of Action that (a) are subject to compromise and settlement pursuant to the
 terms of the Plan; (b) have been released pursuant to Section 9.04 of the Plan; (c) have been
 released pursuant to Section 9.05 of the Plan; (d) are subject to the exculpation pursuant to
 Section 9.06 of the Plan; or (e) are otherwise stayed or terminated pursuant to the terms of the
 Plan.

        The Plan Settlement also provides for the Settlement Distribution Subsidy contributed
 from the Aceto Chemical Plus Debtors’ Estates to the Rising Pharma Debtors’ Estates in full and
 complete resolution of issues related to substantive consolidation and the Intercompany Claim of
 Rising against Aceto, and will enhance the pro rata distributions to holders of Allowed General
 Unsecured Claims against the Rising Pharma Debtors (subject to any Excess Amounts being
 returned to the Aceto Chemical Plus Debtors’ Estates based upon the amount of Allowed Claims
 in Classes 3B and 4B as set forth in the definition of Settlement Distribution Subsidy).

         Section 5.05.     Plan Funding. Distributions under this Plan and the Plan
 Administrator’s post-Effective Date operations will be funded from the Debtors’ Cash on hand
 and proceeds of the Sales held by the Estates as of the Effective Date, and proceeds of other asset
 dispositions and net proceeds of Litigation and Other Recoveries.

         Section 5.06.      Certificate of Incorporation and By-laws. The certificate and
 articles of incorporation, certificate of conformation, by-laws, limited liability company
 agreement and other relevant organizational documents of each of the Liquidating Debtors shall
 be amended consistent with the Plan Administrator Agreement and as necessary to satisfy the
 provisions of the Plan and the Bankruptcy Code and shall include, among other things, a
 provision (a) prohibiting the issuance of non-voting equity securities under section 1123(a)(6) of
 the Bankruptcy Code and (b) limiting the activities of the Liquidating Debtors to matters
 authorized under the Plan, the Chemical Plus Purchase Agreement and the Pharma Purchase
 Agreement.

         Section 5.07.     Cancellation of Certain Instruments and Agreements. Except as
 otherwise provided in the Plan, on and after the Effective Date, all notes, instruments,
 certificates, agreements, options, warrants, rights, and other instruments evidencing an
 ownership interest in the Debtors, contractual, legal, equitable, or otherwise, to acquire any of
 the foregoing, indentures, mortgages, security documents, and other documents evidencing
 Claims or Interests, including Notes Claims, and Interests in Aceto, shall be automatically
 canceled and surrendered (provided that, for the avoidance of doubt, to the extent the Aceto
 Common Stock Non-Cancellation Election Notice is filed by the Debtors on or prior to the
 Effective Date, each Holder of Interests in Aceto, including the Aceto Common Stock, as of the
 Distribution Record Date, shall be entitled to retain such Interests in Aceto without further
 recovery or distribution on account of such interests subject to Section 3.02(j) and such Interests
 in Aceto, including the Aceto Common Stock, shall not be deemed automatically cancelled,
 released, and surrendered) without any need for further action, notice, deed or approval of the
 Bankruptcy Court or any Holder or other person and the obligations of the Debtors or the
 Liquidating Debtors, as applicable, thereunder or in any way related thereto shall be deemed


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 satisfied in full, and the Notes Indenture Trustee shall be released from all duties thereunder;
 provided that notwithstanding Confirmation or consummation of the Plan, any such indenture or
 agreement that governs the rights of the Holder of a Claim shall continue in effect solely for
 purposes of: (1) allowing Holders to receive distributions under the Plan; (2) allowing the Notes
 Indenture Trustee to enforce its rights, claims, and interests vis-à-vis any parties other than the
 Debtors or the Liquidating Debtors; (3) allowing the Indenture Trustee to make the distributions
 in accordance with the Plan (if any), as applicable; (4) preserving any rights of the Indenture
 Trustee and to payment of fees, expenses, and indemnification obligations as against any money
 or property distributable to the Holders under the relevant indenture including any rights to
 priority of payment and/or to exercise charging liens; (5) allowing the Indenture Trustee to
 enforce any obligations owed to it under the Plan; (6) allowing the Indenture Trustee to exercise
 rights and obligations relating to the interests of the Holders under the Indenture; (7) allowing
 the Indenture Trustee to appear in the Chapter 11 Cases or in any proceeding in the Bankruptcy
 Court, including, but not limited, to enforce obligations owed to such party under the Plan; and
 (8) permitting the Indenture Trustee to perform any functions that are necessary to effectuate the
 foregoing; provided, further, that except as provided herein, the preceding proviso shall not
 affect the settlement and release of Claims or Interests pursuant to the Bankruptcy Code, the
 Confirmation Order, or the Plan, as applicable, or result in any expense or liability to the Debtors
 or the Liquidating Debtors, as applicable.

         Additionally, as of the Effective Date, and solely to the extent the Aceto Common Stock
 Non-Cancellation Election Notice is not filed by the Debtors on or prior to the Effective Date,
 the Debtors’ securities registered under the Securities Exchange Act of 1934, as amended, and
 the rules and regulations promulgated thereunder, shall be automatically deregistered and all
 related reporting obligations with the Securities and Exchange Commission shall be
 automatically terminated.

        Section 5.08.      Compliance with the Asset Purchase Agreements. Notwithstanding
 anything in the Plan to the contrary, nothing herein shall modify any obligations of the Debtors
 under the Chemical Plus Purchase Agreement, the Pharma Purchase Agreement or the Sale
 Orders, the Chemical Plus Buyer under the Chemical Plus Purchase Agreement or the Chemical
 Plus Sale Order or the Pharma Buyer under the Pharma Purchase Agreement or the Pharma Sale
 Order.

        Section 5.09.      The Plan Administrator.

        (a)     Appointment of the Plan Administrator

        From and after the Effective Date, an individual to be designated by the Debtors (in
 consultation with the Creditors’ Committee) shall serve as the Plan Administrator pursuant to the
 Plan Administrator Agreement and the Plan, until the resignation or discharge and the
 appointment of a successor Plan Administrator in accordance with the Plan Administrator
 Agreement and the Plan.

       The Debtors shall include the information set forth in sections 1129(a)(4) and (5) of the
 Bankruptcy Code in the Plan Supplement designating the individual selected as Plan
 Administrator. The appointment of the Plan Administrator shall be approved in the Confirmation


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 Order, and such appointment shall be effective as of the Effective Date. The Plan Administrator
 shall have and perform all of the duties, responsibilities, rights and obligations set forth in the
 Plan and the Plan Administrator Agreement.

        (b)     The Plan Administrator Agreement

        Prior to or on the Effective Date, the Debtors shall execute a Plan Administrator
 Agreement in substantially the same form as set forth in the Plan Supplement. Any nonmaterial
 modifications to the Plan Administrator Agreement made by the Debtors prior to the Effective
 Date are hereby ratified. The Plan Administrator Agreement will contain provisions permitting
 the amendment or modification of the Plan Administrator Agreement as necessary to implement
 the provisions of the Plan and to facilitate the orderly and effective liquidation of the Debtors’
 remaining assets and to maximize the recovery thereof; provided that any such modifications
 shall be done in consultation with and shall not alter or impair the rights of the Oversight
 Committee (to the extent not disbanded pursuant to Section 5.14) without its consent, which
 consent shall not be unreasonably withheld.

        (c)     Rights, Powers, and Duties of the Liquidating Debtors and the Plan Administrator

         The Liquidating Debtors shall retain and have all the rights, powers and duties necessary
 to carry out their responsibilities under the Plan, which for the avoidance of doubt, shall include
 pursuing (or not pursuing) the Causes of Action and the investigation, prosecution and/or
 settlement or other disposition of such Causes of Action. The Plan Administrator shall seek to
 preserve and protect all applicable privileges of the Liquidating Debtors, as applicable, including
 any attorney-client privilege or work-product privilege attaching to any documents or
 communications (whether written or oral) as set forth in more detail in Section 5.16 of the Plan.
 Such rights, powers and duties, which shall be exercisable by the Plan Administrator on behalf of
 the Liquidating Debtors and the Estates pursuant to the Plan and the Plan Administrator
 Agreement (subject to the rights of the Oversight Committee (to the extent not disbanded
 pursuant to Section 5.14) as set forth in Section 5.14 hereof and in the Plan Administrator
 Agreement), shall include, among others:

                (i)     making distributions to Holders of Allowed Claims and Interests as
 provided for in the Plan;

                (ii)    administering, reconciling, objecting to, and settling or otherwise litigating
 to resolution all Claims, including Administrative Claims, Professional Claims, Priority Tax
 Claims, and Other Priority Claims (subject to the Administrative Claims Protocol set forth in
 Section 5.11(b) of the Plan), General Unsecured Claims and Subordinated Claims;

                 (iii) filing tax returns and paying taxes, and challenging disputing, negotiating
 and resolving the assessment of any of the foregoing by any foreign, domestic, federal, state,
 local or other taxing authority;

                (iv)    administering the Liquidating Debtors’ 401(k) benefit plans;




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               (v)    defending the Debtors and Liquidating Debtors in any litigation, including
 any governmental litigation(s) and/or investigations against or involving the Debtors or
 Liquidating Debtors;

                 (vi)   prosecution and settlement of Causes of Action, including but not limited
 to certain specified Causes of Action to be identified in the Plan Supplement;

               (vii) the wind-down and/or dissolution of Aceto Agri’s interest in Canegrass
 LLC (to the extent not resolved prior to the Effective Date);

                (viii) the sale or other disposition of the Arsynco Carlstadt Property;

               (ix)    maintaining sufficient insurance coverage pending conclusion of the wind-
 down of the Liquidating Debtors;

                 (x)     insuring the completion of the transfer of all assets (including licenses,
 permits and government contracts) required to be transferred pursuant to the Pharma Purchase
 Agreement and/or Chemical Plus Purchase Agreement and entering into any additional necessary
 transactions related to such transfer(s);

                (xi)   dissolving the Liquidating Debtors; and

                (xii) taking such other actions, or omitting to take such other actions, as the
 Plan Administrator shall reasonably determine are necessary, advisable or convenient in
 furtherance of the Plan and the discharge of its duties under the Plan and pursuant to the Plan
 Administrator Agreement

        (d)     Compensation of the Plan Administrator

         The Plan Administrator shall be compensated from the Wind-Down Reserve pursuant to
 the terms of the Plan Administrator Agreement, as provided in the Wind-Down Budget (as may
 be modified with the consent of the Oversight Committee (to the extent not disbanded pursuant
 to Section 5.14) which consent shall not be unreasonably withheld or by further order of the
 Bankruptcy Court). Any professionals retained by the Plan Administrator shall similarly be
 entitled to reasonable compensation for services rendered and reimbursement of expenses
 incurred from the Wind-Down Reserve, as provided in the Wind-Down Budget (as may be
 modified (i) with the consent of the Oversight Committee (to the extent not disbanded pursuant
 to Section 5.14) which consent shall not be unreasonably withheld, or (ii) by further order of the
 Bankruptcy Court). The payment of the fees and expenses of the Plan Administrator and its
 retained professionals shall be made in the ordinary course of business and shall not be subject to
 the approval of the Bankruptcy Court; provided, however, that any disputes related to such fees
 and expenses raised by the Oversight Committee (to the extent not disbanded pursuant to Section
 5.14) shall be brought before the Bankruptcy Court.

        (e)     Indemnification

         The Liquidating Debtors shall indemnify and hold harmless (i) the Plan Administrator (in
 its capacity as such and as sole officer, director or member/manager of the Liquidating Debtors),


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 (ii) additional individuals that may serve as officers or members/managers of the Liquidating
 Debtors, if any, and (iii) the Plan Administrator Professionals (collectively, the “Indemnified
 Parties”), from and against and with respect to any and all liabilities, losses, damages, claims,
 costs and expenses, including but not limited to costs and expenses of investigating, analyzing
 and responding to claims, and attorneys’ fees arising out of or due to their actions or omissions,
 or consequences of such actions or omissions, other than acts or omissions resulting from such
 Indemnified Party’s willful misconduct or gross negligence, with respect to the Liquidating
 Debtors or the implementation or administration of the Plan or the Plan Administrator
 Agreement. To the extent an Indemnified Party asserts a claim for indemnification as provided
 above, the legal fees and related costs incurred by counsel to the Plan Administrator in
 monitoring and participating in the defense of such claims giving rise to the asserted right of
 indemnification shall be advanced to such Indemnified Party (and such Indemnified Party
 undertakes to repay such amounts if it ultimately shall be determined through a Final Order that
 such Indemnified Party is not entitled to be indemnified therefore) out of the Wind-Down
 Reserve or any available Insurance Contracts, including insurance purchased using the Wind-
 Down Reserve. The indemnification provisions of the Plan Administrator Agreement shall
 remain available to and be binding upon any former Plan Administrator or the estate of any
 decedent of the Plan Administrator and shall survive the termination of the Plan Administrator
 Agreement.

        (f)     Exculpation

        The organizational documents of the Liquidating Debtors shall provide for the
 exculpation of the Plan Administrator to the fullest extent permitted by applicable law.

        (g)     Insurance

         The Plan Administrator shall be authorized to obtain and pay for out of the Wind-Down
 Reserve all reasonably necessary insurance coverage for itself, its agents, representatives,
 employees or independent contractors, and the Liquidating Debtors, including, but not limited to,
 coverage with respect to (i) any property that is or may in the future become the property of the
 Liquidating Debtors or their Estates and (ii) the liabilities, duties and obligations of the Plan
 Administrator and its agents, representatives, employees or independent contractors under the
 Plan Administrator Agreement (in the form of an errors and omissions policy or otherwise), the
 latter of which insurance coverage may remain in effect for a reasonable period of time as
 determined by the Plan Administrator (in consultation with the Oversight Committee) after the
 termination of the Plan Administrator Agreement.

        (h)     Revesting of Assets

         Except as expressly provided elsewhere in this Plan (including pursuant to the
 Distribution Calculation), on the Effective Date, the property of each Debtor’s Estate shall revest
 in the applicable Liquidating Debtor and be distributed according to this Plan.




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        Section 5.10.       Distributions to Holders of General Unsecured Claims.

        (a)     Initial Distributions

        On the Initial Distribution Date, the Plan Administrator shall make, or shall make
 adequate reserves in the GUC Claims Reserve for, the distributions required to be made under
 the Plan to Holders of Allowed General Unsecured Claims. The Distribution Agent shall not
 make any distributions to the Holders of Allowed General Unsecured Claims unless the
 Distribution Agent retains and reserves in the GUC Claims Reserve such amounts as are required
 under Section 8.05(c) of the Plan.

        (b)     Interim Distributions

         The Distribution Agent shall make interim distributions of Cash in accordance with this
 Plan (i) to Holders of Allowed General Unsecured Claims at least once each four-month period
 (to the extent practicable), unless the aggregate amount of such distributions, except for the last
 anticipated distributions, is $50.00 or less, and (ii) from the GUC Claims Reserve (x) to Disputed
 General Unsecured Claims that become Allowed General Unsecured Claims or (y) to the DPO
 Claim, to the extent that the Other Creditors’ Threshold is satisfied and distributions of greater
 than 65% have previously been made to any Holders of Allowed General Unsecured Claims
 (other than the DPO Claim) in Classes 3A, 3B, 3C, or 3D prior to the satisfaction of the Other
 Creditors’ Threshold.

        (c)     Final Distributions

         The Liquidating Debtors shall be dissolved and their affairs wound up and the Plan
 Administrator shall make the final distributions on the date when, in the reasonable judgment of
 the Plan Administrator (and, if still in existence, in consultation with the Oversight Committee),
 substantially all of the assets of the Liquidating Debtors have been liquidated and there are no
 substantial potential sources of additional Cash for distribution and all pending Claims and/or
 governmental investigations (including any investigations by the United States Securities and
 Exchange Commission, United States Department of Justice, and/or the United States Attorney’s
 Office, collectively, the “Governmental Investigations”) are resolved and concluded. The date on
 which the Plan Administrator determines (in consultation with the Oversight Committee if still in
 existence) that all obligations under the Plan and the Plan Administrator Agreement have been
 satisfied is referred to as the “Plan Termination Date”. On the Plan Termination Date, the Plan
 Administrator shall, to the extent not already done, request that the Bankruptcy Court enter an
 order closing any remaining Chapter 11 Cases.

        Section 5.11.       Accounts and Reserves.

        (a)     Professional Claims Reserve

         On or before the Effective Date, the Debtors shall create and fund the Professional
 Claims Reserve in Cash in the amount of the Professional Claim Estimate. Subject to Section
 5.11(e), the Cash so transferred shall not be used for any purpose other than to pay Allowed
 Professional Claims. Notwithstanding anything to the contrary, Lowenstein Sandler LLP (i) shall
 segregate and shall not commingle the Cash held in the Professional Claims Reserve and (ii)


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 shall pay each Professional Claim of a Professional employed by the Debtors on or as soon as
 reasonably practicable after the date such Claim becomes an Allowed Claim, upon entry of a
 Final Order allowing such Claim. After all Professional Claims are Allowed or Disallowed and
 the Allowed amounts of such Claims are paid from the Professional Claims Reserve, any
 remaining Cash in the Professional Claims Reserve shall be released and transferred to the
 Administrative and Priority Claims Reserve. Only Professionals employed in the Chapter 11
 Cases by the Debtors and the Creditors’ Committee, and whose retention and compensation has
 been approved by the Bankruptcy Court, shall be entitled to payment from the Professional
 Claims Reserve.

         The Professionals employed by the Debtors shall be entitled to reasonable compensation
 and reimbursement of actual, necessary expenses for post-Effective Date activities authorized by
 an order of the Bankruptcy Court, this Plan, or the Plan Administrator, including the preparation,
 filing and prosecution (subject to applicable law) of such Professional’s final fee applications (if
 applicable), upon the submission of invoices to the Plan Administrator for payment from the
 Professional Claims Reserve. The Professionals employed by the Creditors’ Committee shall be
 entitled to reasonable compensation and reimbursement of actual, necessary expenses for post-
 Effective Date activities related to the preparation, filing and prosecution (subject to applicable
 law) of such Professional’s final fee applications. Any time or expenses incurred in the
 preparation, filing and prosecution of final fee applications shall be disclosed by each
 Professional in its final fee application and shall be subject to approval of the Bankruptcy Court.

        (b)     Administrative and Priority Claims Reserve

         On or before the Effective Date, the Debtors shall create and fund the Administrative and
 Priority Claims Reserve in Cash in the amount of the Administrative and Priority Claims
 Estimate. On or before ten Business Days prior to the Effective Date, the Debtors will provide
 the Creditors’ Committee with a schedule of estimated Administrative Claims, Priority Tax
 Claims and Other Priority Claims to be funded from the Administrative and Priority Claims
 Reserve (the “Administrative and Priority Claims Schedule”). On or before five Business Days
 prior to the Effective Date, the Creditors’ Committee will provide the Debtors with a schedule
 which lists the individual Administrative Claims, Priority Tax Claims and Other Priority Claims
 set forth in the Administrative and Priority Claims Schedule over which the Oversight
 Committee shall reserve consent rights (collectively, the “Reserved Claims”). With respect to
 any Reserved Claim and any other Administrative Claim, Priority Tax Claim and Other Priority
 Claim that was not included in the Administrative and Priority Claims Schedule, such claim shall
 only be Allowed (i) upon agreement of the Plan Administrator and the Oversight Committee or
 (ii) as determined by Final Order of the Bankruptcy Court (the “Administrative Claims
 Protocol”). Until each Allowed Administrative and Priority Claim is paid in full, the Cash in the
 Administrative and Priority Claims Reserve shall not be used for any purpose other than to pay
 Allowed Administrative Claims (except Professional Claims, which shall be paid from the
 Professional Claims Reserve), Priority Tax Claims and Other Priority Claims, and, subject to
 Section 5.11(e), no payments on account of the foregoing Claims shall be made from any source
 other than the Administrative and Priority Claims Reserve.

       The Plan Administrator (i) shall segregate and shall not commingle the Cash held in the
 Administrative and Priority Claims Reserve and (ii) shall pay each Administrative Claim (except


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 Professional Claims, which shall be paid from the Professional Claims Reserve), Priority Tax
 Claim and Other Priority Claim, on or as soon as reasonably practicable after the date such
 Claim becomes an Allowed Claim. After all Administrative Claims (including Professional
 Claims), Priority Tax Claims and Other Priority Claims are Allowed or Disallowed and the
 Allowed amounts of such Claims are paid by the Plan Administrator, any remaining Cash in the
 Administrative and Priority Claims Reserve shall be released and transferred from the
 Administrative and Priority Claims Reserve to the Wind-Down Reserve so as to provide
 adequate funding of the Wind-Down Budget, as may be modified as set forth herein, and then to
 the GUC Claims Reserve.

        (c)     GUC Claims Reserve

         On or before the Initial Distribution Date, the Plan Administrator shall create one or more
 GUC Claims Reserve(s). On each Distribution Date, the Distribution Agent, as applicable, shall
 fund the GUC Claims Reserve(s) in Cash in the amount of the GUC Claims Reserve Amount.
 Subject to Section 5.11(e), no payments made on account of Disputed General Unsecured Claims
 that become Allowed General Unsecured Claims after the Effective Date shall be made from any
 source other than the GUC Claims Reserve. After all Disputed Claims are Allowed or
 Disallowed and the Allowed amounts of such Claims are paid their respective Pro Rata
 distribution by the Distribution Agent, any remaining Cash in the GUC Claims Reserve shall be
 released and transferred to the Wind-Down Reserve so as to provide adequate funding of the
 Wind-Down Budget, as may be modified as set forth herein, and then to the GUC Claims
 Reserve.

        (d)     Wind-Down Reserve

        On or before the Effective Date, the Debtors shall create and fund the Wind-Down
 Reserve in Cash in the amount set forth in the Wind-Down Budget. Subject to Section 5.11(e),
 no payments to the Plan Administrator and Plan Administrator Professionals shall be made from
 any source other than the Wind-Down Reserve. The Plan Administrator shall segregate and shall
 not commingle the Cash held in the Wind-Down Reserve. Upon the dissolution of the
 Liquidating Debtors and the conclusion of all wind-down activities of the Plan Administrator,
 any remaining Cash in the Wind-Down Reserve shall be distributed in accordance with Section
 3.02 of the Plan as Aceto Net Distributable Assets and/or Rising Net Distributable Assets in
 accordance with the Distribution Calculation. The Wind-Down Budget and Wind-Down
 Reserve may be modified by the Plan Administrator, subject to the consent of the Oversight
 Committee (not to be unreasonably withheld) to the extent not disbanded pursuant to Section
 5.14.

        (e)     Other Reserves and Modification to Reserves

        Subject to and in accordance with the provisions of the Plan Administrator Agreement
 and the Wind-Down Budget, the Plan Administrator may establish and administer any other
 necessary reserves that may be required under the Plan or the Plan Administrator Agreement.

       Additionally, and notwithstanding anything to the contrary contained in the Plan, the Plan
 Administrator may make transfers of money between the reserves established under the Plan to



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 satisfy Claims and other obligations in accordance with the Plan, and may increase any reserve
 from the Aceto Net Distributable Assets and/or Rising Net Distributable Assets, as applicable,
 based on Allowed Administrative Claims or Allowed Priority Claims to the extent that the
 amounts originally funded into the reserves are insufficient to satisfy such Claims.

          For the further avoidance of doubt, and notwithstanding anything herein to the contrary,
 (i) all reserves established under the Plan shall not be construed as a cap or limitation on the
 allowance and payment of any Administrative Claims or Priority Claims; and (ii) to the extent
 that the Wind-Down Reserve and Wind-Down Budget is insufficient to satisfy all wind-down
 costs and expenses of the Liquidating Debtors, no distributions shall be made to Holders of
 Interests in Aceto, Allowed Subordinated Claim against the Aceto Chemical Plus Debtors and
 Allowed Subordinated Claims against the Rising Pharma Debtors (i.e. Classes 4A, 4B and 6A)
 unless and until the Wind-Down Reserve is increased by the Plan Administrator (with the prior
 consent of the Oversight Committee (to the extent not disbanded pursuant to Section 5.14),
 which consent shall not be unreasonably withheld) with available funds from the Aceto Net
 Distributable Assets and/or Rising Net Distributable Assets in an amount sufficient to satisfy all
 wind-down costs and expenses of the Liquidating Debtors.

         Section 5.12.     Exemption from Certain Transfer Taxes. Pursuant to section
 1146(a) of the Bankruptcy Code, any transfers of property pursuant to the Plan shall not be
 subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax,
 mortgage tax, stamp act, real estate transfer tax, mortgage recording tax, or other similar tax or
 governmental assessment to the fullest extent contemplated by section 1146(a) of the Bankruptcy
 Code, and upon entry of the Confirmation Order, the appropriate state or local governmental
 officials or agents shall be directed to forgo the collection of any such tax or governmental
 assessment and to accept for filing and recordation any of the foregoing instruments or other
 documents without the payment of any such tax or governmental assessment.

         Section 5.13.    Preservation of Causes of Action. In accordance with section
 1123(b)(3) of the Bankruptcy Code, the Debtors and their Estates shall retain all of the Debtors’
 Causes of Action (including those Causes of Action to be identified in the Plan Supplement)
 other than any Causes of Action that are Purchased Assets under the Chemical Plus Purchase
 Agreement or Pharma Purchase Agreement or otherwise expressly released pursuant to the terms
 of this Plan or an order of the Bankruptcy Court, including the Final DIP Order, and such
 retained Causes of Action of the Debtors shall remain vested in the Liquidating Debtors on the
 Effective Date. The Plan Administrator may enforce all rights to commence and pursue any and
 all Causes of Action, whether arising before or after the Petition Date, including, without
 limitation, any actions or categories of actions specifically enumerated in a list of retained
 Causes of Action contained in the Plan Supplement, and such Causes of Action shall be
 preserved notwithstanding the occurrence of the Effective Date or the dissolution of the Debtors.
 The Plan Administrator, subject to Section 5.14 but otherwise in its sole discretion, shall
 determine whether to bring, settle, release, compromise, or enforce such Causes of Action (or
 decline to do any of the foregoing), and shall not be required to seek further approval of the
 Bankruptcy Court for such action. The Plan Administrator may pursue Causes of Action in
 accordance with the best interests of the beneficiaries of the Debtors’ estates. No Entity may
 rely on the absence of a specific reference in this Plan, the Plan Supplement, or the
 Disclosure Statement to any Cause of Action against it as any indication that the Plan


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 Administrator will pursue or not pursue any and all available Causes of Action. The Plan
 Administrator and Liquidating Debtors expressly reserve all rights to prosecute any and all
 Causes of Action of the Debtors against any Entity, except as otherwise expressly provided
 in the Plan or to the extent released pursuant to other Orders of the Bankruptcy Court.
 Unless any Causes of Action of the Debtors against an Entity are expressly waived, relinquished,
 exculpated, released, compromised, or settled in this Plan or an order of the Bankruptcy Court,
 the Plan Administrator expressly reserves all of the Debtors’ Causes of Action for later
 adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata,
 collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise),
 or laches, shall apply to such Causes of Action upon, after, or as a consequence of Confirmation
 or consummation of the Plan.

        Section 5.14.       Oversight Committee

         (a)      As of the Effective Date, a post-confirmation committee to oversee certain actions
 of the Plan Administrator (the “Oversight Committee”) shall be formed. The Oversight
 Committee shall be comprised of three (3) members to be designated by the Creditors’
 Committee and reasonably acceptable to the Debtors. The members of the Oversight Committee
 shall be identified in the Plan Supplement and (i) may include the Notes Indenture Trustee and
 one Holder of the Notes and (ii) shall include at least one creditor that is a Holder of General
 Unsecured Claim(s) against the Rising Pharma Debtors; provided that to the extent all Class 3A
 Holders of Allowed General Unsecured Claims against the Aceto Chemical Plus Debtors are
 paid in full as set forth in Section 3.02(c), any such Notes Indenture Trustee, Holder of the Notes
 or other Class 3A creditor that is a member of the Oversight Committee (and does not also hold
 an Allowed Class 3B General Unsecured Claim against the Rising Pharma Debtors that has not
 been paid in full as set forth in Section 3.02(d)) shall be deemed to have automatically resigned
 from the Oversight Committee. Upon the death or resignation (or deemed resignation) of a
 member of the Oversight Committee, the remaining members of the Oversight Committee shall
 fill the applicable vacancy on the Oversight Committee, subject to the consent of the Plan
 Administrator, which consent shall not be unreasonably withheld.

        After the Effective Date, and until the Oversight Committee is dissolved and discharged,
 the Plan Administrator shall (i) provide quarterly reports to the Oversight Committee in
 connection with the wind-down of the Liquidation Debtors and (ii) consult with the Oversight
 Committee regarding the following:

               (i)    commencing additional Causes of Action (to the extent not filed or
 otherwise commenced prior to the Effective Date) and any Claims to the extent that the Plan
 Administrator proposes a settlement (including providing for an Allowed Claim) in the amount
 of $1,000,000 and above;

                 (ii)    any decision of the Plan Administrator to retain additional Professionals
 (to the extent not specified in the Plan Administrator Agreement);

                 (iii) material issues regarding the any tax, regulatory or other governmental
 filings in connection with the wind-down of the Liquidating Debtors; and




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              (iv)  the Oversight Committee’s consent to any proposed changes to the Wind-
 Down Budget (which consent shall not be unreasonably withheld).

        (b)      Plan Administrator Control/Dispute Resolution: The Plan Administrator shall
 have complete control over the day-to-day decisions and operations of the Liquidating Debtors
 except as otherwise provided for in the Plan or Plan Administrator Agreement. Any disputes
 regarding consultation rights or consent rights provided to the Oversight Committee under the
 Plan or Plan Administrator Agreement shall be brought before the Bankruptcy Court on the
 condition that the party seeking such Bankruptcy Court determination shall file a certification or
 declaration indicating that the parties met and conferred (or had previously met and conferred)
 regarding such dispute(s) in good faith and were unable to reach resolution.

         (c)   The Oversight Committee shall have the rights to: employ and compensate
 professionals on behalf of the Oversight Committee (subject to the agreed-upon budgeted
 amounts for such professionals as set forth in the Wind-Down Budget), and as further set forth in
 the Plan Administrator Agreement.

         (d)    Members of the Oversight Committee shall receive no compensation from the
 Debtors, the Liquidating Debtors or the Plan Administrator on account of their membership on
 the Oversight Committee except for reimbursement of their reasonable out of pocket expenses
 (which, for the avoidance of doubt, shall not include the fees or expenses of any professionals
 retained individually or independently by any member of the Oversight Committee). The
 Oversight Committee itself will be reimbursed in accordance with the Wind-Down Budget for
 professional fees of the Oversight Committee Upon the earlier to occur of (i) the closing of the
 Chapter 11 Cases or (ii) the payment in full of Allowed General Unsecured Claims in Class 3A
 and 3B as provided in the Plan, the Oversight Committee shall be automatically disbanded and
 its members shall have no further duties, responsibilities and obligations in connection with the
 Chapter 11 Cases or the Plan and its implementation.

          (e)     Indemnification: The Liquidating Debtors shall indemnify and hold harmless (i)
 the Oversight Committee, its members and the Oversight Committee’s Professionals
 (collectively, the “OC Indemnified Parties”), from and against and with respect to any and all
 liabilities, losses, damages, claims, costs and expenses, including but not limited to costs and
 expenses of investigating, analyzing and responding to claims, and attorneys’ fees arising out of
 or due to their actions or omissions, or consequences of such actions or omissions, other than
 acts or omissions resulting from such OC Indemnified Party’s willful misconduct or gross
 negligence, with respect to the Oversight Committee’s implementation or administration of the
 Plan or the Plan Administrator Agreement or its oversight of the Plan Administrator. To the
 extent an OC Indemnified Party asserts a claim for indemnification as provided above, the legal
 fees and related costs incurred by counsel to the OC Indemnified Party in monitoring and
 participating in the defense of such claims giving rise to the asserted right of indemnification
 shall be advanced to such OC Indemnified Party (and such OC Indemnified Party undertakes to
 repay such amounts if it ultimately shall be determined through a Final Order that such OC
 Indemnified Party is not entitled to be indemnified therefore) out of the Wind-Down Reserve or
 any available Insurance Contracts, including insurance purchased using the Wind-Down
 Reserve. These indemnification provisions shall remain available to and be binding upon any



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 former member of the Oversight Committee or the decedent's estate of any former Oversight
 Committee member, and shall survive the termination of the Oversight Committee.

        (f)    Exculpation: The Plan Administrator Agreement shall provide for the exculpation
 of each OC Indemnified Parties to the fullest extent permitted by applicable law.

         Section 5.15.      Insured Claims. Notwithstanding anything to the contrary contained
 herein, to the extent any Insurance Contract(s) provides coverage with respect to any General
 Unsecured Claim or Subordinated Claim, the Holder of such Claim shall, without duplication, (a)
 be paid only to the extent of any available coverage under any applicable Insurance Contract(s),
 and (b) if such Claim is entitled to receive the treatment provided for in this Plan for Allowed
 General Unsecured Claims or Allowed Subordinated Claims, be paid only to the extent the
 applicable Insurance Contract(s) does not provide coverage with respect to any portion of the
 Claim. If the Holder of any such Claim has received payment under this Plan and under any
 Insurance Contract that results in a double recovery, then (i) the Holder shall be required to
 return the amount received under the Plan, to the extent of such double recovery, to the Plan
 Administrator (for the benefit of the relevant Liquidating Debtor(s), and (ii) the Plan
 Administrator and relevant Liquidating Debtor(s) shall be entitled to commence legal action
 against such Holder, if necessary, to recover such double recovery in accordance with this Plan.

        Section 5.16.      Preservation of Privilege and Defenses.

         The Confirmation Order shall provide that, on the Effective Date, all of the Debtors’
 privileges and work product, including but not limited to any attorney-client privilege or work-
 product privilege attaching to any documents or communications (whether written or oral),
 related to Causes of Action, shall be maintained by the Plan Administrator, which will have
 exclusive authority to waive or not waive the Debtors’ privileges in its sole discretion. The
 Confirmation Order shall further provide that nothing in the Plan (including this Section 5.16) or
 the Confirmation Order is intended to, does, or may be construed to expand the privileges or
 other protections against disclosure, if any, belonging to the Debtors as of the Effective Date, it
 being understood that the purpose of this Section 5.16 and any corresponding provisions in the
 Confirmation Order is to ensure that any privileges and other protections against disclosure
 existing as of the Effective Date are preserved and are not waived.

        The Plan Administrator will seek to preserve and protect all applicable privileges and
 work product vested in the Liquidating Debtors. The Plan Administrator’s receipt of such
 information shall not waive any privileges and such privileges are preserved. The Liquidating
 Debtors and the individual directors, officers or members/managers of the Debtors shall remain
 in control of all of their respective privileges (subject to the provisions of the foregoing
 paragraphs), and the Liquidating Debtors, and the individual directors, officers or members/
 managers of the Debtors, each as applicable, retain the right to waive their own privileges
 prospectively.

        Section 5.17.      Books and Records. On the Effective Date, all books and records of
 the Debtors that were not required to be transferred to the Chemical Plus Buyer or Pharma Buyer
 pursuant to the terms of the Chemical Plus Purchase Agreement or the Pharma Purchase
 Agreement shall be transferred to the Liquidating Debtors.


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         The Plan Administrator shall be free, in its discretion (subject to consultation with the
 Oversight Committee, to the extent not disbanded pursuant to Section 5.14) to abandon, destroy
 or otherwise dispose of any books and records in compliance with applicable non-bankruptcy
 law at any time on and after the Effective Date, upon reasonable notice to parties in interest,
 including relevant governmental entities. With respect to any books and records that are not, in
 the view of the Plan Administrator, relevant for the continuing prosecution of any objections to
 Claims, defense of any potential Claims or actions against the Debtors or Liquidating Debtors,
 any Causes of Action, or the wind-down of the Debtors’ Estates, the Plan Administrator shall be
 free, in its discretion (subject to consultation with the Oversight Committee, to the extent not
 disbanded pursuant to Section 5.14) to abandon, destroy or otherwise dispose of such books and
 records in compliance with applicable non-bankruptcy law at any time on and after the Effective
 Date, without the need for any other Order of the Bankruptcy Court and shall have no liability
 for same.

                                          ARTICLE VI

                 UNEXPIRED LEASES AND EXECUTORY CONTRACTS

         Section 6.01.     Executory Contracts and Unexpired Leases to Be Rejected. Upon
 the occurrence of the Effective Date, each Executory Contract and Unexpired Lease shall be
 deemed rejected in accordance with, and subject to, sections 365 and 1123 of the Bankruptcy
 Code as of the Effective Date, unless any such Executory Contract or Unexpired Lease: (i) is
 listed on the Schedule of Assumed Executory Contracts contained in the Plan Supplement; (ii)
 has been previously assumed by the Debtors by Final Order of the Bankruptcy Court or has been
 assumed by the Debtors by order of the Bankruptcy Court as of the Effective Date, which order
 becomes a Final Order after the Effective Date; (iii) is the subject of a motion to assume pending
 as of the Effective Date; (iv) is an Insurance Contract; or (v) is otherwise assumed pursuant to
 the terms herein. The Confirmation Order will constitute an order of the Bankruptcy Court
 approving such rejections pursuant to sections 365 and 1123 of the Bankruptcy Code as of the
 Effective Date. Counterparties to Executory Contracts or Unexpired Leases that are deemed
 rejected as of the Effective Date shall have the right to assert any Claim on account of the
 rejection of such Executory Contracts or Unexpired Leases subject to compliance with the
 requirements herein.

         (a)    Preexisting Obligations to Debtors. Rejection of any Executory Contract or
 Unexpired Lease pursuant to the Plan or otherwise shall not constitute a termination of
 preexisting obligations owed to the Debtors under such contracts or leases. In particular,
 notwithstanding any non-bankruptcy law to the contrary, the Debtors, the Liquidating Debtors,
 and the Plan Administrator expressly reserve and do not waive any right to receive, or any
 continuing obligation of a counterparty to provide, warranties, or continued maintenance
 obligations on goods previously purchased by the contracting Debtors from counterparties to
 rejected or repudiated Executory Contracts.

        (b)    Rejection Damages Claim Procedures. Unless otherwise provided by a
 Bankruptcy Court order, any proofs of Claim asserting Claims arising from the rejection of the
 Executory Contracts and Unexpired Leases pursuant to the Plan or otherwise must be filed with
 the Claims and Solicitation Agent no later than 30 days after the later of the Effective Date, the


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 effective date of rejection, or the date notice of such rejection is transmitted by the Debtors or the
 Plan Administrator, as applicable, to the counterparty to such Executory Contract or Unexpired
 Lease. Any proofs of Claim arising from the rejection of Executory Contracts or Unexpired
 Leases that are not timely filed shall be Disallowed automatically and forever barred, estopped,
 and enjoined from assertion and shall not be enforceable against the Debtors or the Liquidating
 Debtors, without the need for any objection by the Plan Administrator or any further notice to or
 action, order, or approval of the Bankruptcy Court, and any Claim arising out of the rejection of
 the Executory Contract or Unexpired Lease shall be deemed fully satisfied and released,
 notwithstanding anything in the Schedules or a proof of Claim to the contrary. All Allowed
 Claims arising from the rejection of Executory Contracts and Unexpired Leases shall be
 classified as General Unsecured Claims.

        (c)     Reservation of Rights. Notwithstanding anything to the contrary herein, prior to
 the Effective Date, the Debtors may amend their decision with respect to the rejection of any
 Executory Contract or Unexpired Lease.

         Section 6.02.      Executory Contracts to Be Assumed. Upon the occurrence of the
 Effective Date, each Executory Contract that is listed on the Schedule of Assumed Executory
 Contracts contained in the Plan Supplement, shall be deemed assumed, in accordance with, and
 subject to, sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.

        The Confirmation Order will constitute an order of the Bankruptcy Court approving such
 assumptions pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.
 To the extent any provision in any Executory Contract assumed pursuant to the Plan (including
 any “change of control” provision) restricts or prevents, or purports to restrict or prevent, or is
 breached or deemed breached by, the Liquidating Debtors’ assumption of such Executory
 Contract, then such provision shall be deemed modified such that the transactions contemplated
 by the Plan will not entitle the non-Debtor party thereto to terminate such Executory Contract or
 to exercise any other default-related rights with respect thereto. Each Executory Contract
 assumed pursuant to this Article VI of the Plan will revest in the Liquidating Debtors and be
 fully enforceable by the Plan Administrator on behalf of the Liquidating Debtors, except as
 modified by the provisions of the Plan, any order of the Bankruptcy Court authorizing and
 providing for its assumption, or applicable law.

         (a)      Modifications, Etc. Unless otherwise provided in the Plan, each Executory
 Contract that is assumed shall include all modifications, amendments, supplements, restatements,
 or other agreements that in any manner affect such Executory Contract, and all rights related
 thereto, if any, including all easements, licenses, permits, rights, privileges, immunities, options,
 rights of first refusal, and any other interests, unless any of the foregoing agreements have been
 previously rejected or repudiated or are rejected or repudiated pursuant to this Plan.

        Modifications, amendments, supplements, and restatements to prepetition Executory
 Contracts that have been executed by the Debtors during the Chapter 11 Cases shall not be
 deemed to alter the prepetition nature of the Executory Contract, or the validity, priority, or
 amount of any Claims that may arise in connection therewith.




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         (b)     Proofs of Claim Based on Assumed Contracts or Leases. Any and all proofs of
 Claim based on Executory Contracts or Unexpired Leases that have been assumed or assumed
 and assigned in the Chapter 11 Cases, including hereunder, except proofs of Claim asserting
 Cure Amounts, pursuant to the order approving such assumption or assumption and assignment,
 including the Sale Orders and the Confirmation Order, shall be deemed Disallowed and
 expunged from the Claims register as of the Effective Date without any further notice to or
 action, order, or approval of the Bankruptcy Court.

         (c)     Cure Proceedings and Payments. With respect to each of the Executory Contracts
 assumed hereunder, the Debtors or the Plan Administrator shall designate a proposed Cure
 Amount, and the assumption of such Executory Contract shall be conditioned upon the
 disposition of all issues with respect to the Cure Amount. Except as otherwise set forth on the
 Schedule of Assumed Executory Contracts, the Cure Amount with respect to each of the
 Executory Contracts assumed hereunder is designated by the Debtors as zero dollars, subject to
 the determination of a different Cure Amount pursuant to the procedures set forth herein
 (including Section 6.02(e) below) and in the Cure Notices. Except with respect to Executory
 Contracts for which the Cure Amount is zero dollars, or for which the Cure Amount is in dispute,
 the Cure Amount shall be satisfied by the Liquidating Debtors, if any, by payment of the Cure
 Amount in Cash within 30 days following the occurrence of the Effective Date or as soon as
 reasonably practicable thereafter, or on such other terms as may be ordered by the Bankruptcy
 Court or agreed upon by the parties to the applicable Executory Contract without any further
 notice to or action, order, or approval of the Bankruptcy Court.

         Any provisions or terms of the Executory Contracts to be assumed pursuant to the Plan
 that are, or may be, alleged to be in default, shall be satisfied solely by payment of the Cure
 Amount, or by an agreed-upon waiver of the Cure Amount. If there is a dispute regarding such
 Cure Amount, the ability of the Liquidating Debtors to provide “adequate assurance of future
 performance” within the meaning of section 365 of the Bankruptcy Code, or any other matter
 pertaining to assumption, then payment of the Cure Amount shall occur as soon as reasonably
 practicable after entry of a Final Order resolving such dispute, approving such assumption, or as
 may be agreed upon by the Debtors or the Plan Administrator, as applicable, and the
 counterparty to the Executory Contract; provided, however, that the Debtors or the Plan
 Administrator, as applicable, shall have the right either to reject or nullify the assumption of any
 Executory Contract after entry of a Final Order determining the Cure Amount or any request for
 adequate assurance of future performance required to assume such Executory Contract.

         Assumption of any Executory Contract pursuant to the Plan or otherwise shall result in
 the full release and satisfaction of any Cure Amount, Claims, or defaults, whether monetary or
 nonmonetary, including defaults of provisions restricting the change in control or ownership
 interest composition or other bankruptcy-related defaults, arising under any assumed Executory
 Contract at any time prior to the effective date of assumption, as applicable.

          (d)    Cure Notice. No later than seven days before the Confirmation Hearing, the
 Debtors shall serve upon counterparties to such Executory Contracts a Cure Notice that will (i)
 notify the counterparty of the proposed assumption of the applicable Executory Contract, (ii) list
 the applicable Cure Amount, if any, set forth on the Schedule of Assumed Executory Contracts,
 (iii) describe the procedures for filing objections to the proposed assumption of the applicable


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 Executory Contract, (iv) describe the procedures for filing objections to the proposed Cure
 Amount of the applicable Executory Contract, and (v) explain the process by which related
 disputes will be resolved by the Bankruptcy Court. If no objection is timely received, (A) the
 non-Debtor party to the assumed Executory Contract shall be deemed to have consented to the
 assumption of the applicable Executory Contract and shall be forever barred from asserting any
 objection with regard to such assumption, and (B) the proposed Cure Amount shall be
 controlling, notwithstanding anything to the contrary in any applicable Executory Contract or
 other document as of the date of the filing of the Plan, and the non-Debtor party to an applicable
 Executory Contract shall be deemed to have consented to the Cure Amount and shall be forever
 barred from asserting, collecting, or seeking to collect any additional amounts relating thereto
 against the Debtors or the Liquidating Debtors, or the property of any of them.

         (e)    Cure Objections. If a proper and timely objection to the Cure Notice or proposed
 Cure Amount was filed by the Cure Objection Deadline, the Cure Amount shall be equal to (i)
 the amount agreed to between the Debtors or Plan Administrator, as applicable, and the
 applicable counterparty or (ii) to the extent the Debtors or Plan Administrator and counterparty
 do not reach an agreement regarding any Cure Amount or any other matter related to assumption,
 the Bankruptcy Court shall determine the Allowed amount of such Cure Amount and any related
 issues. Objections, if any, to the proposed assumption and/or Cure Amount must be in writing,
 filed with the Bankruptcy Court, and served in hard-copy form on the parties identified in the
 Cure Notice so that they are actually received by the Cure Objection Deadline.

         (f)     Hearing with Respect to Objections. If an objection to the proposed assumption of
 an Executory Contract and/or to the proposed Cure Amount thereof is timely filed and received
 in accordance with the procedures set forth in Section 6.02(e) of the Plan, and the parties do not
 reach a consensual resolution of such objection, a hearing with respect to such objection shall be
 held at such time scheduled by the Bankruptcy Court or the Debtors or the Plan Administrator, as
 applicable. Objections to the proposed Cure Amount or assumption of an Executory Contract
 will not be treated as objections to Confirmation of the Plan.

         (g)    Reservation of Rights. Notwithstanding anything to the contrary herein, prior to
 the Effective Date, the Debtors may amend their decision with respect to the assumption of any
 Executory Contract and provide a new notice amending the information provided in the
 applicable notice. In the case of an Executory Contract designated for assumption that is the
 subject of a Cure Amount objection that has not been resolved prior to the Effective Date, the
 Debtors or the Plan Administrator, as applicable, may designate such Executory Contract for
 rejection at any time prior to the payment of the Cure Amount, as set forth in Section 6.02(c) of
 the Plan.

          Section 6.03.     General Reservation of Rights. Neither the exclusion nor inclusion
 of any contract or lease on the Schedule of Assumed Executory Contracts, nor anything
 contained in the Plan, shall constitute an admission by the Debtors that any such contract or lease
 is in fact an Executory Contract or Unexpired Lease or that the Debtors, the Liquidating Debtors,
 the Plan Administrator, or any of their Affiliates, has any liability thereunder. If there is a dispute
 regarding whether a contract or lease is or was executory or unexpired at the time of assumption
 or rejection, the Debtors or the Plan Administrator, as applicable, shall have 45 days following
 entry of a Final Order resolving such dispute to alter their treatment of such contract or lease.


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         Section 6.04.       Insurance Contracts. Notwithstanding anything to the contrary in the
 Disclosure Statement, the Plan, the Plan Supplement, the Plan Administrator Agreement, the
 Confirmation Order, any bar date order or notice or claim objection order, any other document
 related to any of the foregoing or any other order of the Bankruptcy Court (including, without
 limitation, any other provision that purports to be preemptory or supervening, grants an
 injunction or release, or requires a party to opt in to any releases, or any provision that sets a
 reserve): (a) all Insurance Contracts shall continue in effect after the Effective Date pursuant to
 their respective terms and conditions and shall be treated, to the extent necessary, as if assumed
 by the Plan Administrator on behalf of the Liquidating Debtors, and subject to the occurrence of
 the Effective Date, the entry of the Confirmation Order shall constitute both approval of such
 assumption pursuant to sections 105 and 365 of the Bankruptcy Code and a finding by the
 Bankruptcy Court that such assumption is in the best interests of the Estates; (b) all rights and
 obligations of the Debtors under any Insurance Contracts shall automatically become vested in
 the Liquidating Debtors (with such rights to be enforceable by the Plan Administrator on behalf
 of the Liquidating Debtors), unaltered and without necessity for further approvals or orders and
 nothing shall alter the legal, equitable or contractual rights, obligations and defenses of the
 Debtors and the Insurers under the Insurance Contracts or modify the coverage provided
 thereunder or the terms and conditions thereof except that on and after the Effective Date, the
 Plan Administrator on behalf of the Liquidating Debtors, shall become and remain liable for all
 of the Debtors’ obligations under the Insurance Contracts regardless of whether such obligations
 arise before or after the Effective Date and without the need or requirement for any Insurer to file
 a proof of Claim or Administrative Claim. For the avoidance of doubt, the Debtors or the Plan
 Administrator on behalf of the Liquidating Debtors, as applicable, shall retain the right, if any, to
 challenge any amounts owed under the Insurance Contracts in accordance with their terms; and
 (c) the automatic stay of Bankruptcy Code section 362(a) and the injunctions set forth in Article
 IX of the Plan, if and to the extent applicable, shall be deemed lifted without further order of this
 Court, solely to permit: (I) claimants with valid workers’ compensation claims or direct action
 claims against an Insurer under applicable non- bankruptcy law to proceed with their claims; (II)
 the Insurers to administer, handle, defend, settle, and/or pay, in the ordinary course of business
 and without further order of this Bankruptcy Court, (A) workers’ compensation claims, (B)
 claims where a claimant asserts a direct claim against any Insurer under applicable non-
 bankruptcy law, or an order has been entered by the Bankruptcy Court granting a claimant relief
 from the automatic stay to proceed with its claim, and (C) all costs in relation to each of the
 foregoing; and (III) the Insurers to cancel any Insurance Contracts, and take other actions
 relating thereto, to the extent permissible under applicable non-bankruptcy law, and in
 accordance with the terms of the Insurance Contracts.

         The Debtors or the Plan Administrator on behalf of the Liquidating Debtors, as the case
 may be, shall maintain D&O Policies providing coverage for those insureds currently covered by
 such policies for the remaining term of such policies and shall maintain runoff policies or tail
 coverage under policies in effect as of the Effective Date for a period of six years from the
 closing of the Chemical Plus Sale, to the fullest extent permitted by such provisions (subject to
 the Wind-Down Budget), in each case insuring such parties in respect of any claims, demands,
 suits, Causes of Action, or proceedings against such insureds in at least the scope and amount as
 currently maintained by the Debtors; provided, however, that nothing in the Plan or the
 Confirmation Order alters the terms and conditions of the D&O Policies. Nothing in this Plan



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 shall be deemed to impair any Entity’s claim, if any, to proceeds of the D&O Policies or the
 priority of payment on such claim, if any, under the D&O Policies.

                                          ARTICLE VII

        PROCEDURES FOR RESOLVING DISPUTED CLAIMS AND INTERESTS

         Section 7.01.     Determination of Claims and Interests. After the Effective Date, the
 Plan Administrator shall have and retain any and all rights and defenses the Debtors had with
 respect to any Claim or Interest immediately prior to the Effective Date, including the Causes of
 Action retained pursuant to Section 5.13 of the Plan, except with respect to any Claim or Interest
 deemed Allowed under the Plan or other order of the Bankruptcy Court.

         Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases
 prior to the Effective Date, including the Confirmation Order, no Claim or Interest shall become
 an Allowed Claim or Interest unless and until such Claim or Interest is deemed Allowed
 (including to the extent no objection to such Claim or Interest is filed on or prior to the Claim
 Objection Deadline) or the Bankruptcy Court has entered a Final Order, including the
 Confirmation Order, in the Chapter 11 Cases allowing such Claim or Interest. All settled Claims
 approved prior to the Effective Date pursuant to a Final Order of the Bankruptcy Court, pursuant
 to Bankruptcy Rule 9019 or otherwise, shall be binding on all parties. For the avoidance of
 doubt, any Claim determined and liquidated pursuant to (a) an order of the Bankruptcy Court or
 (b) applicable non-bankruptcy law (which determination has not been stayed, reversed, or
 amended and as to which determination or any revision, modification, or amendment thereof as
 to which the time to appeal or seek review or rehearing has expired and no appeal or petition for
 review or rehearing was filed or, if filed, remains pending) shall be deemed an Allowed Claim in
 such liquidated amount and satisfied in accordance with this Plan.

         Nothing contained in this Section 7.01 shall constitute or be deemed a waiver of any
 claim, right, or Cause of Action that the Debtors or the Liquidating Debtors may have against
 any Entity in connection with or arising out of any Claim, including any rights under section
 157(b) of title 28 of the United States Code.

         Section 7.02.       Claims Administration Responsibility. Notwithstanding anything to
 the contrary herein, after the Effective Date, the Plan Administrator shall, subject to Section 5.14
 and the Plan Administrator Agreement, retain responsibility for administering, disputing,
 objecting to, compromising, or otherwise resolving all Claims, including, in each case, (i) filing,
 withdrawing, or litigating to judgment objections to Claims or Interests, (ii) settling or
 compromising any Disputed Claim or Disputed Interest without any further notice to or action,
 order, or approval by the Bankruptcy Court, and (iii) administering and adjusting the Claims
 register to reflect any such settlements or compromises, all without any further notice to or
 action, order, or approval by the Bankruptcy Court.

        Section 7.03.      Objections to Claims. Unless otherwise extended by the Bankruptcy
 Court, any objections to Claims (other than Administrative Claims) shall be served and filed on
 or before the Claims Objection Deadline (or such later date as may be established by the
 Bankruptcy Court upon request of the Plan Administrator without further notice to parties-in-


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 interest). Notwithstanding any authority to the contrary, an objection to a Claim shall be deemed
 properly served on the Holder of the Claim if the Debtors or the Plan Administrator effect
 service in any of the following manners: (a) in accordance with Federal Rule of Civil Procedure
 4, as modified and made applicable by Bankruptcy Rule 7004; (b) to the extent counsel for a
 Holder of a Claim or Interest is unknown, by first class mail, postage prepaid, on the signatory
 on the proof of Claim or other representative identified on the proof of Claim or any attachment
 thereto (or at the last known addresses of such Holder if no proof of Claim is filed or if the
 Debtors have been notified in writing of a change of address); or (c) by either first class mail,
 postage prepaid, or email, on any counsel that has appeared on behalf of the Holder of the Claim
 in the Chapter 11 Cases and has not withdrawn such appearance.

         Section 7.04.      Disallowance of Claims. Except as otherwise agreed, any and all
 proofs of Claim filed after the applicable deadline for filing such proofs of Claim shall be
 deemed Disallowed and expunged as of the Effective Date without any further notice to, or
 action, order, or approval of the Bankruptcy Court, and Holders of such Claims shall not receive
 any distributions on account of such Claims, unless any such late proof of Claim is deemed
 timely filed by a Final Order of the Bankruptcy Court.

         Nothing herein shall in any way alter, impair, or abridge the legal effect of the Bar Date
 Order, or the rights of the Debtors, the Plan Administrator, or other parties-in-interest to object to
 Claims on the grounds that they are time barred or otherwise subject to disallowance or
 modification. Nothing in this Plan shall preclude amendments to timely filed proofs of Claim to
 the extent permitted by applicable law.

         All Claims of any Entity from which property is sought by the Debtors under section 542,
 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Plan Administrator allege is a
 transferee of a transfer that is avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549, or
 724(a) of the Bankruptcy Code shall be Disallowed if (a) the Entity, on the one hand, and the
 Debtors or the Plan Administrator, on the other hand, agree or the Bankruptcy Court has
 determined by Final Order that such Entity or transferee is liable to turn over any property or
 monies under any of the aforementioned sections of the Bankruptcy Code and (b) such Entity or
 transferee has failed to turn over such property by the date set forth in such agreement or Final
 Order.

          Section 7.05.      Estimation of Claims. Before the Effective Date, the Debtors and
 after the Effective Date, the Plan Administrator, may (but are not required to) at any time request
 that the Bankruptcy Court estimate a Disputed Claim pursuant to section 502(c) of the
 Bankruptcy Code for any reason, regardless of whether any party previously has objected to such
 Claim or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy
 Court shall retain jurisdiction to estimate any such Disputed Claim, including during the
 litigation of any objection to any Disputed Claim or during the pendency of any appeal relating
 to such objection. In the event that the Bankruptcy Court estimates any contingent or
 unliquidated Claim, that estimated amount shall constitute a maximum limitation on such Claim
 for all purposes under the Plan (including for purposes of funding any applicable reserves),
 without prejudice to the Holder of such Claim’s right to request that estimation should be for the
 purpose of determining the Allowed amount of such Claim, and the Plan Administrator may
 elect to pursue any supplemental proceedings to object to any ultimate distribution on such


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 Claim. All of the objection, estimation, settlement, and resolution procedures set forth in the Plan
 are cumulative and not necessarily exclusive of one another. All estimation procedures set forth
 in the Plan shall be applied in accordance with section 502(c) of the Bankruptcy Code. Disputed
 Claims may be estimated and subsequently compromised, settled, withdrawn, or resolved by any
 mechanism approved by the Plan or the Bankruptcy Court.

         Section 7.06.       No Interest on Disputed Claims. Unless otherwise specifically
 provided for in this Plan or as otherwise required by section 506(b) of the Bankruptcy Code,
 postpetition interest shall not accrue or be paid on Claims or Interests, and no Holder of a Claim
 or Interest shall be entitled to interest accruing on or after the Petition Date on any Claim or
 Interest. Additionally, and without limiting the foregoing, unless otherwise specifically provided
 for in this Plan or as otherwise required by section 506(b) of the Bankruptcy Code, interest shall
 not accrue or be paid on any Disputed Claim in respect of the period from the Effective Date to
 the date a final distribution is made, when and if such Disputed Claim becomes an Allowed
 Claim.

         Section 7.07.     Amendments to Claims. On or after the Effective Date, except as
 otherwise provided herein, a Claim may not be filed or amended without the authorization of the
 Bankruptcy Court or the Liquidating Debtors, and, to the extent such authorization is not
 received, any such new or amended Claim filed shall be deemed Disallowed in full and
 expunged without any further notice to or action, order, or approval of the Bankruptcy Court and
 the Claims and Solicitation Agent is authorized to immediately expunge any such Claim.

                                           ARTICLE VIII

                        PROVISIONS GOVERNING DISTRIBUTIONS

         Section 8.01.         Timing of Distributions for Allowed Claims. Except as otherwise
 provided for herein (including as set forth in Sections 8.12 and 8.13) or ordered by the
 Bankruptcy Court, distributions under this Plan with respect to Allowed Claims shall be made on
 the later of (a) the Initial Distribution Date or (b) on the first Periodic Distribution Date occurring
 after the later of, (i) 30 days after the date when a Claim is Allowed or (ii) 30 days after the date
 when a Claim becomes payable pursuant to any agreement between the Debtors, the Liquidating
 Debtors, the Plan Administrator, and the Holder of such Claim; provided, however, that the Plan
 Administrator may make one-time distributions on a date that is not a Periodic Distribution Date.

         Section 8.02.      Currency. Except as otherwise provided in the Plan or Bankruptcy
 Court order, as of the Effective Date, any Claim asserted in currency other than U.S. dollars shall
 be automatically deemed converted to the equivalent U.S. dollar value using the exchange rate as
 of the Effective Date at 4:00 p.m. prevailing Eastern Time, mid-range spot rate of exchange for
 the applicable currency as published in the next The Wall Street Journal following the Effective
 Date.

         Section 8.03.     Distribution Agent. The Distribution Agent shall make all
 distributions required under this Plan, subject to the terms and provisions of this Plan. If the
 Distribution Agent is an independent third party designated to serve in such capacity, such
 Distribution Agent shall receive, without further Court approval, reasonable compensation from


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 the Wind-Down Reserve for distribution services rendered pursuant to the Plan and
 reimbursement of reasonable out-of-pocket expenses. No Distribution Agent shall be required to
 give any bond or surety or other security for the performance of its duties. The Distribution
 Agent shall be authorized and directed to rely upon the Debtors’ books and records and, as
 applicable, the Plan Administrator’s representatives and professionals in determining Allowed
 Claims not entitled to distributions under the Plan in accordance with the terms and conditions of
 this Plan. The Distribution Agent shall be empowered to (a) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under the Plan; (b)
 make all distributions contemplated hereby; (c) employ professionals to represent it with respect
 to its responsibilities; and (d) exercise such other powers as may be vested in the Distribution
 Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Distribution
 Agent to be necessary and proper to implement the provisions hereof.

         Section 8.04.      Claims Administered by Servicers. In the case of Holders of Claims
 governed by an agreement and administered by a Servicer, including the Notes Indenture Trustee
 with respect to the Allowed Notes Claims, the Servicer shall be deemed to be the Holder of such
 Claims for purposes of distributions to be made hereunder. The Distribution Agent shall make all
 distributions on account of such Claims to the Servicers or as directed by the Servicers, in the
 Servicers’ sole discretion. Each Servicer shall, at its option, hold or direct such distributions for
 the beneficial Holders of such Allowed Claims, as applicable; provided, however, that the
 Servicer shall retain all rights under its respective agreement in connection with delivery of
 distributions to the beneficial Holders of such Allowed Claims, including rights on account of its
 charging lien as set forth in the relevant Notes Indenture; provided, further, however, that the
 Debtors’ and the Liquidating Debtors’ obligations to make distributions pursuant to this Plan
 shall be deemed satisfied upon delivery of distributions to the relevant Servicer (including the
 Notes Indenture Trustee with respect to the Allowed Notes Claims) or any Entity or Entities
 designated by the Servicers. The Servicers shall not be required to give any bond, surety, or other
 security for the performance of their duties with respect to such distributions.

        Section 8.05.       Distributions on Claims Allowed After the Effective Date.

        (a)     No Distributions Pending Allowance. No payments or distributions shall be made
 with respect to all or any portion of a Disputed Claim unless and until all objections to such
 Disputed Claim have been settled or withdrawn or have been determined by a Final Order of the
 Bankruptcy Court, and the Disputed Claim has become an Allowed Claim.

          (b)    Special Rules for Distributions to Holders of Disputed Claims. Notwithstanding
 any provision to the contrary in the Plan, and except as otherwise agreed by the relevant parties,
 no partial payments and no partial distributions shall be made with respect to a Disputed Claim
 until all such disputes in connection with such Disputed Claim have been resolved by settlement
 or Final Order. All distributions made pursuant to the Plan on account of a Disputed Claim that is
 later deemed an Allowed Claim by the Bankruptcy Court shall be made together with any other
 distributions made on account of, as well as any obligations arising from, the distributed property
 as if such Allowed Claim had been an Allowed Claim on the dates distributions were previously
 made to Holders of Allowed Claims included in the applicable Class; provided, however, that no
 interest shall be paid on account of such Allowed Claims unless required under applicable
 bankruptcy law.


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         (c)     Distributions from GUC Claims Reserve. The Plan Administrator shall establish
 and administer the GUC Claims Reserve. Each Holder of a Disputed General Unsecured Claim
 that becomes an Allowed General Unsecured Claim after the Effective Date shall receive the
 treatment set forth in Section 3.02 of the Plan. On each Periodic Distribution Date, all amounts in
 the GUC Claims Reserve on account of (A) the DPO Claim to the extent it is conclusively
 determined that the Other Creditors’ Threshold will not and cannot be satisfied, or (B) a
 Disputed General Unsecured Claim that has become Disallowed in whole or in part (or has been
 Allowed in an amount less than its Provisionally Allowed amount) shall be available for
 distribution to Holders of Allowed General Unsecured Claims in Classes 3A, 3B, 3C and/or 3D
 (depending on which Estates funded the GUC Claims Reserve).

         (d)     Withholding and Reporting Requirements. In connection with the consummation
 of this Plan, to the extent applicable, the Debtors, the Liquidating Debtors, the Plan
 Administrator and Distribution Agent shall comply with all applicable withholding and reporting
 requirements imposed by any federal, state, local or foreign taxing authority and all distributions
 hereunder shall be subject to any such withholding and reporting requirements. Notwithstanding
 the above, each Holder of an Allowed Claim or Allowed Interest that is to receive a Distribution
 under this Plan shall have the sole and exclusive responsibility for providing any requested Tax
 Information or documentation to the Distribution Agent, and for the satisfaction and payment of
 any tax obligations imposed on such Holder by any Governmental Unit, including income,
 withholding and other tax obligations, on account of such Distribution. The Debtors, the
 Liquidating Debtors, the Plan Administrator and the Distribution Agent each have the right, but
 not the obligation, to not make a Distribution until such Holder has (i) made arrangements
 satisfactory to any disbursing party for payment of any such tax obligations and (ii) provided any
 requested Tax Information or documentation to the Distribution Agent. The Debtors, the
 Liquidating Debtors, the Plan Administrator and the Distribution Agent may require, as a
 condition to receipt of a Distribution, that the Holder of an Allowed Claim or Interest in Aceto
 complete and return a Form W-8 or W-9, or other applicable form, as applicable to each such
 Holder, and additional Tax Information. If the Debtors, Liquidating Debtors or Plan
 Administrator make such a request and the Holder fails to comply before the date that is 60 days
 after the request is made, the amount of such Distribution shall irrevocably revert to the
 Liquidating Debtors and any Claim or Interest in respect of such Distribution shall be disallowed
 and forever barred from receiving a Distribution under this Plan.

        Section 8.06.      Delivery of Distributions.

         (a)     Record Date for Distributions. As of 5:00 p.m. (prevailing Eastern Time) on the
 Distribution Record Date, the transfer registers for Claims shall be closed. The Distribution
 Agent shall have no obligation to recognize the transfer or sale of any Claim that occurs after
 such time on the Distribution Record Date and shall be entitled for all purposes herein to
 recognize and make distributions only to those Holders who are Holders of Claims as of 5:00
 p.m. on the Distribution Record Date. Except as otherwise provided in a Final Order of the
 Bankruptcy Court, the transferees of Claims that are transferred pursuant to Bankruptcy Rule
 3001 on or prior to 5:00 p.m. (prevailing Eastern Time) on the Distribution Record Date shall be
 treated as the Holders of such Claims for all purposes, notwithstanding that any period provided
 by Bankruptcy Rule 3001 for objecting to such transfer has not expired by the Distribution
 Record Date.


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        (b)    Cash Distributions. Distributions of Cash may be made either by check drawn on
 a domestic bank or wire transfer from a domestic bank, at the option of the Distribution Agent,
 except that Cash payments made to foreign creditors may be made in such funds and by such
 means as are necessary or customary in a particular foreign jurisdiction.

          (c)    Address for Distributions. Distributions to Holders of Allowed Claims shall be
 made by the Distribution Agent or the appropriate Servicer (i) at the addresses set forth on the
 proofs of Claim filed by such Holders of Claims (or at the last known addresses of such Holders
 of Claims if no proof of Claim is filed or if the Debtors or the Distribution Agent have been
 notified in writing of a change of address), (ii) at the addresses set forth in any written notices of
 address changes delivered to the Distribution Agent after the date of any related proof of Claim,
 (iii) at the addresses reflected in the Schedules if no proof of Claim has been filed and the
 Distribution Agent has not received a written notice of a change of address, or (iv) in the case of
 a Holder of a Claim whose Claim is governed by an agreement and administered by a Servicer,
 at the addresses contained in the official records of such Servicer. The Debtors, the Liquidating
 Debtors, and the Distribution Agent shall not incur any liability whatsoever on account of any
 distributions under the Plan.

         (d)     Undeliverable Distributions. If any distribution to a Holder of a Claim is returned
 as undeliverable, no further distributions to such Holder of such Claim shall be made unless and
 until the Distribution Agent or the appropriate Servicer is notified of then-current address of such
 Holder of the Claim, at which time all missed distributions shall be made to such Holder of the
 Claim without interest on the next Periodic Distribution Date. Amounts in respect of
 undeliverable distributions shall be returned to the Liquidating Debtors’ Estate from which such
 distribution originated.

         (e)     Reversion. Any distribution under the Plan that is an Unclaimed Distribution for a
 period of three (3) months after such distribution shall be deemed unclaimed property under
 section 347(b) of the Bankruptcy Code and such Unclaimed Distribution shall revert to and vest
 in the Liquidating Debtors free of any restrictions thereon. Upon vesting, the Claim of any
 Holder or successor to such Holder with respect to such property shall be cancelled and forever
 barred, notwithstanding federal or state escheat, abandoned, or unclaimed property laws to the
 contrary. The provisions of the Plan regarding undeliverable distributions, de minimis
 distributions, and Unclaimed Distributions shall apply with equal force to distributions that are
 issued by the Distribution Agent made pursuant to any indenture or Certificate (but only with
 respect to the initial distribution by the Servicer to Holders that are entitled to be recognized
 under the relevant indenture or Certificate and not with respect to Entities to whom those
 recognized Holders distribute) and Holders of Allowed Interest in Aceto (to the extent entitled to
 any distributions), and notwithstanding any provision in such indenture, Certificate or otherwise
 to the contrary and notwithstanding any otherwise applicable federal or state escheat, abandoned,
 or unclaimed property law.

        (f)     De Minimis Distributions. Notwithstanding any other provision of the Plan to the
 contrary, the Distribution Agent and any Servicer shall not be required to make a distribution on
 account of an Allowed Claim if (i) the aggregate amount of all distributions authorized to be
 made on the Periodic Distribution Date in question is or has a value less than $50.00; provided,
 however, that the Distribution Agent shall make, or cause to be made, a distribution on a Periodic


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 Distribution Date of less than $50.00 if the Distribution Agent expects that such Periodic
 Distribution Date shall be the final Periodic Distribution Date; or (ii) the amount to be distributed
 to the specific Holder of the Allowed Claim on the particular Periodic Distribution Date does not
 both (x) constitute a final distribution to such Holder and (y) have a value of at least $50.00.

        To the extent that any final Distribution would be de minimis or otherwise impracticable
 in the judgment of the Plan Administrator, the Plan Administrator may donate any such
 remaining funds to a 501(c)(3) charity such as the New Jersey Bankruptcy Lawyers Foundation.

          Section 8.07.     Surrender of Securities or Instruments. As soon as practicable after
 the Effective Date, each Holder of Notes shall surrender its note(s) to the Notes Indenture
 Trustee, and each Holder of Notes shall be deemed to have surrendered such Holder’s security,
 note, debenture, or other evidence of indebtedness upon surrender of such global security by the
 Holder or a securities depository or custodian thereof. No distributions under the Plan shall be
 made for or on behalf of such Holder unless and until such note(s) is received by the Notes
 Indenture Trustee or the loss, theft, or destruction of such note(s) is established to the reasonable
 satisfaction of the Notes Indenture Trustee, which satisfaction may require such Holder to submit
 (a) a lost instrument affidavit and (b) an indemnity bond holding the Debtors, the Liquidating
 Debtors, and the Notes Indenture Trustee, harmless in respect of such note and distributions
 made thereof. Upon compliance with this Section 8.07 by a Holder of Notes, such Holder shall,
 for all purposes under the Plan, be deemed to have surrendered such Claim. Any Holder that fails
 to surrender such Notes or satisfactorily explain its non-availability to the Notes Indenture
 Trustee within one year of the Effective Date shall be deemed to have no further Claim against
 the Debtors, the Liquidating Debtors (or their property), or the Notes Indenture Trustee in respect
 of such Claim and shall not participate in any distributions under the Plan. All property in respect
 of such forfeited distributions, including interest thereon, shall be promptly returned to the
 Liquidating Debtors by the Notes Indenture Trustee, and any such security shall be cancelled.
 Notwithstanding the foregoing, if the record Holder of a Notes Claim is a securities depository or
 custodian thereof, or if a Notes Claim is held in book-entry or electronic form pursuant to a
 global security held by a securities depository or custodian thereof, then the beneficial Holder of
 such an Allowed Notes Claim shall be deemed to have surrendered such Holder’s security, note,
 debenture, or other evidence of indebtedness upon surrender of such global security by the
 securities depository or custodian thereof.

         Section 8.08.      Compliance Matters. In connection with the Plan, to the extent
 applicable, the Distribution Agent shall comply with all tax withholding and reporting
 requirements imposed on it by any Governmental Unit, and all distributions pursuant to the Plan
 shall be subject to such withholding and reporting requirements. Notwithstanding any provision
 in the Plan to the contrary, the Distribution Agent shall be authorized to take all actions
 necessary or appropriate to comply with such withholding and reporting requirements, including
 liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to
 pay applicable withholding taxes, withholding distributions pending receipt of information
 necessary to facilitate such distributions, or establishing any other mechanisms it believes are
 reasonable and appropriate. The Debtors and Plan Administrator reserve the right to allocate all
 distributions made under the Plan in compliance with all applicable wage garnishments, alimony,
 child support, and other spousal awards, Liens, and encumbrances.



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         Section 8.09.       Claims Paid or Payable by Third Parties. The Claims and
 Solicitation Agent shall reduce in full a Claim to the extent that the Holder of such Claim
 receives payment in full on account of such Claim from a party that is not the Distribution Agent
 without any further notice to or action, order, or approval of the Bankruptcy Court. To the extent
 a Holder of a Claim receives a distribution on account of such Claim and receives payment from
 a party that is not the Distribution Agent on account of such Claim, such Holder shall, within two
 weeks of receipt thereof, repay or return the distribution under the Plan to the Plan
 Administrator, to the extent the Holder’s total recovery on account of such Claim from the third
 party and under the Plan exceeds the amount of such Claim as of the date of any such
 distribution under the Plan.

         Section 8.10.      Setoffs. Except as otherwise expressly provided for in the Plan and
 except with respect to any Notes Claim, and any distribution on account thereof, the Liquidating
 Debtors, pursuant to the Bankruptcy Code (including section 553 of the Bankruptcy Code),
 applicable non-bankruptcy law, or as may be agreed to by the Holder of a Claim, may set off
 against any Allowed Claim and the distributions to be made pursuant to the Plan on account of
 such Allowed Claim, any Claims, rights, and Causes of Action of any nature that the Debtors or
 the Liquidating Debtors, as applicable, may hold against the Holder of such Allowed Claim, to
 the extent such Claims, rights, or Causes of Action against such Holder have not been otherwise
 compromised or settled on or prior to the Effective Date (whether pursuant to the Plan or
 otherwise); provided, however, that neither the failure to effect such a setoff nor the allowance of
 any Claim pursuant to the Plan shall constitute a waiver or release by the Debtors or the
 Liquidating Debtors of any such Claims, rights, and Causes of Action that the Debtors or
 Liquidating Debtors may possess against such Holder. In no event shall any Holder of Claims be
 entitled to set off any Claim against any Claim, right, or Cause of Action of the Debtors or the
 Liquidating Debtors, as applicable, unless such Holder has filed a motion with the Bankruptcy
 Court requesting the authority to perform such setoff on or before the Confirmation Date, and
 notwithstanding any indication in any proof of Claim or otherwise that such Holder asserts, has,
 or intends to preserve any right of setoff pursuant to Bankruptcy Code section 553 or otherwise.

        Section 8.11.       Allocation of Plan Distributions Between Principal and Interest.
 To the extent that any Allowed Claim entitled to a distribution under this Plan is composed of
 indebtedness and accrued but unpaid interest thereon, such distribution shall, to the extent
 permitted by applicable law, be allocated for federal income tax purposes to the principal amount
 of the Claim first and then, to the extent the consideration exceeds the principal amount of the
 Claim, to the portion of such Claim representing accrued but unpaid interest.

        Section 8.12.      DPO Claim Recovery and Distribution Matters. Consistent with
 and pursuant to the Mutual Release Agreement, the Holder of the DPO Claim shall receive its
 recovery in Classes 3A and 3B as follows: the DPO Claim shall receive on account of its
 Allowed $30,000,000 Claim a recovery on a pro rata basis together with the Allowed General
 Unsecured Claims in Classes 3A and 3B participating in such distributions until the Holder of
 such DPO Claim has received, in the aggregate, its pro rata distribution in an amount up to, but
 not exceeding, $6,500,000 (the “Initial Recovery Amount”); provided that the Initial Recovery
 Amount shall first be recovered from any available Aceto Net Distributable Assets on a pro rata
 basis together with other Allowed Class 3A General Unsecured Claims against the Aceto
 Chemical Plus Debtors, and only to the extent such assets prove insufficient to fund the Initial


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 Recovery Amount shall the Initial Recovery Amount (or the amount remaining to provide for
 payment of the Initial Recovery Amount) be recovered from the Rising Net Distributable Assets
 on a pro rata basis together with other Allowed Class 3A General Unsecured Claims against the
 Rising Pharma Debtors. From and after the time when the Holder of the DPO Claim has
 received, in the aggregate, the Initial Recovery Amount, the DPO Claim shall be subordinated to
 the Allowed Claims of all other General Unsecured Creditors of the Debtors’ collective
 bankruptcy estates and the Holder of the DPO Claim shall not receive any additional recovery
 thereon until all such other Holders of General Unsecured Claims collectively in all of the
 Debtors’ Estates (treated as if all of the Debtors’ Estates are substantively consolidated, and
 without giving effect to any Intercompany Claims) collectively have received a recovery of 65%
 of the Allowed amount of their General Unsecured Claims against the collective Estates of the
 Debtors (or would have received such a 65% recovery of the Allowed amount of their General
 Unsecured Claims had all of the Estates been substantively consolidated), without giving effect
 to any Intercompany Claims (the “Other Creditors’ Threshold”). After such time when the Other
 Creditors’ Threshold have been so received (or would have been so received) by such other
 General Unsecured Creditors (aside from the Holder of the DPO Claim) in the Debtors’ Estates
 (without giving effect to any Intercompany Claims and to the extent all of the Debtors’ Estates
 had been substantively consolidated), the Holder of the DPO Claims shall once again become
 entitled to, and shall (to the extent of any available further distributions) receive such further
 distributions (the “Additional Recovery Amount”) on a pro rata basis (based on an allowed DPO
 Claim in the amount of $30,000,000) together with the Allowed General Unsecured Claims in
 Classes 3A and 3B participating in such distributions until the Holder of such DPO Claim has
 received a maximum aggregate recovery amount of $20,000,000 (inclusive of the Initial
 Recovery Amount and all other amounts received in respect of the DPO Claim), provided that
 the Additional Recovery Amount shall first be recovered from any available Aceto Net
 Distributable Assets on a pro rata basis together with other Allowed Class 3A General
 Unsecured Claims against the Aceto Chemical Plus Debtors, and only to the extent such assets
 prove insufficient to fund the Additional Recovery Amount shall the Additional Recovery
 Amount (or the amount remaining to provide for payment of the Additional Recovery Amount)
 be recovered from the Rising Net Distributable Assets on a pro rata basis together with other
 Allowed Class 3A General Unsecured Claims against the Rising Pharma Debtors. For the
 avoidance of doubt, the Holder of the DPO Claim shall receive a maximum aggregate recovery
 of $20,000,000 on account of the DPO Claim.

         Section 8.13.     Distributions (if any) to Holders of Allowed Interests in Aceto.
 Distributions, if any (and solely to the extent and at such time that Aceto Net Distributable
 Assets are available following payment in full of all Allowed Class 3A General Unsecured
 Claims against the Aceto Chemical Plus Debtors, including payment of post-petition interest as
 set forth in Section 3.02), to Holders of Interests in Aceto shall be made by the Plan
 Administrator in accordance with such procedures that the Plan Administrator deems proper and
 appropriate and that are consistent with standard practice and applicable law regarding the
 payment of amounts to holders of publicly traded securities in a manner customary in the
 securities industries reasonably intended to maximize the likelihood that such Holders will
 receive payment in a timely fashion. Thus, the Plan Administrator shall use reasonable efforts to
 deliver (or cause to be delivered) Distributions (if any) to Holders of Interests in Aceto to (a)
 each directly registered Holder of Interests in Aceto as of the Confirmation Date, and (b) each
 broker, commercial bank, transfer agent, trust company, dealer, or other intermediary or


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 nominee, or their mailing agent (each a “Nominee”) identified by Aceto’s Transfer Agent,
 American Stock Transfer & Trust Company, LLC (American Stock Transfer & Trust Company,
 LLC or such other entity as may be identified by the Plan Administrator, the “Transfer Agent”),
 as an entity through which beneficial holders indirectly hold Interests in Aceto. Such
 distributions, if any, shall only be made to Holders of Interests in Aceto as of the Confirmation
 Date through and as recorded by the Transfer Agent (or such other paying agent to be identified
 by the Plan Administrator). For the avoidance of doubt, no distributions on account of Allowed
 Interests in Aceto shall be made unless and until all claims of a higher priority under the
 Bankruptcy Code and the then incurred wind-down expenses of the Plan Administrator have
 been paid or reserved for in full.

                                          ARTICLE IX

                     EFFECT OF PLAN ON CLAIMS AND INTERESTS

        Section 9.01.      Vesting of Assets. Except as otherwise explicitly provided in this
 Plan, as of the Effective Date, the property of each Debtors’ Estate, if any, shall revest in the
 applicable Liquidating Debtor, as applicable, and shall be free and clear of all Claims, Liens,
 charges, encumbrances, rights, and Interests.

        Section 9.02.      [RESERVED].

         Section 9.03.      Compromise and Settlement. Pursuant to Bankruptcy Rule 9019(a),
 the Debtors may compromise and settle various (a) Claims or Interests and (b) Causes of Action
 that the Debtors have against other Entities up to the Effective Date. After the Effective Date,
 any such right shall pass to the Liquidating Debtors without the need for further approval of the
 Bankruptcy Court. Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019
 and in consideration for the distributions and other benefits provided pursuant to the Plan or any
 distribution to be made on account of an Allowed Claim, the provisions of the Plan including the
 Plan Settlement shall constitute a good-faith compromise of all Claims, Interests, and
 controversies relating to the contractual, legal, and subordination rights that a Holder of a Claim
 or Interest may have with respect to any Allowed Claim or Allowed Interest.

         Section 9.04.      Debtor Release. Pursuant to section 1123(b) of the Bankruptcy
 Code, as of the Effective Date, for good and valuable consideration, the adequacy of which
 is hereby confirmed, the Debtors, the Liquidating Debtors, and their Estates, in each case
 on behalf of themselves and their respective successors, assigns, and representatives, and
 any and all other Entities who may purport to assert any Claim or Cause of Action,
 directly or derivatively, by, through, for, or because of any of the foregoing Entities, shall
 be deemed to have conclusively, absolutely, unconditionally, irrevocably, and forever
 released, waived, and discharged the Released Parties from any and all Claims, Interests,
 obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever,
 including any derivative Claims, asserted or assertable on behalf of the Debtors, the
 Liquidating Debtors or their Estates, as applicable, whether known or unknown, foreseen
 or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that the Debtors,
 the Liquidating Debtors, or their Estates or Affiliates would have been legally entitled to
 assert in their own right (whether individually or collectively) or on behalf of the Holder of


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 any Claim or Interest or any other Entity, based on or in any way relating to, or in any
 manner arising from, in whole or in part, the Debtors, the Debtors’ in- or out-of-court
 restructuring and sale efforts, the Chapter 11 Cases, the Sales, the purchase, sale, or
 rescission of the purchase or sale of any security of the Debtors, the subject matter of, or
 the transactions or events giving rise to, any Claim or Interest that is treated in the Plan,
 the business or contractual arrangements between any Debtor and any Released Party, the
 restructuring of Claims and Interests prior to or in the Chapter 11 Cases, the negotiation,
 formulation, preparation, dissemination and filing of the Plan (including, for the avoidance
 of doubt, the Plan Supplement), the Disclosure Statement, the Chemical Plus Purchase
 Agreement, the Pharma Purchase Agreement, the Sale Orders or related agreements,
 instruments, or other documents, the pursuit of the Sales, the pursuit of consummation of
 the Sales, the pursuit of Confirmation of the Plan, the pursuit of consummation of the Plan,
 the administration and implementation of the Plan, or upon any other act or omission,
 transaction, agreement, event, or other occurrence taking place on or before the Effective
 Date of the Plan; provided that, nothing in this Section 9.04 shall be construed to release the
 Released Parties from gross negligence, willful misconduct, or fraud as determined by a
 Final Order, provided, further, that there shall be no releases given, or be deemed to have
 been given hereunder, to any Person or Entity that is a defendant in a lawsuit or Cause of
 Action commenced by any of the Debtors before the Effective Date or the Liquidating
 Debtors or Plan Administrator commenced after the Effective Date. Notwithstanding
 anything to the contrary in the foregoing, the releases set forth above do not release any
 post-Effective Date obligation or liability of any Entity under the Plan or any document,
 instrument, or agreement (including those set forth in the Plan Supplement) executed to
 implement the Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
 pursuant to Bankruptcy Rule 9019, of the Debtor Release, which includes by reference
 each of the related provisions and definitions contained in this Plan, and further, shall
 constitute the Bankruptcy Court’s finding that the Debtor Release is: (1) in exchange for
 the good and valuable consideration provided by the Released Parties, (2) a good-faith
 settlement and compromise of the claims released by the Debtor Release; (3) in the best
 interests of the Debtors and all Holders of Claims and Interests; (4) fair, equitable, and
 reasonable; (5) given and made after due notice and opportunity for hearing; and (6) a bar
 to any of the Debtors or the Liquidating Debtors or their respective Estates or the
 Litigation Trust asserting any claim, Cause of Action, or liability related thereto, of any
 kind whatsoever, against any of the Released Parties or their property, released pursuant
 to the Debtor Release.

         Section 9.05.      Third Party Release. As of the Effective Date, for good and
 valuable consideration, the adequacy of which is hereby confirmed, including the
 obligations of the Debtors under the Plan and the contributions of the Released Parties to
 facilitate and implement the Plan, to the fullest extent permissible under applicable law, as
 such law may be extended after the Effective Date, each of the Releasing Parties shall be
 deemed to have conclusively, absolutely, unconditionally, irrevocably, and forever released,
 waived, and discharged each Released Party from any and all Claims, Interests,
 obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever,
 whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law,


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 equity, or otherwise, that such Entity would have been legally entitled to assert (whether
 individually or collectively), based on or in any way relating to, or in any manner arising
 from, in whole or in part, the Debtors, the Debtors’ in- or out-of-court restructuring and
 sale efforts, the Chapter 11 Cases, the Sales, the purchase, sale, or rescission of the
 purchase or sale of any security of the Debtors, the subject matter of, or the transactions or
 events giving rise to, any Claim or Interest that is treated in the Plan, the business or
 contractual arrangements between any Debtor and any Released Party, the restructuring
 of Claims and Interests prior to or in the Chapter 11 Cases, the negotiation, formulation,
 preparation, dissemination and filing of the Plan (including, for the avoidance of doubt, the
 Plan Supplement), the Disclosure Statement, the Chemical Plus Purchase Agreement, the
 Pharma Purchase Agreement, the Sale Orders or related agreements, instruments, or other
 documents, the pursuit of the Sales, the pursuit of consummation of the Sales, the pursuit
 of Confirmation of the Plan, the pursuit of consummation of the Plan, the administration
 and implementation of the Plan, or upon any other act or omission, transaction, agreement,
 event, or other occurrence taking place on or before the Effective Date of the Plan, provided
 that, nothing in this Section 9.05 shall be construed to release the Released Parties from
 gross negligence, willful misconduct, or fraud as determined by a Final Order; provided,
 further, that notwithstanding anything to the contrary herein, the foregoing release shall
 not affect the releases granted to the applicable entities pursuant to the Final DIP Order or
 the Mutual Release Agreement; provided, further, that this release shall not (1) preclude the
 United States Securities and Exchange Commission from enforcing its regulatory or police
 powers or (2) operate to release any claims or causes of action held directly (but not
 derivatively) by the United States Securities and Exchange Commission against any non-
 Debtor person or non-Debtor entity; provided, further, that this release shall not release any
 Securities Claims with respect to the Specified Individuals, provided that any such claims
 and any judgment or recoveries arising therefrom by Holders of Securities Claims shall be
 subject to and limited by Section 9.08. Notwithstanding anything to the contrary in the
 foregoing, the releases set forth above do not release any post-Effective Date obligation or
 liability of any Entity under the Plan or any document, instrument, or agreement
 (including those set forth in the Plan Supplement) executed to implement the Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
 pursuant to Bankruptcy Rule 9019, of the Third Party Release, which includes by reference
 each of the related provisions and definitions contained in this Plan, and further, shall
 constitute the Bankruptcy Court’s finding that the Third Party Release is: (1) in exchange
 for the good and valuable consideration provided by the Released Parties, (2) a good-faith
 settlement and compromise of claims released by the Third Party Release; (3) in the best
 interests of the Debtors and all Holders of Claims and Interests; (4) fair, equitable, and
 reasonable; (5) given and made after due notice and opportunity for hearing; and (6) a bar
 to any of the Releasing Parties asserting any claim, Cause of Action, or liability related
 thereto, of any kind whatsoever, against any of the Released Parties or their property,
 released pursuant to the Third Party Release.

        Section 9.06.    Exculpation and Limitation of Liability. Effective as of the
 Effective Date, without affecting or limiting either the Debtor Release or the Third Party
 Release, and notwithstanding anything herein to the contrary, each Exculpated Party is
 hereby released and exculpated from any claim, obligation, Cause of Action, or liability for


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 any postpetition action taken or omitted to be taken during the period commencing on the
 Petition Date through and including the Effective Date in connection with, or related to
 formulating, negotiating, soliciting, preparing, disseminating, confirming, administering,
 or implementing the Plan, or consummating the Plan, the Disclosure Statement, the
 Chemical Plus Purchase Agreement, the Pharma Purchase Agreement, the Sale Orders, the
 Sales, the Final DIP Order, the Chapter 11 Cases, or any contract, instrument, release, or
 other agreement or document created or entered into in connection with the Plan or any
 other postpetition act taken or omitted to be taken in connection with the Chapter 11
 Cases, provided that, nothing in this Section 9.06 shall be construed to release the
 Exculpated Parties from gross negligence, willful misconduct, or fraud as determined by a
 Final Order, provided, further, that there shall be no exculpation given or limitation of
 liability provided, or be deemed to have been given or provided hereunder, to any Person
 or Entity that is a defendant in a lawsuit or Cause of Action commenced by any of the
 Debtors before the Effective Date or the Liquidating Debtors or Plan Administrator
 commenced after the Effective Date. Each Exculpated Party has, and upon completion of
 the Plan shall be deemed to have, participated in good faith and in compliance with the
 applicable laws with regard to the restructuring of Claims and Interests in the Chapter 11
 Cases, the negotiation, formulation, or preparation of the agreements, instruments, or
 other documents pursuant to the Plan, and the solicitation and distribution of the Plan and,
 therefore, is not, and on account of such distributions shall not be, liable at any time for the
 violation of any applicable law, rule, or regulation governing the solicitation of acceptances
 or rejections of the Plan or such distributions made pursuant to the Plan. Notwithstanding
 anything to the contrary in the foregoing, the exculpation set forth above does not release
 any post-Effective Date obligation or liability of any Entity under the Plan or any
 document, instrument, or agreement (including those set forth in the Plan Supplement)
 executed to implement the Plan.

        Section 9.07.     [RESERVED].

         Section 9.08.     Limitation on Securities Claims and Enforcement of Judgments.
 The Plan Administrator and any Holders of Securities Claims shall not, subject to this
 Section 9.08, enforce any judgment, recoveries or settlement obtained against the Specified
 Individuals or any of the Debtors’ current or former directors, officers and managers (to
 the extent not released pursuant to Section 9.05) unless such judgment or settlement is
 actually covered by, and payable from, any available insurance coverage under the D&O
 Policies; provided that such prohibition shall not apply to any Specified Individual in the
 event such Specified Individual (a) fails to reasonably cooperate with any D&O Insurer to
 the fullest extent requested by such D&O Insurer in the defense and/or settlement of any
 Cause of Action brought against such Specified Individual or any other party, (b)
 knowingly or unreasonably takes any action that has the effect of impairing, or knowingly
 or unreasonably fails to take any action necessary to preserve, coverage under the D&O
 Policies for any Cause of Action brought against such Specified Individual or any other
 party (provided that a Specified Individual’s election to satisfy these conditions and take
 steps to qualify such Specified Individual for the protections of the injunction described
 above shall not under any circumstances be deemed to be knowingly or unreasonably
 taking an action or failing to take an action for purposes of this subsection (b)), (c) fails to
 satisfy any required co-insurance obligations, if any, under the D&O Policies arising from


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 any Cause of Action brought against such Specified Individuals or (d) asserts any Claim
 relating to any prepetition Indemnification Obligations in violation of Section 9.14 of the
 Plan, without prejudice to any subrogation or other rights of any D&O Insurer under the
 D&O Policies. For the avoidance of doubt, each Specified Individual may, in his/her sole
 discretion, elect to satisfy the foregoing conditions that qualify such Specified Individual to
 the protections of the injunction described in this section and the decision and/or acts or
 omissions of one Specified Individual shall have no impact on any other Specified
 Individual.

         Section 9.09.     Injunction. Effective as of the Effective Date, and except as
 otherwise expressly provided in the Plan or the Confirmation Order or for obligations
 required to be paid pursuant to the Plan or the Confirmation Order, all Entities who have
 held, hold, or may hold Claims, Interests or Causes of Action that (a) are subject to
 compromise and settlement pursuant to the terms of the Plan; (b) have been released
 pursuant to Section 9.04 of the Plan; (c) have been released pursuant to Section 9.05 of the
 Plan; (d) are subject to the exculpation pursuant to Section 9.06 of the Plan; or (e) are
 otherwise stayed or terminated pursuant to the terms of the Plan, are permanently
 enjoined and precluded, from and after the Effective Date, from taking any of the following
 actions against, as applicable, the Debtors, the Liquidating Debtors, the Exculpated
 Parties, or the Released Parties: (1) commencing or continuing in any manner any action
 or other proceeding of any kind including on account of or in connection with or with
 respect to any such Claims, Interests or Causes of Action that have been compromised or
 settled against the Debtors, Liquidating Debtors, or any Entity so released or exculpated
 (or the property or estate of the Debtors or any Entity so released or exculpated) on
 account of or in connection with or with respect to any released, settled, compromised or
 exculpated Claims, Interests or Causes of Action; (2) enforcing, attaching, collecting, or
 recovering by any manner or means any judgment, award, decree, or order against the
 Debtors, Liquidating Debtors or any Entity so released or exculpated (or the property or
 Estates of the Debtors, Liquidating Debtors or any Entity so released or exculpated) on
 account of or in connection with or with respect to any released, settled, compromised or
 exculpated Claims, Interests or Causes of Action; (3) creating, perfecting, or enforcing any
 Lien, claim or encumbrance of any kind against the Debtors, Liquidating Debtors or any
 entity so released or exculpated (or the property or Estate of the Debtors, Liquidating
 Debtors or any Entity so released or exculpated) on account of or in connection with or
 with respect to any released, settled, compromised or exculpated Claims, Interests or
 Causes of Action; (4) asserting any right of setoff, subrogation, or recoupment of any kind
 against any obligation due to the Debtors, Liquidating Debtors or any Entity so released or
 exculpated (or the property or Estates of the Debtors, Liquidating Debtors or any Entity so
 released or exculpated) on account of or in connection with or with respect to any released,
 settled, compromised or exculpated Claims, Interests or Causes of Action, except as set
 forth in Section 8.10 of the Plan, and notwithstanding an indication in a Claim or Interest
 or otherwise that such holder asserts, has, or intends to preserve any right of setoff or
 subrogation pursuant to applicable law or otherwise; and (5) commencing or continuing in
 any manner any action or other proceeding of any kind against the Debtors, Liquidating
 Debtors, or any Entity so released or exculpated (or the property or estate of the Debtors
 or any Entity so released or exculpated) on account of or in connection with or with respect
 to any released, settled, compromised or exculpated Claims, Interests or Causes of Action.


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 Notwithstanding anything to the contrary in the foregoing or in the Plan, the injunction set
 forth above shall not enjoin the Securities Claims. For the avoidance of doubt, the Debtors
 are not receiving a discharge under section 524(a) of the Bankruptcy Code.

        Section 9.10.       Subordination Rights.

         (a)     Except as otherwise provided in the Plan, the allowance, classification, and
 treatment of all Allowed Claims and the respective distributions and treatments under the Plan
 take into account and conform to the relative priority and rights of the Claims in each Class in
 connection with any contractual, legal, and equitable subordination rights relating thereto,
 whether arising under general principles of equitable subordination, section 510 of the
 Bankruptcy Code, or otherwise. All Claims and all rights and claims between or among Holders
 of Claims relating in any manner whatsoever to distributions on account of Claims or Interests,
 based upon any claimed subordination rights, whether asserted or unasserted, legal or equitable,
 shall be deemed satisfied by the distributions under the Plan to Holders of Claims having such
 subordination rights, and such subordination rights shall be deemed waived, released and
 terminated as of the Effective Date. Except as otherwise specifically provided for in the Plan,
 distributions to the various Classes of Claims hereunder shall not be subject to levy, garnishment,
 attachment, or like legal process by any Holder of a Claim by reason of any subordination rights
 or otherwise, so that each Holder of a Claim shall have and receive the benefit of the
 distributions in the manner set forth in the Plan

         (b)    Except as otherwise provided in the Plan, the right of the Debtors or the Plan
 Administrator on behalf of the Liquidating Debtors to seek subordination of any Claim or
 Interest pursuant to section 510 of the Bankruptcy Code or otherwise is fully reserved, and the
 treatment afforded any Claim or Interest that becomes a subordinated Claim or Interest at any
 time shall reflect such subordination. Unless the Plan or the Confirmation Order otherwise
 provide, no distributions shall be made on account of a Subordinated Claim unless ordered by the
 Bankruptcy Court or otherwise provided for in this Plan.

         Section 9.11.        Protection Against Discriminatory Treatment. Consistent with
 section 525 of the Bankruptcy Code, no Governmental Unit shall discriminate against the
 Debtors or deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or
 other similar grant to, condition such a grant to, discriminate with respect to such a grant against,
 the Liquidating Debtors, Plan Administrator or another Entity with whom the Liquidating
 Debtors have been associated, solely because the Liquidating Debtors have been debtors under
 chapter 11, have been insolvent before the commencement of the Chapter 11 Cases, or have not
 paid a debt that is settled and released in the Chapter 11 Cases.

          Section 9.12.      Release of Liens. Except as otherwise provided in this Plan, including
 Section 3.02, or in any contract, instrument, release, or other agreement or document created
 pursuant to the Plan, on the Effective Date, all mortgages, deeds of trust, Liens, pledges, or other
 security interests against any property of the Estates shall be fully released, and all of the right,
 title, and interest of any Holder of such mortgages, deeds of trust, Liens, pledges, or other
 security interests shall revert to the Liquidating Debtors and their successors and assigns.




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        Section 9.13.       Reimbursement or Contribution. If the Bankruptcy Court disallows
 a Claim for reimbursement or contribution of an Entity pursuant to section 502(e)(1)(B) of the
 Bankruptcy Code, then to the extent that such Claim is contingent as of the Effective Date, such
 Claim shall be forever Disallowed notwithstanding section 502(j) of the Bankruptcy Code,
 unless prior to the Effective Date (a) such Claim has been adjudicated as non-contingent or is a
 Claim described in Section 9.14 of the Plan or (b) the relevant Holder of a Claim has filed a
 contingent proof of Claim on account of such Claim and a Final Order has been entered
 determining such Claim as no longer contingent.

        Section 9.14.     Limitations on Indemnification Claims. The following shall govern
 any claims for indemnification asserted by any Specified Individual or other parties set forth
 below against the Debtors or the Liquidating Debtors:

        (a)     Except to the extent necessary to preserve available insurance coverage under the
 D&O Policies, each Specified Individual or other party subject to the Limitation on Enforcement
 of Judgments in Section 9.08 shall be deemed to have waived all of his/her indemnification
 claims against the Debtors on account of any judgment covered by said section 9.08.

                                           ARTICLE X

                                  CONDITIONS PRECEDENT

         Section 10.01.     Conditions Precedent to the Effective Date of the Plan. The
 following are conditions precedent to the occurrence of the Effective Date, each of which may be
 satisfied or waived in accordance with Section 10.02 of this Plan:

        (a)    the Plan and Confirmation Order shall be in form and substance acceptable to the
 Debtors, upon consultation with the Creditors’ Committee;

        (b)     the Confirmation Order shall have been entered and shall be a Final Order;

       (c)    all agreements set forth in the Plan Supplement, including the Plan Administrator
 Agreement, shall have been executed;

        (d)    the Professional Claims Reserve and the Administrative and Priority Claims
 Reserve shall have been funded in Cash in full and the Wind-Down Reserve shall have been
 funded with the amount agreed pursuant to Section 5.11(d) of the Plan;

        (e)    the Plan Administrator and Oversight Committee shall have been appointed and
 shall have assumed their respective rights and responsibilities under the Plan and the Plan
 Administrator Agreement;

         (f)     all authorizations, consents, certifications, approvals, rulings, no action letters,
 opinions or other documents, or actions required by any law, regulation, or order to be received
 or to occur in order to implement the Plan on the Effective Date shall have been obtained or shall
 have occurred unless failure to do so will not have a material adverse effect on the Liquidating
 Debtors; and



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         (g)    all statutory fees and obligations then due and payable to the Office of the United
 States Trustee shall have been paid and satisfied in full.

       Section 10.02.    Waiver of Conditions Precedent. The conditions set forth in Section
 10.01 may be waived, in whole or in part, by the Debtors with the consent of the Creditors’
 Committee (such consent not to be unreasonably withheld).

         Section 10.03.     Notice of Effective Date. The Plan Administrator shall file with the
 Bankruptcy Court a notice of the occurrence of the Effective Date within a reasonable period of
 time after the conditions in Section 10.01 of this Plan have been satisfied or waived pursuant to
 Section 10.02 of this Plan. The Debtors shall provide at least five (5) days’ advance notice to the
 Creditors’ Committee of the expected occurrence of the Effective Date.

         Section 10.04.     Effect of Non-Occurrence of Conditions to Consummation. If, prior
 to consummation of the Plan, the Confirmation Order is vacated pursuant to a Final Order, then
 except as provided in any order of the Bankruptcy Court vacating the Confirmation Order, the
 Plan will be null and void in all respects, and nothing contained in the Plan or Disclosure
 Statement shall (a) constitute a waiver or release of any Claims, Interests, or Causes of Action,
 (b) prejudice in any manner the rights of the Debtors or any other Entity, or (c) constitute an
 admission, acknowledgement, offer, or undertaking of any sort by the Debtors or any other
 Entity.

                                           ARTICLE XI

                           BANKRUPTCY COURT JURISDICTION

         Section 11.01.      Retention of Jurisdiction. Pursuant to sections 105(a) and 1142 of the
 Bankruptcy Code, the Bankruptcy Court shall have exclusive jurisdiction of all matters arising
 out of, and related to, the Chapter 11 Cases and the Plan (without prejudice to the rights, if any,
 of any party in interest to seek to withdraw the bankruptcy reference pursuant to 28 U.S.C. §
 157(d) and related law with respect to any issue or proceeding subject to mandatory or
 discretionary withdrawal), including jurisdiction to:

         (a)     resolve any matters related to Executory Contracts and Unexpired Leases,
 including: (i) the assumption, assumption and assignment, or rejection of any Executory Contract
 or Unexpired Lease to which a Debtor is a party or with respect to which a Debtor may be liable,
 and to hear and determine, and, if necessary, liquidate any Claims arising therefrom including
 Cure Amounts pursuant to section 365 of the Bankruptcy Code; (ii) any potential contractual
 obligation under any Executory Contract or Unexpired Lease that is assumed (or assumed and
 assigned); (iii) the Liquidating Debtors’ amendment, modification, or supplement after the
 Effective Date, pursuant to Article VI of this Plan, of the lists of Executory Contracts and
 Unexpired Leases to be assumed (or assumed and assigned) or rejected or otherwise; and (iv)
 any dispute regarding whether a contract or lease is or was executory, expired or terminated;

        (b)      adjudicate any and all adversary proceedings, applications, and contested matters
 that may be commenced or maintained pursuant to the Chapter 11 Cases, this Plan, or that were
 the subject of proceedings before the Bankruptcy Court, prior to the Effective Date, proceedings



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 to adjudicate the allowance of Disputed Claims and Disputed Interests, and all controversies and
 issues arising from or relating to any of the foregoing;

         (c)    ensure that distributions to Holders of Allowed Claims and Interests are
 accomplished as provided herein and adjudicate any and all disputes arising from or relating to
 distributions under the Plan;

         (d)     allow in whole or in part, disallow in whole or in part, determine, liquidate,
 classify, estimate, or establish the priority, secured or unsecured status, or amount of any Claim
 or Interest, including hearing and determining any and all objections to the allowance or
 estimation of Claims or Interests filed, both before and after the Confirmation Date, including
 any objections to the classification of any Claim or Interest, and the resolution of request for
 payment of any Administrative Claim;

        (e)    issue injunctions, enter and implement other orders, or take such other actions as
 may be necessary or appropriate to restrain interference by any Entity with consummation or
 enforcement of the Plan or the Sale Orders;

         (f)    determine any other matters that may arise in connection with or relate to the
 Plan, the Disclosure Statement, the Confirmation Order, the Pharma Purchase Agreement, the
 Chemical Plus Purchase Agreement, the Sale Orders, or, subject to any applicable forum
 selection clause, any contract, instrument, release, or other document created in connection with
 the Plan, the Disclosure Statement or the Sales;

         (g)    enter and implement such orders as may be appropriate if the Confirmation Order
 or the Sale Orders are for any reason stayed, revoked, modified, and/or vacated;

        (h)     enter and implement such orders as may be necessary or appropriate to further
 execute, implement and/or consummate the provisions of the Plan, the Chemical Plus Purchase
 Agreement, the Pharma Purchase Agreement, and all contracts, instruments, releases, and other
 agreements and documents created in connection with the Plan, the Plan Supplement, the
 Disclosure Statement, and the Sales;

        (i)     enter and enforce any order for the sale of property pursuant to sections 363, 1123
 or 1146(a) of the Bankruptcy Code, including but not limited to the Sale Orders;

        (j)     consider any modifications of this Plan, to cure any defect or omission, or to
 reconcile any inconsistency in any order of the Bankruptcy Court, including the Confirmation
 Order and the Sale Orders;

        (k)   hear and determine all applications for allowance of compensation and
 reimbursement of expenses of Professionals authorized pursuant to the Bankruptcy Code or the
 Plan;

        (l)     determine requests for the payment of Claims entitled to priority under section
 507(a)(1) of the Bankruptcy Code;




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       (m)    adjudicate, decide, or resolve any and all matters related to section 1141 of the
 Bankruptcy Code;

         (n)     hear and determine all disputes involving the existence, nature, scope, or
 enforcement of the exculpations, injunctions and releases granted in connection with and under
 the Plan, including under Article IX of the Plan;

         (o)    enforce the injunction, release and exculpation provisions set forth in Article IX
 of the Plan;

         (p)    resolve any cases, controversies, suits, disputes, or Causes of Action that may
 arise in connection with consummation of the Plan or the Sales, including the interpretation,
 implementation, or enforcement of the Plan, the Confirmation Order, the Chemical Plus
 Purchase Agreement, the Pharma Purchase Agreement and the Sale Orders, including disputes
 arising under agreements, documents, or instruments executed in connection with this Plan or the
 Sales or any disputes arising in connection with any Entity’s obligations incurred in connection
 with the Plan or the Sales;

        (q)    hear and determine all suits or adversary proceedings to recover assets of the
 Debtors and property of their Estates, including all Causes of Action, wherever located;

        (r)    hear and determine matters concerning state, local, and federal taxes in
 accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

       (s)    grant any consensual request to extend the deadline for assuming or rejecting
 Unexpired Leases pursuant to section 365(d)(4) of the Bankruptcy Code;

        (t)     enter a Final Decree closing the Chapter 11 Cases;

        (u)     hear any other matter not inconsistent with the Bankruptcy Code; and

        (v)     enforce all orders previously entered by the Bankruptcy Court.

         From the Confirmation Date through the Effective Date, the Bankruptcy Court shall
 retain jurisdiction with respect to each of the foregoing items and all other matters that were
 subject to its jurisdiction prior to the Confirmation Date. Nothing contained herein shall be
 construed to increase, decrease, or otherwise modify the independence, sovereignty, or
 jurisdiction of the Bankruptcy Court.

                                         ARTICLE XII

                              MISCELLANEOUS PROVISIONS

        Section 12.01.       Binding Effect. Upon the Effective Date, this Plan shall be binding
 upon and inure to the benefit of the Debtors, the Liquidating Debtors, all current and former
 Holders of Claims, all current and former Holders of Interests, and all other parties-in-interest
 and their respective heirs, successors, and assigns.



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          Section 12.02.     Payment of Statutory Fees. All fees payable pursuant to section 1930
 of title 28 of the United States Code, as of the entry of the Confirmation Order as determined by
 the Bankruptcy Court at the Confirmation Hearing, shall be paid on the Effective Date. The Plan
 Administrator on behalf of the Liquidating Debtors shall continue to pay fees pursuant to section
 1930 of title 28 of the United States Code until the Chapter 11 Cases are closed by entry of the
 Final Decree. Furthermore, following entry of the Confirmation Order, the Plan Administrator
 shall continue to file quarterly reports in compliance with Bankruptcy Rule 2015(a)(5); provided,
 however, such reports shall not purport to be prepared in accordance with GAAP, may not be
 construed as reports filed under the Securities Exchange Act, and may not be relied upon by any
 party for any purpose except as set forth in Bankruptcy Rule 2015(a)(5).

        Section 12.03.      Closing of Certain Debtor Cases Upon the Effective Date.           Upon
 and as of the Effective Date, without the need for further order of the Bankruptcy Court or
 motion of, or notice from, the Debtors or the Plan Administrator, the Chapter 11 Cases of each of
 the Debtors shall be deemed closed without prejudice to the rights of any party in interest to seek
 to reopen any such Chapter 11 Cases under section 350(b) of the Bankruptcy Code; provided,
 however, that the case of Aceto shall remain open until the Plan Administrator files a motion
 seeking entry of a final decree closing such case and anything to the contrary set forth in D.N.J.
 LBR 3022-1 is waived. Furthermore, (i) all motions, contested matters, adversary proceedings
 and other matters with respect to those closed cases and those Debtors (including Causes of
 Action, Claims administration and objections to Claims) shall be administered in the open case
 of Aceto without prejudice to the rights of any party in interest and (ii) the case caption shall be
 amended to reflect that the Aceto case is the only remaining open case for each of the Debtors.
 Upon the Effective Date, the Liquidating Debtors or the Plan Administrator may submit
 proposed orders for entry by the Bankruptcy Court to memorialize the closing of each of the
 Chapter 11 cases other than the case of Aceto.

         Section 12.04.     Authorization for Name Change. Effective as of the Confirmation
 Date, the name of Aceto Corporation shall be automatically changed to Tri Harbor Holdings
 Corporation without the necessity for any further order of the Bankruptcy Court or approval of
 any other Entity, and the Debtors, Liquidating Debtors, and the Plan Administrator are
 authorized to take any and all actions to effectuate same. Furthermore, effective as of the
 Effective Date, the Clerk of the Bankruptcy Court is directed to make a docket entry in the
 Chapter 11 Cases pending at case number 19-13448 (VFP) substantially as follows: “An order
 has been entered in this case directing that the caption of this case be changed from Aceto
 Corporation to Tri Harbor Holdings Corporation” and the new caption of the Debtors’ Chapter
 11 Cases shall read as follows:




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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY


            In re:                                          Chapter 11

            Tri Harbor Holdings Corporation                 Case No. 19-13448 (VFP)
            (f/k/a Aceto Corporation), et al.,1
                                                            (Jointly Administered)
                     Liquidating Debtors.
            1
                 The Liquidating Debtors in these chapter 11 cases and the last four digits of each
            Debtor’s taxpayer identification number are as follows: Tri Harbor Holdings Corporation
            (f/k/a Aceto Corporation) (0520); Tri Harbor Chemical Holdings LLC (f/k/a Aceto
            Agricultural Chemicals LLC, f/k/a Aceto Agricultural Chemicals Corporation) (3948);
            Tri Harbor Realty LLC (f/k/a Aceto Realty LLC) (7634); Kavod Pharmaceuticals LLC
            (f/k/a Rising Pharmaceuticals, LLC, f/k/a Rising Pharmaceuticals, Inc.) (7959); Kavod
            Health LLC (f/k/a Rising Health, LLC) (1562); Kavris Health LLC (f/k/a Acetris Health,
            LLC) (3236); KAVACK Pharmaceuticals LLC (f/k/a PACK Pharmaceuticals, LLC)
            (2525); Arsynco, Inc. (7392); and Acci Realty Corp. (4433).

         Section 12.05.      Application of Bankruptcy Rule 7068. The Debtors, before the
 Effective Date, and the Liquidating Debtors and the Plan Administrator, after the Effective Date,
 are authorized to serve upon a Holder of a Disputed Claim an offer to allow judgment to be taken
 on account of such Disputed Claim, and, pursuant to Bankruptcy Rules 7068 and 9014, Federal
 Rule of Civil Procedure 68 shall apply to such offer of judgment. To the extent the Holder of a
 Disputed Claim must pay the costs incurred by the Debtors or the Liquidating Debtors after the
 making of such offer, the Debtors and the Liquidating Debtors are entitled to set off such
 amounts against the amount of any Distribution to be paid to such Holder without any further
 notice to or action, order, or approval of the Bankruptcy Court.

         Section 12.06.    Statutory Committee Dissolution. On the Effective Date, any
 statutory committee appointed in the Chapter 11 Cases, including the Creditors’ Committee,
 shall dissolve, and members thereof shall be released from all rights and duties from or related to
 the Chapter 11 Cases, provided, however, that the Creditors’ Committee will stay in existence
 solely for the limited purpose of filing and prosecuting final fee applications and may seek
 payment of its Professional Claims in connection therewith.

         Section 12.07.    Post Effective Date Limitation of Notice. After the Effective Date, in
 order to continue receiving documents pursuant to Bankruptcy Rule 2002, Persons and Entities
 must file with the Bankruptcy Court a renewed request to receive documents pursuant to
 Bankruptcy Rule 2002. After the Effective Date, the Liquidating Debtors and Plan
 Administrator are authorized to limit the list of Persons and Entities receiving documents
 pursuant to Bankruptcy Rule 2002 to those Persons and Entities that have filed with the
 Bankruptcy Court such a renewed request.

        Section 12.08.     Modification and Amendment. Except as otherwise specifically
 provided in the Plan, the Debtors reserve the right to modify the Plan, subject to any applicable
 consent rights set forth herein, whether such modification is material or immaterial prior to


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 Confirmation, and seek Confirmation consistent with the Bankruptcy Code and, as appropriate,
 not re-solicit votes on such modified Plan. Subject to certain restrictions and requirements set
 forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 (as well as those
 restrictions on modifications set forth in the Plan) and any consent rights as set forth herein, the
 Debtors expressly reserve their respective rights to revoke or withdraw, to alter, amend or
 modify the Plan with respect to each Debtor, one or more times, before or after Confirmation,
 and, to the extent necessary, may initiate proceedings in the Bankruptcy Court to so alter, amend
 or modify the Plan after Confirmation, or remedy any defect or omission or reconcile any
 inconsistencies in the Plan, the Disclosure Statement or the Confirmation Order, in such matters
 as may be necessary to carry out the purposes and intent of the Plan.

         Section 12.09.    Confirmation of Plan. The Debtors request Confirmation of the Plan
 under section 1129(b) of the Bankruptcy Code with respect to any Impaired Class that does not
 accept the Plan pursuant to section 1126 of the Bankruptcy Code. The Debtors reserve the right
 to amend the Plan to any extent, if any, that Confirmation pursuant to section 1129(b) of the
 Bankruptcy Code requires modification.

         Section 12.10.     Additional Documents. On or before the Effective Date, the Debtors
 may file with the Bankruptcy Court such agreements or other documents as may be necessary or
 appropriate to effectuate and further evidence the terms and conditions of the Plan. The Debtors
 or the Plan Administrator, as applicable, and Holders of Claims receiving distributions pursuant
 to the Plan and all other parties in interest shall, from time to time, prepare, execute, and deliver
 any agreements or documents and take any other actions as may be necessary or advisable to
 effectuate the provision and intent of the Plan.

        Section 12.11.      Revocation, Withdrawal, Non-Consummation

         (a)     Right to Revoke or Withdraw. The Debtors reserve the right to revoke or withdraw
 this Plan at any time prior to the Effective Date and file subsequent chapter 11 plans.

         (b)     Effect of Withdrawal, Revocation, or Non-Consummation. If the Debtors revoke
 or withdraw this Plan prior to the Effective Date, or if the Confirmation Date or the Effective
 Date does not occur, then this Plan, any settlement or compromise embodied in this Plan
 (including the fixing or limiting to an amount certain Claims or Class of Claims or the allocation
 of the distributions to be made hereunder), the assumption or rejection of Executory Contracts or
 Unexpired Leases effected by this Plan, and any document or agreement executed pursuant to
 this Plan shall be null and void in all respects. In such event, nothing contained herein or in the
 Disclosure Statement, and no acts taken in preparation for consummation of this Plan, shall be
 deemed to constitute a waiver or release of any Claims, Interests, or Causes of Action by or
 against the Debtors or any other Entity, to prejudice in any manner the rights and defenses of the
 Debtors, the Holder of a Claim or Interest, or any Entity in any further proceedings involving the
 Debtors, or to constitute an admission, acknowledgement, offer, or undertaking of any sort by the
 Debtors or any other Entity.

        Section 12.12.   Post-Confirmation Reporting.          After the Effective Date, in
 accordance with the Guidelines established by the United States Trustee, the Plan Administrator




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 will file quarterly operating reports with Bankruptcy Court. The Plan Administrator will also file
 a Report of Distribution as set forth in D.N.J. LBR 3021-1(d).

        Section 12.13.    Substantial Consummation of the Plan. On the Effective Date, the
 Plan shall be deemed to be substantially consummated under sections 1101 and 1127(b) of the
 Bankruptcy Code.

         Section 12.14.    Substitution of the Liquidating Debtors for the Debtors. On the
 Effective Date, the Liquidating Debtors shall be deemed to be substituted as the party in lieu of
 the Debtors in all pending matters including but not limited to (i) motions, contested matters and
 adversary proceeding pending in the Bankruptcy Court, and (ii) all matters pending in any courts,
 tribunals, forums or administrative proceedings outside of the Bankruptcy Court without the
 need or requirement for the Plan Administrator to file motions or substitutions of parties and
 counsel.

         Section 12.15.     Request for Expedited Determination of Taxes. The Debtors, the
 Liquidating Debtors, and the Plan Administrator, as applicable shall have the right to request an
 expedited determination under section 505 of the Bankruptcy Code with respect to tax returns
 filed, or to be filed, for any and all taxable periods ending after the Petition Date through
 dissolution.

         Section 12.16.  Notices. After the Effective Date, any pleading, notice, or other
 document required by the Plan to be served on or delivered on the parties below shall be served
 as follows:

        If to the Debtors or Liquidating Debtors:

        Tri Harbor Holdings Corporation
        c/o Plan Administrator


        With a copy (which shall not constitute notice) to:

        Lowenstein Sandler LLP
        One Lowenstein Drive
        Roseland, New Jersey 07068
        Attn: Kenneth A. Rosen, Esq. Michael S. Etkin, Esq.,
        Wojciech F. Jung, Esq. Philip J. Gross, Esq.


        If to the Plan Administrator:

        []


        If to the Office of the United States Trustee:
        U.S. Department of Justice
        Office of the United States Trustee


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        Attn: David Gerardi, Esq.
        One Newark Center
        1085 Raymond Blvd, Suite 2100
        Newark, NJ 07102


        If to the Oversight Committee:

        []

         Section 12.17.    Term of Injunctions or Stays. Unless otherwise provided in the Plan
 or in the Confirmation Order, all injunctions or stays in effect in the Chapter 11 Cases pursuant
 to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
 existing on the Confirmation Date (excluding any injunctions or stays contained in the Plan or
 the Confirmation Order) shall remain in full force and effect until the Effective Date. All
 injunctions or stays contained in the Plan or the Confirmation Order shall remain in full force
 and effect in accordance with their terms.

         Section 12.18.    Governing Law. Unless a rule of law or procedure is supplied by
 federal law (including the Bankruptcy Code and Bankruptcy Rules) or unless otherwise
 specifically stated, the laws of the State of New York shall govern the construction and
 implementation of this Plan, any agreements, documents, and instruments executed in connection
 with this Plan (except as otherwise set forth in those agreements, in which case the governing
 law of such agreements shall control). Corporate governance matters shall be governed by the
 laws of the state of incorporation, formation, or functional equivalent thereof, as applicable, of
 the applicable Liquidating Debtor.

        Section 12.19.     Immediate Binding Effect. Notwithstanding Bankruptcy Rules
 3020(e), 6004(h), 6006(d) or 7062 or otherwise, upon the occurrence of the Effective Date, the
 terms of the Plan, and the Confirmation Order shall be immediately effective and enforceable
 and deemed binding upon the Debtors and any and all Holders of Claims against or Interests in
 the Debtors (regardless of whether the Holders of such Claims or Interests are deemed to have
 accepted or rejected the Plan), all Persons and Entities that are parties to or are subject to the
 settlements, compromises, releases, and injunctions described in the Plan, each Entity acquiring
 property under the Plan or the Confirmation Order, and any and all non-Debtor parties to
 executory contracts and unexpired leases with the Debtors. All Claims and debts shall be fixed,
 adjusted or compromised, as applicable, pursuant to the Plan regardless of whether any Holder of
 a Claim or debt has voted on the Plan.

         Section 12.20.    Entire Agreement. Except as otherwise indicated, this Plan
 supersedes all previous and contemporaneous negotiations, promises, covenants, agreements,
 understandings, and representations on such subjects, all of which have become merged and
 integrated into the Plan.

         Section 12.21.    Severability. If, prior to Confirmation, any term or provision of this
 Plan is held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court
 shall have the power to alter and interpret such term or provision to make it valid or enforceable



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 to the maximum extent practicable, consistent with the original purpose of the term or provision
 held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as
 altered or interpreted. Notwithstanding any such holding, alteration, or interpretation, the
 remainder of the terms and provisions of the Plan will remain in full force and effect and will in
 no way be affected, impaired, or invalidated by such holding, alteration, or interpretation. The
 Confirmation Order shall constitute a judicial determination and shall provide that each term and
 provision of the Plan, as it may have been altered or interpreted in accordance with the
 foregoing, is (a) valid and enforceable pursuant to its terms, (b) integral to the Plan and may not
 be deleted or modified without the consent of the Debtors, and (c) non-severable and mutually
 dependent.

         Section 12.22.    No Waiver or Estoppel. Upon the Effective Date, each Holder of a
 Claim or Interest shall be deemed to have waived any right to assert that its Claim or Interest
 should be Allowed in a certain amount, in a certain priority, be secured, or not be subordinated
 by virtue of an agreement made with the Debtors and/or their counsel or any other party, if such
 agreement was not disclosed in this Plan, the Disclosure Statement, or papers filed with the
 Bankruptcy Court.


        Section 12.23.     Conflicts. In the event that the provisions of the Disclosure Statement
 and the provisions of the Plan conflict, the terms of this Plan shall govern. In the event the
 provisions of this Plan and the Sale Order conflict with respect to the Acceptable Sale, the Sale
 Order shall govern. In the event that the provisions of this Plan and the provisions of the
 Confirmation Order conflict, the terms of the Confirmation Order shall govern.



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 Dated: June 17, 2019


                                            Respectfully submitted,
                                            ACETO CORPORATION, on
                                            behalf of itself and its affiliated Debtors


                                            /s/ Steven S. Rogers
                                            Name: Steven S. Rogers
                                            Title: Chief Legal Officer and Secretary
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                                                           Exhibit A

                                                          D&O Policies


           Policy Type                     Insurer          Policy Number      Policy Begins       Policy Ends

    Directors & Officers Liability Travelers Casualty & 105958465           7/1/2017            4/29/25
1   (Primary $10M)                 Surety Co. of America                                        (6 year tail)


    Directors & Officers Liability Illinois National      01-593-05-33      7/1/2017            4/29/25
2   ($10M Excess $10M)             Insurance Co.                                                (6 year tail)

    Directors & Officers Liability Wesco Insurance Co. EUW113062902         7/1/2017            4/29/25
3   ($10M Excess $20M)                                                                          (6 year tail)

    Directors & Officers Liability XL Specialty           ELU 156574-18     7/1/2018            4/29/25
4   ($10M Excess $30M)             Insurance Co.                                                (6 year tail)

    Directors & Officers Liability State National Ins. Co. EXN CUAI0065-00 7/1/2018             4/29/25
5   ($10M Excess $40M)                                                                          (6 year tail)

    Directors & Officers Liability RSUI Indemnity Co.     NHS677634         7/1/2018            4/29/25
6   ($5M Excess $50M)                                                                           (6 year tail)

    Directors & Officers Liability Continental Casualty 59650019            7/1/2017            4/29/25
7   ($5M Excess $55M)              Co.                                                          (6 year tail)




                                                          Exhibit A-1
